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                              EXHIBIT 1
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 7                      UNITED STATES DISTRICT COURT
 8              FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10   MONSTER ENERGY COMPANY,            No. 5: 17-cv-00548-CBM-RAO
     A Delaware corporation
11
12              Plaintiff,              EXPERT REPORT SUBMITTED BY
          v.                            DR. BRUCE ISAACSON MEASURING
13
                                        THE LIKELIHOOD OF CONFUSION
14   INTEGRATED SUPPLY                  BETWEEN CERTAIN PRODUCTS
     NETWORK, LLC, a Florida limited    FROM ISN AND MONSTER ENERGY
15   liability company,                 COMPANY
16
                Defendant.
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                                                                                         EX1-1
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 1   1.     I have been retained by attorneys representing the plaintiff in the above litigation. This

 2   report provides the results of a survey I conducted measuring the likelihood of confusion

 3   between products from Integrated Supply Network (“ISN”) bearing the name “MONSTER” and

 4   using black and green colors, and Monster Energy Company (“Monster Energy”).

 5   2.     The opinions expressed in this report are based on materials I reviewed, research I

 6   conducted, and my experience. I reserve the right to supplement this report in light of the

 7   ongoing discovery in this matter.

 8
 9   Overview of the Confusion Survey

10   3.     The survey tested three products sold by ISN, including these items:

11             i.   a screwdriver bearing the name “MONSTER” and using black and green colors,

12            ii.   a work light bearing the name “MONSTER” and also using black and green, and

13           iii.   a drink or beverage tumbler bearing “MONSTER” and “MONSTER MOBILE,”

14                  in packaging incorporating black and green, as well as a skull and wings design.

15   4.     This report refers to these three products as “test products.” All three show the name

16   “MONSTER,” one also shows “MONSTER MOBILE,” and all three incorporate black and

17   green elements. As described later, the screwdriver and work light are among the types of items

18   most often sold by ISN, according to sales data from ISN. The tumbler is an item associated

19   with beverages, which I tested because Monster Energy Company is a beverage company.

20   5.     The survey also measured three altered versions of these products, which are called

21   “control products.” Figure 1 shows the images of the test and control products measured in the

22   survey. This report refers to these images as “test images” or “control images.”

23   6.     Survey respondents were shown one of the six images in Figure 1, which displays the

24   images in a smaller size than they were shown to respondents in the survey.

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 1                     Figure 1: Images Measured in the Survey

 2
                                    Screwdriver
 3               Test Image                               Control Image
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 7                                   Work Light
                 Test Image                               Control Image
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13                                    Tumbler
14               Test Image                               Control Image

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 1   7.     As described in this report, the measures from a survey can be affected by pre-existing

 2   attitudes among respondents, guessing, inattentiveness, or other extraneous factors other than

 3   the variables the survey is intended to measure. My likelihood of confusion survey was

 4   designed to measure the amount of confusion due to the use of the word “MONSTER” or

 5   “MONSTER MOBILE” and the use of black and green, as opposed to other extraneous factors.

 6   8.     To isolate the effect of these words and colors, as shown in Figure 1, the survey used

 7   control products that were identical to the test products, except the controls were digitally

 8   altered to replace the word “Monster” with the word “Mountain,” and the black and green color

 9   scheme was changed to blue and purple.

10   9.     I selected the word “Mountain” for the control products because ISN also sells products

11   under the brand name “Mountain.” I selected purple and blue because these colors are plausible

12   for items sold to automotive service and repair shops, and I could not find any other major

13   manufacturer of tools or automotive equipment that uses these colors. Other than these changes,

14   the control products were identical to the test products.

15   10.    The survey interviewed respondents 18 years of age and older who, among other criteria,

16   work in automotive or auto body service or repair, plan to buy from a mobile tool distributor or

17   tool truck within the next two years, and plan to purchase hand tools, portable lights or lighting,

18   and/or a drink or beverage tumbler within the next two years.

19   11.    The survey was conducted in a manner consistent with generally accepted principles for

20   litigation surveys, including procedures for double-blind research, in which respondents did not

21   know the survey’s purpose or sponsor. During the survey, respondents were only shown images

22   that depicted test or control versions of ISN products, and were never shown products from

23   Monster Energy. Names such as “Monster Energy” were never mentioned during the survey.

24   12.    The survey provides three measures for confusion:

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                                                                                                            EX1-4
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 1              i.   Confusion as to Company or Brand: The survey asked what company or brand

 2                   makes or puts out the item in the picture. The survey also asked whether the

 3                   company that makes or puts out the item in the picture makes or puts out any

 4                   other products or brands; respondents answering affirmatively were asked what

 5                   other products or brands are made or put out by the company that makes or puts

 6                   out the item in the picture they viewed.

 7            ii.    Confusion as to Sponsorship or Approval: The survey asked respondents whether

 8                   they think that whoever makes or puts out the item in the picture is sponsored or

 9                   approved by another company or brand. Those answering affirmatively were

10                   asked what other company or brand sponsored or approved whoever makes or

11                   puts out the item in the picture.

12            iii.   All Measured Confusion: All measured confusion sums confusion as to company

13                   or brand plus confusion as to sponsorship or approval. This calculation is

14                   “unduplicated,” meaning that it excludes double-counting by counting each

15                   respondent only once, even if they mentioned a company or brand in more than

16                   one answer.1

17   13.     The confusion measurement provided by the survey is 24.5% on a total or “gross” basis,

18   and 24.5% on a net basis, after accounting for the control. (Net confusion is calculated as

19   24.5% minus 0.0%.). The individual measures from the survey are as follows:

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27    For example, a respondent who provided a response in one question indicating they were confused as to
     company or brand, and answered a later question with a response indicating that they were confused as to
28   sponsorship or approval, would be counted only once for all measured confusion.

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                                                                                                              EX1-5
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 1             i.   Confusion as to Company or Brand: Of respondents shown the test images,

 2                  14.6% of respondents provided a response reflecting confusion as to company or

 3                  brand. Specifically, 4.3% identified Monster Energy as the company that makes

 4                  or puts out the item shown in the picture. When asked what other products or

 5                  brands are made or put out by the company that makes or puts out the item shown

 6                  in the picture, another 10.3% identified Monster Energy. No respondents shown

 7                  the control products identified Monster Energy in response to these two questions.

 8            ii.   Confusion as to Sponsorship or Approval: Of respondents shown the test images,

 9                  an additional 9.9% identified Monster Energy as sponsoring or approving

10                  whoever makes or puts out the product they were shown. No respondents shown

11                  the control products identified Monster Energy in response to this question.

12           iii.   All Measured Confusion: Of respondents shown the test images, 24.5%2

13                  identified Monster Energy in questions measuring confusion as to company or

14                  brand, or measuring confusion as to sponsorship or approval. No respondents

15                  shown the control products identified Monster Energy in response to questions

16                  measuring confusion as to company or brand, or as to sponsorship or approval.

17           iv.    Reasons for Confusion: Among respondents shown the test images who identified

18                  Monster Energy as the company or brand that is the source of the product, or as

19                  sponsoring or approving the product, the vast majority (86.0%) indicated the

20                  reason for their answer as the name or Monster Energy Company. Similarly,

21                  61.4% indicated that the logo, design or colors were the reason for their answer.

22   14.    Based on my experience, I believe that the measurements from the survey are at levels

23   that would typically be considered as indicating a significant likelihood of confusion.

24   15.    The survey results also indicate that the primary reasons for confusion include the name

25   used on the tested items, and the logo, design, or colors of those items.

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27   2
      The 24.5% is the sum of 4.3% and 10.3% from the questions measuring confusion as to company or
28   brand, plus 9.9% from the question measuring confusion as to sponsorship or approval.

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 1   16.     After reviewing certain background information, I will discuss the survey and my

 2   findings in detail.

 3
 4   My Qualifications

 5   17.     I am the President of MMR Strategy Group (“MMR”), a marketing research and

 6   consulting firm, and am an expert in research, surveys, and marketing. During my career, I

 7   have designed, conducted, and analyzed hundreds of research studies, including many surveys

 8   for matters involving intellectual property litigation and false advertising. I have provided

 9   testimony, by written report and/or deposition, regarding likelihood of confusion surveys that I

10   or others conducted in at least 24 matters.

11   18.     I have personally provided testimony relating to surveys I have conducted or rebutted in

12   matters involving federal courts, state courts, the National Advertising Division of the Better

13   Business Bureau, the Trademark Trial and Appeal Board (TTAB), the U.S. Federal Trade

14   Commission, the U.S. Department of Justice, the U.S. International Trade Commission, the

15   U.S. Court of Federal Claims, and other venues and authorities.

16   19.     For more than 43 years, MMR Strategy Group has provided marketing research and

17   consulting, consisting primarily of the design, execution, and analysis of thousands of surveys,

18   as well as expertise related to marketing and strategy. I have been President of MMR for more

19   than 12 years. During that time, MMR’s clients have included well-known organizations, such

20   as Farmers Insurance Group, Goodyear Tire & Rubber Company, several regions of the

21   American Automobile Association, Nestlé USA, Inc., RE/MAX, Kaplan Test Prep, and many

22   other organizations, encompassing thousands of studies.

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 1   20.    I received a Bachelor of Science degree in engineering from the Technological Institute

 2   at Northwestern University in 1985, and Master of Business Administration and Doctor of

 3   Business Administration degrees from the Harvard Graduate School of Business

 4   Administration in 1991 and 1995, respectively. At Harvard, I received my MBA with highest

 5   distinction as a Baker Scholar and was a Dean’s Doctoral Fellow, writing 14 publications on

 6   marketing and strategy, including best-selling teaching materials. Also, I taught marketing and

 7   strategy for executive groups and executive MBA programs and, for my research, I won awards

 8   from institutions including The Institute for the Study of Business Markets at Penn State

 9   University and Harvard University.

10   21.    I am on the editorial board of the Journal of Business-to-Business Marketing. I am also

11   a member of The Trademark Reporter Committee of the International Trademark Association,

12   which serves as the editorial board for The Trademark Reporter. I am a member of the

13   American Marketing Association and the Insights Association (formerly the Marketing

14   Research Association and the Council of American Survey Research Organizations). My firm

15   is also a member of the International Trademark Association.

16   22.    In terms of professional experience, I have been a marketing and strategy consultant at a

17   global consulting firm called The Boston Consulting Group, Senior Vice President at a publicly

18   traded data processing company that is now a division of Intuit, Division President at a media

19   services company that is now a division of News Corporation, and Vice President responsible

20   for marketing and strategy at a financial services company. I also served as the West Coast

21   Practice Leader of an executive education practice at a strategy consulting firm, focusing on

22   educational programs for marketing and strategy.

23   23.    I regularly consult with clients regarding marketing, research, and strategy, and also

24   address conferences and groups on these issues. My public speaking includes addressing law

25   firms and bar associations on the use of surveys in litigation, and related topics. For example:

26            i.    In May 2016 and May 2013, I led roundtable discussions on litigation surveys at

27                  the annual conference of the International Trademark Association;

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 1            ii.   In October 2015, I was co-presenter for a Continuing Legal Education seminar on

 2                  litigation surveys sponsored by the San Francisco Bar Association;

 3           iii.   In March 2015, I spoke on litigation surveys at a conference on resolving and

 4                  litigating advertising disputes;

 5            iv.   In March 2015, I conducted a seminar on litigation surveys at the U.S.

 6                  Department of Justice;

 7            v.     In October 2013, I was a speaker at the Corporate Researchers Conference hosted

 8                   by the Marketing Research Association;

 9            vi.    In April 2013, I was an invited speaker at a multi-day course on surveys and

10                   marketing/advertising claims.

11   24. I have authored or co-authored articles the Intellectual Property Law Newsletter of the

12   American Bar Association, Intellectual Property Law Section, Intellectual Property Today,

13   Intellectual Property Magazine, Quirk’s Marketing Research Review, and other publications.

14   25.    Exhibit 1 attached to this report shows my curriculum vitae and testimony experience.

15
16   Compensation and Materials Reviewed

17   26.    My firm billed $85,000 for the confusion survey and related activities, such as reviewing

18   materials, designing research, and writing this report. After this expert report, my time is billed

19   at $700 per hour for all activities except testimony at deposition or trial, which is billed at

20   $6,000 per day.

21   27.    For purposes of this report, I have gathered and/or reviewed a wide variety of materials,

22   including the following:

23             i.   The Complaint, dated March 22, 2017. Also, the Defendant’s Answer,

24                  Affirmative Defenses, and Counterclaims, dated April 13, 2017.

25            ii.   The Applicant’s Supplemental Answers and Objections to Opposer’s First Set of

26                  Interrogatories, dated March 6, 2017. Also, the Applicant’s Answers and

27                  Objections to Opposer’s Second Set of Interrogatories, dated April 6, 2017.

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 1           iii.   Excerpts from the deposition transcript for Michael Scott Pilkenton, held March

 2                  8 and 9, 2017. Also, deposition transcripts for Steven T. Kowalke, held January

 3                  10, 2018, and Matthew Rivera, held January 26, 2018.

 4           iv.    The Expert Report of Sara Parikh, Ph.D. in Hansen Beverage Company v.

 5                  Cytosport, Inc., dated February 5, 2010.

 6            v.    Marketing materials from ISN, including Monster Mobile’s catalogs from

 7                  summer 2017, and from 2013; “The Brand Book” from Monster Mobile; catalogs

 8                  from Tech’s Edge Plus; price lists from Tech’s Edge Plus (2016-17); a flyer and

 9                  images from Tool Expo West (2017); and images from social media sites such as

10                  Facebook.

11           vi.    Materials regarding mobile tool dealers.

12          vii.    Pictures of ISN products.

13          viii.   Data describing sales of ISN products, for 2012 to 2017.

14           ix.    Materials regarding or from Monster Energy Company, including their 2016

15                  Point of Sale catalog, Monster Energy Company’s Responses to First Set of

16                  Interrogatories, the Opposer’s Responses to Applicant’s Revised Second Set of

17                  Interrogatories, and information about Monster Energy Company products.

18            x.    Also, I have visited websites such as Excess Tools (www.excesstools.com),

19                  Matco Tools (www.matcotools.com), Mac Tools (www.mactools.com),

20                  Cromwell (www.cromwell.co.uk), and Snap-on (store.snapon.com).

21   28.    In addition, I consulted published literature and cases. I also rely on my knowledge in

22   fields such as surveys, consumer behavior, and marketing.

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 1   29.    The next section describes my likelihood of confusion survey.

 2
 3   Methodology for the Likelihood of Confusion Survey

 4   30.    All aspects of the confusion survey were designed and carried out by me or under my

 5   supervision. My survey used an “Eveready” format, a well-accepted format to measure

 6   likelihood of confusion. For example, one source describes Eveready as “… a relevant, reliable

 7   and objective test of likelihood of confusion.”3 McCarthy on Trademarks and Unfair

 8   Competition refers to Eveready as a “now-standard survey format.”4

 9   31.    In a typical Eveready survey, such as the survey I conducted in this matter, respondents

10   are shown an ad or a trademark from one party to determine whether that item is likely to be

11   confused with a second party. Because the second party’s trademark is never shown to

12   respondents, confusion is measured only if respondents make a cognitive connection between

13   the item from the first party, and the second party. In my survey for this matter, respondents

14   only saw ISN products. The survey never showed items from Monster Energy, and never

15   mentioned Monster Energy.

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      Jerre B. Swann, “Likelihood of Confusion,” in Trademark and Deceptive Advertising Surveys: Law,
     Science, and Design, edited by Shari Seidman Diamond and Jerre B. Swann, American Bar Association:
26   Section of Intellectual Property Law, 2012, p. 62-63.
     4
27    J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition, Fourth Edition, database
     updated March 2009. § 32:174, “Tests of properly conducted survey—Survey formats—Eveready
28   confusion format.”

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 1   32.    Exhibit 2 shows the images displayed to respondents in my survey. I selected the three

 2   products to test in my survey by analyzing data describing the sales of ISN products. As

 3   described in Exhibit 3, I analyzed the sales of products sold by ISN for the years 2011 to 2017,

 4   and 2016 to 2017. The categories with the highest sales included hand tools and portable work

 5   lights, so my survey tested a screwdriver (a type of hand tool) and a work light. Both of these

 6   items display the disputed marks, and were among the products with the highest revenues in

 7   their categories during those time periods. My survey also tested a beverage tumbler; Monster

 8   Energy Company is a beverage company, and tumblers are complementary to beverages. The

 9   Complaint identifies and depicts a hand tool, a work light, and a tumbler as items that reflect

10   ISN’s alleged infringement.5

11   33.    Some respondents to my survey saw a control product rather than a test product. In

12   research such as this, a control stimulus is used to remove background noise. Responses to

13   surveys may be affected by factors such as a respondent’s pre-existing impressions, general

14   expectations, or plain guessing; a control allows the researcher to remove the influence of such

15   factors and to “…test directly the influence of the stimulus.”6 A control stimulus is typically

16   designed to be as similar as possible to the test stimulus, but removes elements under dispute so

17   their effect can be measured.

18   34.    As described earlier, my control images were identical to the corresponding test image,

19   but the controls were digitally altered to replace the word “Monster” with the word “Mountain,”

20   and to replace the green and black color scheme with a blue and purple color scheme. Survey

21   respondents saw only a single test image or a single control image, and no respondent saw any

22   images from Monster Energy Company.

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26   5
      Complaint for Trademark Infringement, Trade Dress Infringement, False Designation of Origin, and
     Unfair Competition, dated March 22, 2017, p. 37-38.
27   6
      Shari Seidman Diamond, “Reference Guide on Survey Research” from Reference Manual on Scientific
28   Evidence, 3rd Edition, Federal Judicial Center, National Research Council, 2011, page 398.

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 1   35.       My survey was conducted online. Exhibit 4 shows the questions used to qualify

 2   prospective respondents for the survey, as well as the questions that measured confusion.7 The

 3   survey interviewed respondents qualified as working in the automotive or auto body service or

 4   repair industry, who purchase certain products from mobile dealers. I understand that ISN uses

 5   mobile dealers to sell the products involved in this matter to auto service or repair shops.8

 6   36.       As shown in Exhibit 4, the survey qualified prospective respondents by these criteria:

 7                i.   Gender: Question A asked respondents their gender. The database of

 8                     respondents is 93.1% male and 6.9% female.9

 9               ii.   Age: Question B asked respondents their age. All respondents are 18 years old or

10                     older.

11              iii.   Geography: Question C asked respondents for the ZIP code of their work

12                     address.

13               iv.   Industry: Question D qualified respondents as working in “Automotive or auto

14                     body service or repair,” as opposed to other industries.

15               v.    Retailers: Question E qualified respondents as likely to purchase from a “mobile

16                     tool distributor or tool truck” within the next 2 years.

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24   7
         Exhibit 4 contains programming instructions that were not visible to respondents.
25   8
      Mobile dealers call on technicians at auto repair shops (Deposition of Michael Scott Pilkenton, 3/8/17,
     p. 84, and 3/9/17, p. 147). Mechanics and technicians purchase items such as hand tools or work lights.
26   Shop owners may also purchase items, such as larger items (Deposition of Steven T. Kowalke, 1/10/18,
     pp. 23, 24, and 159. See also Deposition of Matthew Rivera, 1/26/18, pp. 8-9 and 115-118.)
27   9
      This is consistent with data from the Bureau of Labor Statistics on the gender of people who work in
28   “automotive repair and maintenance” (https://www.bls.gov/cps/cpsaat18.htm).

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 1               vi.   Future product purchase: Question F asked respondents to indicate whether they

 2                     think they are likely to purchase certain items from a mobile tool distributor or

 3                     tool truck in the next two years. Respondents qualified if they answered

 4                     affirmatively to “Hand tools,” “Portable lights or lighting,” or “Drink or beverage

 5                     tumbler.”10

 6   37.       Respondents also were screened on other criteria, such as not working for certain types

 7   of companies where they could have gained unusual knowledge.11 Respondents were also

 8   screened as not participating in a survey about their assigned product in the past 60 days, taking

 9   the survey on a desktop computer, laptop computer, or tablet,12 and wearing eyeglasses or

10   contact lenses if they wear them normally when using the device on which they were taking the

11   survey.

12   38.       After qualifying for the main survey, respondents were shown a screen with the

13   following instruction:

14             “Below, you will see a picture of an item you might purchase. You may or may not have
15             seen this item before.

16             Take as much time as you like to look at the picture. You may need to scroll to see the
               entire picture. When you are finished viewing the picture, click “>” to proceed.”
17
18   39.       The next screen displayed an image of one test item or one control item. After viewing
19   the image, respondents were asked whether they could see the item in the picture clearly.
20   Respondents who could not see the item in the picture clearly were terminated from the survey.
21   40.       Respondents were next instructed, “Now you will be asked a few questions about the
22   item shown in the picture.”
23   10
       Due to the difficulty of locating respondents likely to purchase a drink or beverage tumbler from a
24   mobile tool distributor or tool truck in the next two years, Question F1 qualified respondents as likely to
     purchase a drink or beverage tumbler from any type of retailer in the next two years. This question was
25   asked only of respondents who previously answered negatively to hand tools, portable lights or lighting,
     and drink or beverage tumbler in Question F. A total of 5 respondents qualified based on Question F1.
26   11
       The types of companies included an advertising or public relations company, a marketing research firm,
     a manufacturer or distributor of tools, a manufacturer or distributor of drinkware, and a manufacturer or
27   distributor of or lights or lighting.
     12
28        These devices have larger screens than items such as smartphones, so respondents could see images.

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 1   41.    The format and types of confusion measured by my survey have been measured by other

 2   confusion surveys and are discussed in standard sources.13 The first five questions in the main

 3   part of the survey measured confusion as to company or brand.

 4   42.    Question 1 asked, “What company or brand do you think makes or puts out the item

 5   shown in the picture?” Question 2 asked, “What makes you think that? Please be as specific as

 6   possible.” Both Question 1 and Question 2 were open-ended, with respondents answering in

 7   their own words.

 8   43.    Question 3 asked, “Are you aware of any other products or brands made or put out by

 9   the company that makes or puts out the item shown in the picture? Please answer yes, no, or

10   you don’t know.” Respondents who answered affirmatively were asked Question 4 and

11   Question 5. Question 4 asked, “What other products or brands do you think are made or put out

12   by the company that makes or puts out the item shown in the picture?” Question 5 asked, “What

13   makes you think that? Please be as specific as possible.” Question 4 and Question 5 were open-

14   ended questions.

15   44.    The next three questions measured confusion as to sponsorship or approval. Question 6

16   asked, “Do you think that whoever makes or puts out this item…?” Response options included,

17   “Is sponsored or approved by another company or brand,” “Is not sponsored or approved by

18   another company or brand,” and “I don’t know or have no opinion.” Respondents who

19   answered affirmatively were asked Question 7 and Question 8. Question 7 asked, “What other

20   company or brand do you believe sponsored or approved whoever makes or puts out the item

21   shown in the picture?” Question 8 asked, “What makes you think that? Please be as specific as

22   possible.” Question 7 and Question 8 were open-ended questions.

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24
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     13
       For example, confusion as to affiliation and connection is discussed in “Likelihood of Confusion
     Studies and the Straightened Scope of Squirt,” by Jerre B. Swann, The Trademark Reporter, May-June
28   2008, p. 742.

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 1   45.       Because the survey involved colors, the next two questions confirmed whether

 2   respondents could see colors. Question 9 asked about vision, inquiring, “Do you have any type

 3   of color blindness or color vision deficiency?” Question 10 showed three squares, each of a

 4   different color, and asked respondents to identify the color of each square by selecting from a

 5   list of colors.

 6   46.       The survey used two types of sources to locate individuals who work in the automotive

 7   or auto body service or repair industry. First, the survey located and recruited prospective

 8   respondents through an online panel14 provided by Survey Sampling International (SSI), a well-

 9   respected company that has provided sampling and data collection for 40 years, and currently

10   serves more than 3,000 market research organizations. The particular panel used for this study

11   employs a variety of quality control processes relating to panelists and responses.15

12   47.       The survey also located and recruited respondents through mailing lists provided by two

13   trade magazines. Underhood Service serves “…repair shops that derive 50 percent or more of

14   their revenue from the service and repair of under-the-hood systems,”16 and BodyShop Business

15   serves “the collision repair industry.”17 The two magazines have common ownership.

16   48.       As described in Exhibit 5, the survey recruited from lists provided by these magazines

17   using an email invitation and, if necessary, reminder emails. Exhibit 5 describes the recruiting

18   process in detail, including the process and timing for invitations and reminder invitations. For

19   their participation in the survey, respondents from the trade magazines were provided an

20   incentive of $25 or $50.18

21   14
       Online panels are used frequently for surveys conducted in both litigation and commercial contexts.
     Panels are professionally managed, and contain databases of subscribers who have previously indicated
22   their willingness to take surveys from time to time.
23   15
        For example, the panel uses double opt-in recruitment (respondents must opt-in to the panel twice upon
     joining), IP address verification (verifies the unique address of computers associated with specific
24   respondents), response time checks (searches for surveys completed suspiciously quickly), and straight-
     line checks (searches for surveys where the same response letter is selected for multiple questions).
25   16
          http://www.babcox.com/brand-page/underhood-service.
26   17
          http://www.babcox.com/brand-page/bodyshop-business/.
     18
27     The first 340 respondents received $25 to complete the survey. Later, the incentive was raised to $50,
     and 42 respondents received that incentive. Respondents recruited from the online panel also received an
28   incentive, which was provided by SSI.

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 1   49.    Exhibit 6 describes quality control measures that were used during and after data

 2   gathering, including procedures for validation of respondents. Exhibit 7 describes the number of

 3   respondents removed during quality control and validation.

 4   50.    Interviews were conducted from November 18, 2017 to February 4, 2018, resulting in an

 5   initial database of 515 completed interviews. Of these, 66 respondents (12.8%) were removed

 6   during quality control or validation, leaving 449 respondents in the final database, of which 67

 7   were recruited through SSI, and 382 recruited through mailing lists. Exhibit 8 shows all

 8   responses to all questions from all respondents, including a data map indicating which survey

 9   responses correspond to each variable in the database. Table A below shows the number of

10   completed interviews by item. This database is of more than sufficient size to be reliable.

11
                         Table A: Interviews by Item for the Survey Database
12                                   Total                  Test                                Control
             Item                 Interviews               Images                               Images
13
      Screwdriver                     204                    104                                 100
14
      Work Light                       199                      100                                  99
15    Tumbler                           46                        29                                 17
16      Total                          449                      233                                 216
17
18   51.    The next section describes the findings from my analysis of the survey data.
19
20   Findings from the Likelihood of Confusion Survey
21   52.    As a reminder, the questions that measured confusion were primarily answered in
22   respondents’ own words. During data analysis, I examined these responses to determine
23   whether or not respondents were confused as to company or brand, or as to sponsorship or
24   approval. To do so, I assigned codes to each verbatim response reflecting the themes inherent in
25   the response. I was assisted in the coding by MMR staff working at my direction, and I have
26   personally reviewed and/or assigned every code for every response.
27
28
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 1   53.       The codes are listed in Exhibit 9. I coded responses as referring to Monster Energy

 2   Company if they mentioned phrases clearly referencing Monster Energy Company, such as

 3   “Monster Energy,” “Monster energy drinks,” “Energy drinks,” or a “drink company.” A code of

 4   “Monster Energy Company” means that a respondent was confused, because they referenced

 5   Monster Energy Company in response to seeing a screwdriver, work light, or tumbler from ISN.

 6   54.       Exhibit 10 presents cross-tabulation tables from the data analysis, which show detailed

 7   results for all survey questions, including the results of the coding. This section summarizes key

 8   results from the data, including results for confusion as to company or brand (Questions 1 and 4)

 9   and for confusion as to sponsorship or approval (Question 7).

10   55.       Question 1 asked respondents what company or brand they think makes or puts out the

11   item shown in the picture. Table B summarizes the results from Question 1.

12
13                   Table B: Confusion as to Company or Brand from Question 1
      Q.1 What company or brand do you think makes or            All Test      All Control
14    puts out the item shown in the picture?                     Images         Images
15    Sample size                                                  233             216
          Monster Energy Company19                                               4.3%                      0.0%
16
          Monster, unspecified20                                                 67.0%                      0.0%
17
          Brands other than Monster21                                            15.9%                     14.8%
18
          ISN, including ISN Monster22                                            3.4%                      0.0%
19        Mountain or Mountain Mobile23                                           0.0%                     79.6%
20        Tools or types of tools                                                 0.0%                      0.5%
21        Other                                                                   2.6%                      0.5%
22        Don’t know                                                              8.6%                      5.6%

23   19
       Includes responses that referenced Monster Energy, Monster energy drinks, Energy drinks, a drink
24   company, and similar themes.
     20
          Includes responses that referenced “Monster,” but did not specify Monster Energy Company or ISN.
25   21
      Includes responses that referenced brands of retailers or tools, such as Sears, Craftsman, Snap-On,
26   Harbor Freight, AutoZone, and other brands.
     22
      Includes responses that referenced ISN brands, such as Monster tools, Monster lighting, or Monster
27   Mobile.
     23
28        Includes responses such as Mountain tools, and similar themes.

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 1   56.    As can be seen in Table B, 4.3% of respondents shown the test images provided an

 2   answer reflecting Monster Energy Company. Examples of these verbatim comments include the

 3   following:

 4              i.   ID #920: “Monster Energy”

 5            ii.    ID #2278: “A drink company”

 6            iii.   ID #2424: “Monster energy drinks”

 7            iv.    ID #2573: “looks like the energy drink maker”

 8             v.    ID #2633: “Monster energy”

 9            vi.    ID #6449: “beverage company”

10           vii.    ID #9497: “Monster energy”

11   57.    Table B also shows that, among respondents shown the test images, the most common

12   theme reflected “Monster,” without specifying whether the respondent had in mind Monster

13   Energy Company or Monster products from ISN. Even though some of these respondents were

14   likely thinking about Monster Energy Company, the confusion measures for my survey do not

15   count any of these responses as reflecting Monster Energy Company.

16   58.    Other themes mentioned in response to Question 1 include brands other than Monster,

17   such as retailers or tool brands.

18   59.    Among respondents shown the control images, no respondents (0.0%) provided a

19   comment that reflected Monster Energy Company, and 79.6% of respondents provided a

20   comment reflecting Mountain or Mountain Mobile, which was the name on the control item.

21   60.    Question 2 asked respondents, “What makes you think that?” Table C below shows the

22   results from Question 2.

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 1                       Table C: Summary of Results from Question 2
                                                             All Test                                      All Control
 2    Q.2 What makes you think that?                         Images                                          Images
 3    Sample size                                               233                                            216
          The name or Monster Energy Company24                                       66.1%                     75.5%
 4
          The logo, design, or colors25                                              23.2%                     13.4%
 5
          Personal experience26                                                       3.0%                      2.3%
 6
          Brand of tool, light, or retailer                                           0.4%                      0.5%
 7        Other                                                                      11.6%                      8.8%
 8        Don’t know                                                                  4.3%                      4.6%
 9
10   61.        The table shows that the theme most commonly reflected by responses to this question

11   related to the name shown on the item, including references to Monster Energy Company. This

12   theme was reflected by verbatim comments from 66.1% of respondents who saw the test images,

13   and 75.5% of respondents who saw the control images. Examples of Question 2 responses

14   reflecting this theme from respondents shown the test images include the following:

15                  i.   ID #883: “There's only "Monster" written on it.”

16                 ii.   ID #948: “printed on tool”

17                iii.   ID #1002: “The name "Monster" on the side of it”

18                iv.    ID #2694: “Name and logo remind me of Monster Energy Drinks”

19                 v.    ID #2952: “IT SAYS "monster" on it's side in big green letters!”

20                vi.    ID #4184: “Monster is written on the handle”

21                vii.   ID #6312: “THE NAME ON THE BOX”

22             viii.     ID #9497: “the word monster and the green plus the cup looks like a monster. It

23                       honestly looks like an off-brand knock off”

24   24
       Includes responses that referenced it’s written on it, it says it, it’s on the label, I see it, and similar
25   themes. Also includes references to Monster Energy, Monster energy drinks, Energy drinks, a drink
     company, and similar themes.
26   25
       Includes responses that referenced the logo, the design, the style, the colors, it looks like their product,
     and similar themes.
27   26
       Includes responses that referenced I’ve seen, used, or owned it before, they advertise, familiar, and
28   similar themes.

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 1   62.    The table also shows that another theme reflected by responses to this question related to

 2   the logo, design, or colors. This theme was reflected by verbatim comments from 23.2% of

 3   respondents who saw the test images, and 13.4% of respondents who saw the control images.

 4   Examples of Question 2 responses from respondents shown the test images that reflect this theme

 5   include the following:

 6             i.   ID #598: “Logo on grip”

 7            ii.   ID #855: “neon green.”

 8           iii.   ID #2066: “The logo on the side”

 9           iv.    ID #2617: “LOOKS LIKE THE MONSTER DRINK LOGO”

10            v.    ID #6310: “the monogram on the handle”

11           vi.    ID #7044: “the big green letters.”

12   63.    Ten respondents who saw the test images provided an answer to Question 1 reflecting

13   Monster Energy Company. Of those, five provided an answer to Question 2 reflecting the name

14   or Monster Energy Company, while eight provided an answer to Question 2 reflecting the logo,

15   design, or colors. Examples of those responses are shown below.

16             i.   ID #920: “Graphics and information packaging.”

17            ii.   ID #2424: “The Logo”

18           iii.   ID #2633: “Thats the monster logo and coloring”

19   64.    Next, Question 3 asked respondents whether they are aware of any other products or

20   brands made or put out by the company that makes or puts out the item they were shown. Table

21   D summarizes the results for Question 3.

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 1                        Table D: Summary of Results from Question 3
     Q.3 Are you aware of any other products or brands
 2
     made or put out by the company that makes or puts out    All Test                         All Control
 3   the item shown in the picture?                           Images                             Images
     Sample size                                                 233                               216
 4   Yes                                                                 27.5%                      8.8%
 5   No                                                                  60.9%                     77.3%
 6   I don’t know                                                        11.6%                     13.9%
 7
 8   65.    As shown in Table D, 27.5% of respondents shown the test images, and 8.8% of

 9   respondents shown the control images, answered affirmatively to Question 3.

10   66.    Among respondents who answered affirmatively to Question 3, Question 4 asked

11   respondents what other products or brands do they think are made or put out by the company that

12   makes or puts out the item shown in the picture. Table E summarizes the results from Question

13   4. The results are provided on an unduplicated basis, meaning that respondents who mentioned

14   the same theme in response to Question 1 are not counted again in the results provided for

15   Question 4.

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 1          Table E: Confusion as to Company or Brand from Question 4 (Unduplicated)27
      Q.4 What other products or brands do you think are
 2    made or put out by the company that makes or puts out    All Test       All Control
 3    the item shown in the picture?                           Images           Images
      Sample size                                                 233             216
 4        Monster Energy Company28                                               10.3%                     0.0%
 5        Monster, unspecified29                                                  0.0%                      0.0%
 6        Brands other than Monster30                                             3.0%                      2.3%
 7        ISN, including ISN Monster31                                            0.4%                      0.0%

 8        Mountain or Mountain Mobile32                                           0.0%                      0.0%
          Tools or types of tools                                                 7.7%                      4.2%
 9
          Other                                                                   3.0%                      0.9%
10
          Don’t know                                                              2.1%                      0.0%
11
12
13   67.       As shown in Table E, among respondents shown the test images, an additional 10.3%
14   provided a response which reflected Monster Energy Company. This theme was reflected by a

15   greater unduplicated percentage of responses to Question 4 than any other theme in Table E.

16   Examples of these verbatim responses include following:

17                  i.   ID #2296: “Energy Drinks”

18                ii.    ID #2739: “drink”

19                iii.   ID #4433: “Energy drinks.”

20                iv.    ID #6843: “Monster Energy Drink”
21                 v.    ID #7065: “Energy Drink”

22
     27
          This table reflects respondents who did not mention the same theme in response to Questions 1.
23   28
       Includes responses that referenced Monster Energy, Monster energy drinks, Energy drinks, a drink
24   company, and similar themes.
     29
          Includes responses that referenced “Monster,” but did not specify Monster Energy Company or ISN.
25   30
      Includes responses that referenced brands of retailers or tools, such as Sears, Craftsman, Snap-On,
26   Harbor Freight, AutoZone, and other brands.
     31
      Includes responses that referenced ISN brands, such as Monster tools, Monster lighting, or Monster
27   Mobile.
     32
28        Includes responses such as Mountain tools, and similar themes.

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 1   68.        Table E also shows that among those shown the control images, no respondents (0.0%)

 2   provided a response referring to Monster Energy Company.

 3   69.        Question 5 asked, “What makes you think that?” Table F below shows the results from

 4   Question 5.

 5
                         Table F: Summary of Results from Question 5
 6                                                           All Test                                      All Control
 7    Q.5 What makes you think that?                          Images                                         Images
      Sample size                                               233                                            216
 8        The name or Monster Energy Company33                                        5.6%                      0.9%
 9        The logo, design, or colors34                                               4.7%                      0.0%
10        Personal experience35                                                      12.0%                      5.6%

11        Brand of tool, light, or retailer                                           1.3%                      0.9%

12        Other                                                                       6.0%                      2.3%
          Don’t know                                                                  1.3%                      0.0%
13
14
15   70.        Table F shows that the theme most commonly reflected by responses to this question

16   relates to personal experience, such as prior experience with the product or the brand, or having

17   seen the brand advertised. This theme was reflected by verbatim comments from 12.0% of

18   respondents shown a test image, and 5.6% of those shown a control image. Among respondents

19   shown the test images, examples of responses that reflected this theme include the following:

20                  i.   ID #2226: “I have seen ads in automotive trade magazines.”

21                ii.    ID #4897: “I saw product in store.”

22                iii.   ID #4965: “Used the product”

23                iv.    ID #6421: “I recognize the brand and have seen it on tool trucks.”

24   33
       Includes responses that referenced it’s written on it, it says it, it’s on the label, I see it, and similar
25   themes. Also includes references to Monster Energy, Monster energy drinks, Energy drinks, a drink
     company, and similar themes.
26   34
       Includes responses that referenced the logo, the design, the style, the colors, it looks like their product,
     and similar themes.
27   35
       Includes responses that referenced I’ve seen, used, or owned it before, they advertise, familiar, and
28   similar themes.

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 1            v.    ID #6825: “I have purchased them”

 2   71.    Twenty-four respondents shown the test images provided an answer to Question 4 that

 3   reflected Monster Energy Company. Of those, six provided a response to Question 5 reflecting

 4   the logo, design, or colors, and 11 provided a response to Question 5 that reflected the name or

 5   Monster Energy Company. Examples of these respondents are shown below.

 6             i.   ID #2603: “THE NAME ON THE HANDLE”

 7            ii.   ID #4995: “same name, similar colors”

 8           iii.   ID #5047: “the name”

 9   72.    The next series of questions measured confusion as to sponsorship and approval.
10   Question 6 asked respondents whether they think that whoever makes or puts out the item is
11   sponsored or approved by another company or brand. Table G below summarizes the results
12   from Question 6.
13
                          Table G: Summary of Results from Question 6
14
     Q.6 Do you think that whoever makes or puts out this     All Test                          All Control
15   item …?                                                  Images                              Images
     Sample size                                                233                                 216
16   Is sponsored or approved by another company or brand                 47.6%                     30.6%
17   Is not sponsored or approved by another company or brand              9.9%                     11.1%
18   I don’t know or have no opinion                                      42.5%                     58.3%
19
20   73.    As shown in Table G, 47.6% of respondents shown the test images, and 30.6% of those

21   shown the control images, answered affirmatively to Question 6.

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 1   74.        Among respondents who answered affirmatively to Question 6, Question 7 asked what

 2   other company or brand they believe sponsored or approved whoever makes or puts out the item

 3   shown in the picture. Table H below summarizes the results on an unduplicated basis, meaning

 4   that respondents who mentioned the same theme in response to Questions 1 or 4 are not counted

 5   again in Question 7.

 6
         Table H: Confusion as to Sponsorship or Approval from Question 7 (Unduplicated)36
 7    Q.7 What other company or brand do you believe
 8    sponsored or approved whoever makes or puts out the       All Test       All Control
      item shown in the picture?                                Images           Images
 9    Sample size                                                 233              216
10        Monster Energy Company37                                                9.9%                      0.0%
          Monster, unspecified38                                                   3.0%                      0.0%
11
          Brands other than Monster39                                              9.4%                     11.1%
12
          ISN, including ISN Monster40                                             0.0%                      0.0%
13
          Mountain or Mountain Mobile41                                            0.0%                      0.5%
14
          Tools or types of tools                                                  0.9%                      1.9%
15        Other                                                                    1.7%                      2.3%
16        Don’t know                                                              11.6%                      9.3%
17
18
     75.        As shown by Table H, an additional 9.9% of respondents who were shown the test
19
     images provided a response to Question 7 which reflected Monster Energy Company. Examples
20
     include the following:
21
22
     36
          This table reflects respondents who did not mention the same theme in response to Questions 1 or 4.
23   37
       Includes responses that referenced Monster Energy, Monster energy drinks, Energy drinks, a drink
24   company, and similar themes.
     38
          Includes responses that referenced “Monster,” but did not specify Monster Energy Company or ISN.
25   39
      Includes responses that referenced brands of retailers or tools, such as Sears, Craftsman, Snap-On,
26   Harbor Freight, AutoZone, and other brands.
     40
      Includes responses that referenced ISN brands, such as Monster tools, Monster lighting, or Monster
27   Mobile.
     41
28        Includes responses, such as Mountain tools, and similar themes.

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 1                  i.   ID #871: “monster beverages”

 2                ii.    ID #2189: “Monster Energy Drinks”

 3                iii.   ID #2519: “a drink”

 4                iv.    ID #4782: “Monster energy drinks”

 5                 v.    ID #6416: “Monster energy”

 6   76.        Table H also shows that among respondents shown the control images, no additional

 7   respondents (0.0%) provided a response to Question 7 which referred to Monster Energy

 8   Company.

 9   77.        Question 8 asked respondents, “What makes you think that?” Table I below shows the

10   results from Question 8.

11
12                       Table I: Summary of Results from Question 8
                                                             All Test                                      All Control
13    Q.8 What makes you think that?                          Images                                         Images
      Sample size                                               233                                            216
14
          The name or Monster Energy Company42                                       10.7%                      1.4%
15
          The logo, design, or colors43                                              18.0%                      9.7%
16        Personal experience44                                                       1.3%                      1.4%
17        Brand of tool, light, or retailer                                           2.1%                      1.9%
18        Other                                                                      15.5%                     13.4%

19        Don’t know                                                                  7.7%                      5.1%

20
21
22
23
24   42
       Includes responses that referenced it’s written on it, it says it, it’s on the label, I see it, and similar
25   themes. Also includes references to Monster Energy, Monster energy drinks, Energy drinks, a drink
     company, and similar themes.
26   43
       Includes responses that referenced the logo, the design, the style, the colors, it looks like their product,
     and similar themes.
27   44
       Includes responses that referenced I’ve seen, used, or owned it before, they advertise, familiar, and
28   similar themes.

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 1   78.      Table I shows that the theme most commonly reflected by responses to this question

 2   relates to the logo, design, or colors. This theme was reflected by responses from 18.0% of

 3   respondents shown the test images, and 9.7% of respondents shown the control images. Among

 4   respondents shown the test images, examples of responses that provided a comment referencing

 5   this theme include the following:

 6               i.   ID #942: “the logo, the colors”

 7             ii.    ID #2361: “GREEN AND BLACK COMPANY LOGO”

 8             iii.   ID #4198: “the colors and font used”

 9   79.      Twenty-three respondents shown the test images provided a response to Question 7 that

10   reflected the theme of Monster Energy Company. Of these, 10 provided an answer to Question 8

11   that reflected the name or Monster Energy Company. Examples of these responses are shown

12   below.

13               i.   ID #871: “the name on the tool”

14             ii.    ID #2503: “The name is the same”

15             iii.   ID #2519: “the name and color”

16             iv.    ID #2816: “name on tool”

17              v.    ID #4772: “the name on the handle and the color scheme”

18   80.      Also, 16 of the 23 respondents shown the test images who answered Monster Energy

19   Company in response to Question 7 provided a response to Question 8 reflecting the logo,

20   design, or colors. Examples are shown below.

21               i.   ID #2189: “Looks like their logo”

22             ii.    ID #2674: “It looks like their logo”

23             iii.   ID #6294: “It says Monster on it and has their colors”

24             iv.    ID #6416: “Colors and logo”

25              v.    ID #6842: “font & COLOR”

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                                                                                                            EX1-28
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 1   81.     At the end of the survey, respondents were asked two questions about their ability to see

 2   colors. Question 9 asked respondents whether they have any type of color blindness or color

 3   vision deficiency. Page 41 of Exhibit 10 shows that 92.7% of all respondents answered

 4   negatively, 4.7% answered affirmatively, and 2.7% answered that they don’t know.

 5   82.     Question 10 provided a color test, asking respondents to indicate the color of three

 6   colored squares by selecting from a list of colors. Page 47 of Exhibit 10 shows that of 449

 7   survey respondents (including test and control), 435 (96.9%) classified all colors correctly, 13

 8   classified 1 color incorrectly, and 1 respondent classified all three colors incorrectly.45

 9   83.     The next section summarizes my conclusions from the survey data.

10
11   Summary and Conclusions

12   84.     My survey measures the likelihood of confusion between products from ISN and Monster

13   Energy Company, including confusion as to company or brand, and confusion as to sponsorship

14   or approval.

15   85.     Table J summarizes the two types of confusion measured in the survey. As with prior

16   tables, Table J is unduplicated, meaning that it counts each respondent only once, even if they

17   mentioned Monster Energy Company in response to more than one question. In other words,

18   Table J summarizes the incremental amount of confusion measured by each question due to

19   respondents mentioning Monster Energy Company who had not mentioned Monster Energy

20   Company in response to a prior question.

21   86.     As shown in Table J, across Questions 1, 4, and 7, the total for all measured confusion is

22   24.5% among respondents shown the test images, and zero (0.0%) among respondents shown the

23   control images.

24
25
26   45
       The respondent who classified all three colors incorrectly in Question 10 also indicated in Question 9
27   that they have color blindness or color vision deficiency. All these respondents were left in the database,
     because such people exist in the real-world marketplace. Also, leaving in these respondents was a
28   conservative measure, because such respondents may be less likely be confused based on color.

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                                                                                                                EX1-29
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 1               Table J: Summary of Confusion by Product Type (Unduplicated)46
                                                              All Test      All Control
 2    Likelihood of confusion for all products                 Images          Images
 3    Sample size                                                233            216
      Confusion as to company or brand (Question 1)                           4.3%                      0.0%
 4
      Confusion as to company or brand (Question 4)                          10.3%                      0.0%
 5
      Confusion as to affiliation or connection (Question 7)                  9.9%                      0.0%
 6
      All measured confusion (Questions 1, 4, and 7)                         24.5%                     0.0%
 7
 8
 9   87.    As with other measures in this report, the measures in Table J are conservative, as they

10   only count responses as confused if they reflected Monster Energy Company. My survey does

11   not count as confused any responses that mentioned “Monster” but did not specify Monster

12   Energy Company, even though some of these responses likely referred to Monster Energy

13   Company. I understand that some consumers may refer to Monster Energy Company or Monster

14   Energy Company products as “Monster.” For example, the Complaint in this matter refers to

15   Monster Energy Company as “Monster,” and identifies a wide range of Monster Energy

16   Company products and trademarks that incorporate the word “Monster.”

17   88.    Table K summarizes confusion measure results for each product individually. Table K

18   indicates that, among respondents who were shown the test images, all measured confusion

19   among respondents shown the test images is 20.2% for the screwdriver, 25.0% for the work

20   light, and 37.9% for the tumbler. All measured confusion was zero (0.0%) among respondents

21   shown any of the control images.

22
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24
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27   46
      If a respondent mentioned or referenced a brand in one question, they were not counted as confused
28   more than once, even if they mentioned or referenced the brand in subsequent questions.

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                                                                                                             EX1-30
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 1               Table K: Summary of Confusion by Product Type (Unduplicated)47
                                                                Test
 2    Likelihood of confusion for screwdriver                 Images      Control Images
 3    Sample size                                               104             100

 4    Confusion as to company or brand (Question 1)                                1.0%                      0.0%

 5    Confusion as to company or brand (Question 4)                                9.6%                      0.0%

 6    Confusion as to affiliation or connection (Question 7)                       9.6%                      0.0%
 7
      All measured confusion (Questions 1, 4, and 7)                              20.2%                      0.0%
 8                                                                                Test                    Control
 9    Likelihood of confusion for work light                                     Images                   Images
      Sample size                                                                 100                       99
10
      Confusion as to company or brand (Question 1)                                4.0%                      0.0%
11
      Confusion as to company or brand (Question 4)                                9.0%                      0.0%
12
13    Confusion as to affiliation or connection (Question 7)                      12.0%                      0.0%

14    All measured confusion (Questions 1, 4, and 7)                              25.0%                      0.0%

15                                                                                Test                    Control
      Likelihood of confusion for drink or beverage tumbler48                    Images                   Images
16    Sample size                                                                  29                       17
17    Confusion as to company or brand (Question 1)                               17.2%                      0.0%

18    Confusion as to company or brand (Question 4)                               17.2%                      0.0%
19
      Confusion as to affiliation or connection (Question 7)                       3.4%                      0.0%
20
      All measured confusion (Questions 1, 4 and 7)                               37.9%                      0.0%
21
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     47
       If a respondent referenced Monster Energy Company in one response, they were not counted as
27   confused more than once, even if they referred to Monster Energy Company in a subsequent response.
     48
28        Results for tumblers should be read keeping in mind the small sample size for this product.

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                                                                                                                  EX1-31
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 1   89.       Table L below provides net measures for all measured confusion.

 2
         Table L: Summary of All Measured Confusion by Product Type (Unduplicated)49
 3                                                          Test     Control
 4   Likelihood of confusion for all products              Images     Images      Net
     Sample size                                            233        216
 5
     All measured confusion (Questions 1, 4 and 7)                             24.5%             0.0%             24.5%
 6                                                                             Test            Control
 7   Likelihood of confusion for screwdriver                                  Images           Images              Net
     Sample size                                                               104              100
 8
     All measured confusion (Questions 1, 4, and 7)                            20.2%             0.0%             20.2%
 9                                                                             Test            Control
10   Likelihood of confusion for work light                                   Images           Images              Net
     Sample size                                                               100               99
11
     All measured confusion (Questions 1, 4 and 7)                             25.0%             0.0%             25.0%
12
                                                                               Test            Control
13   Likelihood of confusion for drink or beverage tumbler 50                 Images           Images              Net
     Sample size                                                                29               17
14
     All measured confusion (Questions 1, 4 and 7)                             37.9%             0.0%             37.9%
15
16
17   90.       Table L indicates that the gross level of all measured confusion between ISN and

18   Monster Energy Company is 24.5%, before accounting for the control. The level of all measured

19   confusion in the control cell is 0.0%, so the net level of all measured confusion is 24.5%

20   (calculated as 24.5% minus 0.0%). The net level of all measured confusion is 20.2% for the

21   screwdriver, 25.0% for the work light, and 37.9% for the tumbler.

22   91.       As described earlier, these measures are conservative, because they only reflect confusion

23   measured by responses that clearly referred to Monster Energy Company. Responses that

24   reflected “Monster” but did not specify Monster Energy Company were not counted as confused,

25   even though some of these responses may have been referring to Monster Energy Company.

26
     49
       If a respondent referenced Monster Energy Company in one response, they were not counted as
27   confused more than once, even if they referred to Monster Energy Company in a subsequent response.
     50
28        Results for tumblers should be read keeping in mind the small sample size for this product.

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                                                                                                                  EX1-32
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 1   92.        Questions 2, 5, and 8 asked respondents, “What makes you think that?” These questions

 2   followed up to Questions 1, 4, and 7. Table M provides the unduplicated results for Questions 2,

 3   5, and 8 among respondents who provided a response to Questions 1, 4, or 7 that reflected

 4   Monster Energy Company. In other words, Table M summarizes the reasons respondents

 5   provided for answers to Question 1, 4, and 7 that reflected confusion.

 6
 7           Table M: Summary of Results from Questions 2, 5, and 8 (Unduplicated)51
            Among Those Responding Monster Energy Company in Questions 1, 4, or 7
 8
                                                                All Test      All Control
 9    Q.2/Q.5/Q.8 What makes you think that?                    Images         Images52
      Sample size                                                  57              0
10        The name or Monster Energy Company53                                       86.0%                           --
11        The logo, design, or colors54                                              61.4%                           --
12        Personal experience55                                                      24.6%                           --
13        Brand of tool, light, or retailer                                           1.8%                           --

14        Other                                                                      36.8%                           --

15        Don’t know                                                                 12.3%                           --

16
17
18
19
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21   51
       If a respondent provided a response reflecting the same theme in response to more than one question,
22   they were only counted once.
     52
       The table shows results for Questions 2, 5, and 8 among respondents who answered Monster Energy
23   Company in response to Questions 1, 4, or 7. No respondents who saw the control materials provided a
     response reflecting Monster Energy Company.
24   53
       Includes responses that referenced it’s written on it, it says it, it’s on the label, I see it, and similar
25   themes. Also includes references to Monster Energy, Monster energy drinks, Energy drinks, a drink
     company, and similar themes.
26   54
       Includes responses that referenced the logo, the design, the style, the colors, it looks like their product,
     and similar themes.
27   55
       Includes responses that referenced I’ve seen, used, or owned it before, they advertise, familiar, and
28   similar themes.

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 1   93.    The table shows that a large majority (86.0%) of respondents shown the test images who

 2   provided a response to Question 1, 4, and/or 7 that reflected Monster Energy Company indicated

 3   in Questions 2, 5, and/or 8 that the reason for their answer was the name or Monster Energy

 4   Company. Similarly, 61.4% indicated that the reason was the logo, design, or colors. The

 5   responses to Questions 2, 5, and 8 indicate that the primary reasons for confusion include the

 6   name used on the tested items, as well as the logo, design, or colors of those items.

 7   94.    In my experience, the levels of confusion measured by my survey would generally be

 8   considered as indicating a significant or substantial likelihood of confusion.

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                                                                                                           EX1-34
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 1   I declare under penalty of perjury under the laws of the United States that the foregoing is true

 2   and correct to the best of my belief.

 3
 4   Executed in Encino, California, on February 21, 2018.
 5
 6
 7
                                                   ______________________________
 8                                                 Dr. Bruce Isaacson
 9
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                                                                                                           EX1-35
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                                  Exhibit 1:
               Dr. Bruce Isaacson CV and Testimony Experience




                                                                       EX1-36
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    16501 Ventura Boulevard, Suite 601, Encino, CA 91436 • Phone (818) 464-2400 • www.mmrstrategy.com


                                     D R . B R U C E R. I S A A C S O N , DBA, MBA
            Summary of                             Expertise in surveys, marketing, and strategy.
            Qualifications                         Experience in intellectual property matters.
                                                   Doctorate and MBA, Harvard Business School; Bachelor of
                                                    Science in Engineering, Northwestern University.



            MMR Strategy Group, Encino, CA                                                              2005 - Present
            PRESIDENT

            MMR provides surveys, analysis, and consulting to measure the attitudes and behaviors of
            customers and prospective customers. MMR has three primary practice areas:
                    1. Commercial Marketing Research: MMR provides marketing research and consulting
                       to help clients improve products, and develop marketing and sales strategies. MMR’s
                       commercial clients have included Farmers Insurance, Nestle USA, Goodyear, and
                       others.
                    2. Claim Substantiation: MMR provides research and consulting to help clients evaluate
                       claims made in packaging, advertising, and other marketplace communications.
                    3. Litigation Surveys: MMR provides surveys and testimony for intellectual property
                       matters. MMR has been retained by firms including Jones Day, Proskauer Rose,
                       Kirkland & Ellis, and others.
                 As President, I design studies, manage research projects, and provide consulting for clients.
                  I have conducted hundreds of surveys during my career.
                 I regularly provide surveys, testimony, and rebuttals for intellectual property litigation and
                  claim substantiation matters. I have experience with a wide variety of authorities,
                  including Federal Court, the Trademark Trial and Appeal Board (TTAB), National
                  Advertising Division (NAD), and other venues as well.
                 I frequently speak and write on topics relating to surveys, marketing, and strategy.



          Education

                 Doctor of Business Administration in Marketing, Harvard Business School, 1995.
                  Awarded Dean’s Doctoral Fellowship.
                 MBA with High Distinction, Harvard Business School, 1991. Graduated in top 5% of
                  class as a Baker Scholar.
                 Bachelor of Science in Engineering with focus on Regional Development, Northwestern
                  University Technological Institute, 1985.

                                                                                                                             MMR
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                                                                                                                    EX1-37
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          Prior Professional Experience

            Fairview Company, Calabasas, CA                                                         2002 - 2004
            MANAGING DIRECTOR
                 West Coast Practice Leader of Executive Development for Monitor Group.
                  Designed and managed marketing and strategy executive education programs. Developed
                  curriculum, served as lead faculty on programs for Fortune 100 clients.
                 Consulted with clients in technology, software, and financial services.
                  Provided consulting services in marketing and strategy.


            Intuit/Digital Insight, Calabasas, CA                   2001 - 2002
            SENIOR VICE PRESIDENT FOR PRODUCTS, MARKETING, AND ALLIANCES
                 Managed business lines for $130 million provider of outsourced banking
                  services/software.
                  Directed marketing, strategy, alliances, mergers, acquisitions, resellers, and pricing for 9
                  business lines. Managed $29 million budget and staff of 40.
                 Built product management and strategy functions.
                  Set priorities for $22 million R&D budget. Directed $51 million acquisition and post-
                  merger conversion of 150 new clients.


            Move, Inc., Westlake Village, CA                                                        1999 - 2001
            PRESIDENT, HOME SERVICES
                 Founded home services division for software/services provider to real estate industry.
                  Directed business unit for new division. Built alliances with associations including
                  National Association of Homebuilders and American Institute of Architects.


            PHH Corporation (NYSE: PHH), Mortgage Division, Mount Laurel, NJ                        1997 - 1999
            VICE PRESIDENT, MARKETING
                 Directed marketing for $26 billion outsourced mortgage services division.
                  Company provided private label loans and loan servicing for customers and partners,
                  including Wells Fargo, USAA, Coldwell Banker, Century 21. Served on 14-member
                  Executive Committee. Managed $14 million budget and 60 people in marketing, research,
                  public relations, advertising, strategic planning, business development and e-commerce.
                 Created collateral for selling, processing, and closing loans distributed to 750,000
                  customers annually.
                  Redesigned sales materials used by 150-person sales force. Created point-of-sale materials
                  and placed in 1,600 real estate offices nationwide. Negotiated co-marketing deals.

                 Built online platform to originate, close and service mortgages.
                  Created co-branded system used by 1,400 partners to originate $700 million in mortgages
                  in 2000. Integrated system with more than 2,000 sales and customer service reps.


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                                                                                                           EX1-38
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            Boston Consulting Group, Chicago, IL                                                  1995 to 1997
            CONSULTANT
                 Consulted in marketing, strategy and distribution for $1 billion international strategy
                  consulting firm.
                  Designed and rolled out database marketing program for international supermarket chain.
                  Developed purchasing strategy for $3 billion consumer goods company.
                  Evaluated market strategy for $800 million division of paper goods company.


            Harvard Business School, Cambridge, MA                                                1991 to 1995
            DEAN’S DOCTORAL FELLOW
                 Developed and implemented multi-year research project analyzing buyer-supplier
                  alliances.
                  Authored 14 publications including best-selling case studies and articles in distribution,
                  sales, supplier management, purchasing, branding, new products. Taught in Babson
                  College Executive MBA program.


            E&J Gallo Winery, Modesto, CA                                                                  1990
            MBA INTERN
                 Summer intern at global winery. Developed packaging strategy, distribution and retailer
                  incentive programs for the wine cooler category.


            Long Wharf Trading Company, Danvers, MA                                               1986 to 1989
            PRESIDENT & CO-FOUNDER
                 Co-founded company manufacturing high quality sewn products for advertising
                  premiums.
                  Directed 30 employees. Clients included banks, universities, corporations, schools and
                  museums. Company was featured with full-page story in Inc. Magazine.


            Parsons Corporation/Barton-Aschman Associates, Evanston, IL                           1985 to 1986
            ASSOCIATE CONSULTANT
                 Conducted strategic and operations planning for public transportation systems at
                  global construction and regional planning company.
                  Received President’s Award for outstanding initiative and performance.




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          Honors, Appointments, Affiliations

                 Member, American Marketing Association (AMA)

                 Member, International Trademark Association (INTA)

                 Member, Marketing Research Association (MRA)

                 Member, Brand Activation Association (BAA)

                 Editorial Board, Journal of Business-to-Business Marketing, 1994 – present

                 Member, The Trademark Reporter Committee, International Trademark Association,
                  2010 - present

                 Policy Advisory Board, Joint Center for Housing Studies at Harvard University,
                  1999 - 2001

                 Winner, Doctoral Dissertation, Institute for Study of Business Markets, Penn State, 1994

                 George S. Dively Award for Innovative Research, Harvard Business School, 1993

                 George F. Baker Scholar, Harvard Business School (top 5% of class), 1991

                 Dean’s Doctoral Fellowship, Harvard Business School, 1993 -1995


          Selected Speaking Engagements
          Frequent speaker at industry conferences and client events on topics relating to marketing and
          strategy, including:

                 Speaker at conference entitled, “Advanced Forum on Resolving & Litigating Advertising
                  Disputes.” Panelist for “Battle of the Experts – Deploying the Proper Scientific
                  Methodology for Supporting or Challenging Claims,” March, 2015.

                 “Using Surveys to Measure Attitudes and Behaviors.” Presentation to U.S. Department of
                  Justice, Civil Division, Commercial Litigation Branch, March, 2015.

                 Speaker at the “Corporate Researchers Conference,” sponsored by the Marketing Research
                  Association, October, 2013.

                 Speaker on panel for seminar entitled “Trademark Protection in Cyberspace,” sponsored by
                  the Los Angeles County Bar Association (LACBA), May, 2013.

                 Moderator for round table discussion entitled, “Using Survey Evidence for Claim
                  Substantiation,” International Trademark Association Annual Conference, May, 2013.

                 Speaker and panelist for multi-day conference entitled, “Advertising Claims Support: Case
                  Histories and Principles,” conference hosted by The Institute for Perception, April, 2013.

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                 Moderated round table discussion entitled, “Replicating Marketplace Conditions in
                  Trademark Surveys,” International Trademark Association Annual Conference, 2011.

                 Moderated round table discussion entitled, “The Use of Surveys in Intellectual Property
                  Litigation,” International Trademark Association Annual Conference, 2010.

                 Faculty on panel at expert forum entitled, “Litigating & Resolving Advertising Disputes,”
                  American Conference Institute, June, 2010.

                 “The Use of Online Surveys in Intellectual Property Litigation.” Presentation to the
                  National Advertising Division (NAD) Annual Conference, October, 2009.

                 “The Death of the Focus Group: Non-Traditional Research to Create Deeper Customer
                  Insight.” Presentation to American Marketing Association Annual Marketing Research
                  Conference, September, 2008.

                 “Understanding Your Customer and Making Tough Strategic Choices,” International
                  Restaurant & Foodservice Show of New York, March, 2008.

                 “Measuring Consumer Attitudes and Behaviors in Intellectual Property Litigation,”
                  Continuing Legal Education (CLE) seminar presented to audiences including:

                              Orange County Bar Association, November 2007.
                              Baker Botts, LLP, March, 2008.
                              Amster, Rothstein & Ebenstein LLP, March, 2008.
                              Fulwider Patton, LLP, March, 2008.

                 “Understanding Today’s Customers and Making Tough Choices – Lessons Learned From
                  Starbucks,” Western Foodservice & Hospitality Expo, August, 2007.

                 “What Can We Learn from Customer Satisfaction Studies?” Real Trends Marketing &
                  Technology Expo, September, 2006.

          Publications and Works in Process
                 Book Review of Trademark and Deceptive Advertising Surveys: Law, Science, and
                 Design, edited by Shari Seidman Diamond and Jerre B. Swann. The Trademark
                 Reporter, September, 2013.
                 Playing Nice With Legal: How Research Can Help Keep Marketing Claims in
                 Compliance. Quirk’s Marketing Research Review, January, 2013.
                 The Quantity of Presidential Polls and the Quality of Marketing Research. Green Book
                 Blog, October, 2012.




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               Three Critical Questions to Evaluate Intellectual Property Surveys. Intellectual
               Property Today, September, 2012. Co-authors Professor Jonathan Hibbard and Professor
               Scott Swain.
               Asking the Right Questions (in Litigation Surveys). Intellectual Property Magazine,
               October, 2012.
               Conducting Litigation Surveys in an Online World. Manuscript in process with co-
               author, planning to submit for publication to The Trademark Reporter.
               Why Online Consumer Surveys Can Be a Smart Choice in Intellectual Property Cases
               (with Professor Jonathan Hibbard and Professor Scott Swain). Intellectual Property Law
               Newsletter of the American Bar Association, Intellectual Property Law Section, May 2008.
               Bose Corporation: The JIT II Program (A), (B), (C), and (D) (with Professor Roy
               Shapiro). Harvard Business School cases 9-694-001, -002, -003, and –004.
               Bose Corporation: The JIT II Program Teaching Note. Harvard Business School
               teaching note 5-695-017.
               Buyer-Supplier Relationships: Antecedents, Management and Consequences. Harvard
               Business School doctoral dissertation, 1996.
               Goodyear: The Aquatred Launch (with Professor John Quelch). Harvard Business School
               case 9-594-106. Best seller.
               Goodyear: The Aquatred Launch Teaching Note (with Professor John Quelch). Harvard
               Business School teaching note 5-595-016.
               Industrial Marketing (with Professor V. Kasturi Rangan). In AMA Management
               Handbook, Third Edition, edited by John J. Hampton. New York: Amacom Books, 1994,
               pp. 2-101 to 2-108.
               Managing Buyer-Supplier Relationships. Preface to JIT II: Revolution in Buying and
               Selling, edited by Lance Dixon and Anne Millen Porter. Newton, MA: Cahners
               Publications, Inc., 1994
               Philip Morris: Marlboro Friday (A) and (B). Harvard Business School case 9-596-001
               and –002.
               Scope and Challenge of Business-to-Business Marketing (with Professor V. Kasturi
               Rangan). Harvard Business School class note 9-594-125.
               Vistakon: 1 Day Acuvue Disposable Contact Lenses (with Professor Alvin J. Silk and
               Marie Bell). Harvard Business School case 9-596-087.
               What is Industrial Marketing? (with Professor V. Kasturi Rangan). Harvard Business
               School class note 9-592-012.




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                                                                                                     EX1-42
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          Blogging and Commentary
          I regularly write posts and white papers at www.MMRStrategy.com. Selected materials include:

          Litigation Surveys
               “How to Measure False Advertising in a Litigation Survey” (November, 2012)

                   “Using Surveys to Estimate Damages in Patent Infringement Matters” (October, 2012)

                   “Apple vs. Samsung: Litigation Surveys as Evidence” (August, 2012)
                   “What is the Theory Behind Your Lanham Act Survey?” (June, 2012)

                   “Keyword Infringement Surveys: The New Frontier in Measuring Likelihood of
                    Confusion” (June, 2012)
                   “The Challenge of Replicating Marketplace Conditions in Intellectual Property Surveys”
                    (May, 2012)

          Claim Substantiation
              “When it Comes to ‘Up To’ Claims, Make Sure You Have the Right Substantiation”
                (February, 2013)

                   “Critical Research Steps and Core Principles of Claim Substantiation” (white paper)

                   “How Many Industries are Affected by Claim Substantiation?” (June, 2012)

                   “Lessons in Claim Substantiation from the Pom Wonderful Decision” (May, 2012)

                   “How Claim Substantiation Differs from Traditional Marketing Research” (May, 2012)

          Marketing and Marketing Research
             “Lessons in Pricing Strategy from JCPenny” (May, 2013)

                   “Why You Should (Almost) Never Use the van Westendorp Pricing Model” (March,
                    2013)

                   “Three Types of Market Segmentation and the 2012 Presidential Election” (October,
                    2012)

                   “Presidential Polls and the Quality of Marketing Research” (October, 2012)

                   “Sizing the Potential of a New Market or New Product” (white paper)

                   “MaxDiff vs. Conjoint: Which is Better to Measure Consumer Preferences?” (white
                    paper)

                   “Ten Best Practices to Improve Your Concept and Product Tests” (white paper)

                   “Using Choice-Base Market Segmentation to Improve Your Marketing Strategy” (white
                    paper)

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                                                                                                          EX1-43
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                    “What Your Tracking Study Should Measure About Your Customers” (white paper)

                    “Using Customer Journey Maps to Improve Your Customer Experience” (white paper)

                    “How to Improve Your Usage and Attitude Study” (June, 2012)

                    “Five Pitfalls of Market Segmentation and How to Avoid Them” (May, 2012)

          Selected Courses Taken in MBA and Doctoral Programs

                     Economics and Finance, including topics such as Managerial Economics; Financial
                      Reporting and Accounting; Business, Government, and the International Economy;
                      Corporate Finance; Product Costing; Microeconomic Theory.

                     Marketing and Strategy, including topics such as Marketing; Marketing Foundations
                      Readings; New Products; Marketing Implementation; Service Management; Research
                      Issues in Marketing; Buyer Behavior; Industrial Marketing and Procurement; Industry
                      and Competitive Analysis; Communications.

                     Sociology and Psychology, including Organizational Behavior; Human Resources;
                      Social Behavior in Organizations; Readings in Administration (two courses);
                      Management Policy and Practice.

                     Statistics, including Statistical Inference; Social Network Analysis; Applied Data
                      Analysis; Analyzing Covariance Structures.

                     Research Methods and Research Design, including Doctoral Research Seminar;
                      Research Design and Measurement; Design of Field Research in Organizational
                      Behavior; Intervention Research and Action Science.




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                               Dr. Bruce Isaacson Litigation Expert Witness Experience
                                                    February 2018
          Cases in which Dr. Bruce Isaacson has testified as an expert, including written expert reports or
          testimony at deposition or trial, in the past four years.

          Lokai Holdings LLC v. Twin Tiger USA LLC, Twin Tiger World Markets LTD., Rory
          Coppock and Troy Coppock
          U.S. District Court, Southern District of New York

          Joann Martinelli, individually and on behalf of all others similarly situated v. Johnson &
          Johnson and McNeil Nutritionals, LLC
          U.S. District Court, Eastern District of California

          Strategic Partners, Inc. v. Vestagen Protective Technologies, Inc.
          U.S. District Court, Central District of California Western Division

          Federal Trade Commission v. Damian Kutzner, individually and as an officer of
          Brookstone Law P.C. (California), et al.
          U.S. District Court, Central District of California

          In Re: National Collegiate Athletic Association Athletic Grant-In-Aid Cap Antitrust
          Litigation
          U.S. District Court, Northern District of California Oakland Division

          Adidas America, Inc., Adidas AG, Adidas International Marketing B.V., Reebok
          International Ltd., and Reebok International Limited v. TRB Acquisitions LLC, et al.
          U.S. District Court, District of Oregon Portland Division

          Network-1 Technologies, Inc. v. Alcatel-Lucent USA Inc., et al.
          U.S. District Court, Eastern District of Texas Tyler Division

          In the Matter of DIRECTV LLC v. Comcast Cable Communications
          National Advertising Division of the Better Business Bureau

          Sisters of Charity of Leavenworth Health System, Inc. v. Blue Cross and Blue Shield
          Association
          U.S. District Court, District of Colorado

          Pinkette Clothing, Inc. v. Cosmetic Warriors Limited dba Lush Handmade Cosmetics
          U.S. District Court, Central District of California

          LifeScan, Inc. and Johnson & Johnson v. PharmaTech Solutions, Inc. and Decision
          Diagnostics Corp.
          U.S. District Court, Northern District of California Oakland Division

          General Motors LLC Ignition Switch Litigation
          U.S. District Court, Southern District of New York


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                                                                                                       EX1-45
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                                         #:2649


          Robert S. Davidson, d/b/a Plastertech v. The United States
          United States Court of Federal Claims

          Blue Cross and Blue Shield Association, an Illinois not-for-profit corporation v. Zoom
          Care, P.C.; Zoom Management, Inc.; Zoomcare; Zoom Care Health Plan; and Zoom Care
          Washington, P.L.L.C.
          U.S. District Court, Western District of Washington at Seattle

          Kosair Charities Committee, Inc. v. Norton Healthcare, Inc. et al.
          Jefferson Circuit Court, Division Five (5)

          Safelite Group, Inc. and Safelite Solutions LLC v. Lori Swanson, in her official capacity as
          Attorney General of the State of Minnesota, and Michael Rothman, in his official capacity
          as the Commissioner of the Minnesota Department of Commerce
          U.S. District Court, District of Minnesota

          Confederate Motors, Inc. v. FCA US LLC
          United States Patent and Trademark Office, Trademark Trial and Appeal Board

          Talking Rain Beverage Company, Inc. v. DS Services of America, Inc.
          U.S. District Court, Western District of Washington, at Seattle

          Farouk Systems, Inc. v. AG Global Products, LLC d/b/a FHI Heat, LLC and Shauky
          Gulamani
          U.S. District Court, Southern District of Texas Houston Division

          Federal Trade Commission v. LifeLock, Inc. a corporation; Robert J Maynard, Jr.,
          individually and as an officer of LifeLock, Inc.; and Richard Todd Davis, individually and
          as an officer of LifeLock, Inc.
          U.S. District Court, District of Arizona

          Parallel Networks Licensing, LLC v. Microsoft Corporation
          U.S. District Court, District of Delaware

          Parallel Networks Licensing, LLC v. International Business Machines Corporation
          U.S. District Court, District of Delaware

          In the Matter of Certain Footwear Products (Complainant Converse Inc.)
          United States International Trade Commission, Washington DC

          Klauber Brothers, Inc. v. Forever 21 Retail Inc., International Intimates, Inc., and Does 1
          through 10
          U.S. District Court, Central District of California

          Weber-Stephen Products LLC v. Sears Holdings Corporation, and Sears, Roebuck and Co.
          U.S. District Court, Northern District of Illinois Eastern Division

          Church & Dwight Co., Inc. v. SPD Swiss Precision Diagnostics, GMBH
          U.S. District Court, Southern District of New York



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                                                                                                 EX1-46
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          Robert Namer v. Broadcasting Board of Governors and Voice of America
          U.S. District Court, Eastern District of Louisiana

          Shannon Fabrics, Inc. v. Jo-Ann Stores, Inc.
          U.S. District Court, Central District of California

          Mars, Incorporated v. The Hershey Company and Hershey Chocolate & Confectionery
          Corporation
          U.S. District Court, Eastern District of Virginia Alexandria Division

          Fitbug Limited v. Fitbit, Inc.
          U.S. District Court, Northern District of California

          Patrick Dang and Michael Villa v. San Francisco Forty-Niners, LTD., et. al.
          U.S. District Court, Northern District of California

          Kreation Juicery, Inc. v. Eiman Shekarchi and April Shekarchi
          U.S. District Court, Central District of California

          Miracle 7, Inc. v. Halo Couture LLC
          U.S. District Court, Southern District of Florida

          Robert McCrary v. The Elations Company LLC
          U.S. District Court, Central District of California

          OraLabs, Inc., v. The Kind Group LLC
          U.S District Court, District of Colorado

          Philippe Charriol International Limited v. A’lor International Limited
          U.S. District Court, Southern District of California

          LegalZoom.com, Inc. v. Rocket Lawyer Incorporated
          U.S. District Court, Central District of California Western Division

          Benchmark Young Adult School, Inc., dba Benchmark Transitions v. Launchworks Life
          Services, LLC dba Mark Houston Recovery Center and Benchmark Recovery Center
          U.S. District Court, Southern District of California
          Diageo North America, Inc. v. Mexcor, Inc. and EJMV Investments, LLC
          U.S. District Court, Southern District of Texas, Houston Division

          AbbVie, Inc. v. A-List, Inc. dba Kitson, Brian Lichtenberg, LLC, and Brian Lichtenberg
          U.S. District Court, Central District of California

          Jeffrey Sachs and James Alden v. Toyota Motor North America, Inc., Toyota Motor Corp.,
          and Toyota Motor Sales, U.S.A., Inc.
          Superior Court of California, County of Los Angeles
          Mary O. Rivera v. Toyota Motor North America, Inc., Toyota Motor Corp., and Toyota
          Motor Sales, U.S.A., Inc.
          Myrna Socorro and Donato Pastore as Co-Personal Representatives and Co-Executors of
          the Estate of Ernest Codelia, Jr., deceased v. Toyota Motor Corp., and Toyota Motor Sales,
          U.S.A., Inc.
          U.S. District Court, Eastern District of New York


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                                                                                               EX1-47
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                                         #:2651

          Commission on Human Rights v. Tiv-Tov Stores, Inc., et al
          New York City Office of Administrative Trials and Hearings

          MOD Super Fast Pizza v. Carl Chang, CMCB Ventures, and Pieology Spectrum
          U.S. District Court, Western District of Washington

          Globefill Incorporated v. Elements Spirits, Inc. and Kim Brandi
          U.S. District Court, Central District of California

          Luxco, Inc. v. Consejo Regulador Del Tequila, A.C.
          United States Patent and Trademark Office, Trademark Trial and Appeal Board




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                                                                                        EX1-48
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                                   Exhibit 2:
                         Images Displayed in the Survey

             Note: The images shown in this exhibit are larger in size
             than the images shown to respondents in the survey.




                                                                         EX1-49
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                                      Screwdriver:
                                       Test Image




                                      Screwdriver:
                                      Control Image




 Exhibit 2 – Isaacson Expert Report                                    Page 1

                                                                       EX1-50
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                                      Work Light:
                                      Test Image




                                       Work Light:
                                      Control Image




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                                                                       EX1-51
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                                      Drink or Beverage Tumbler:
                                              Test Image




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                                                                       EX1-52
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                                      Drink or Beverage Tumbler:
                                            Control Image




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                                                                       EX1-53
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                                  Exhibit 3:
                      Sales Data used for Item Selection




                                                                       EX1-54
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                                    Sales Data used for Item Selection

           Counsel provided me with data regarding revenue and sales volume for 603 individual

 products sold by ISN. Under my direction, staff at my firm researched these products and

 classified them into their respective product categories, including tools, lights, tumblers, apparel,

 gloves, clocks, and stools. Of these product categories, tools and lights accounted for a large

 majority of ISN product sales. Therefore, my survey tested a tool and a light from ISN. My

 survey also tested a tumbler from ISN because Monster Energy Company makes beverages and

 tumblers are a complementary product category.
           Within each of these three product categories of tools, lights, and tumblers, I selected

 individual items that displayed the disputed marks and were ranked highly by revenue. As a

 result, I tested the following products in the survey: a screwdriver (#MST97635) 1, a work light

 (#MST97192), and a tumbler (#MSTST30).

           Sales data used for product selection is shown in the tables below.




 1
     Product # MST97635 refers to a tool set. The survey tested a screwdriver from the set.


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                                                                                                  EX1-55
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                                          Table A: Tool Sales Data2
      Item Number                             Product Description                              Revenue
     MST13002         3.5 TON LOW PROFILE SERVICE JACK                                        $604,306.82
     MST97635         16PC _MONSTER_ TRI-LOBE SCREWDRIVER SET                                 $233,630.26
     MSTLASTRAY       5 ROW LOCK-A-SOCKET TRAY                                                $222,334.90
     MST97618         6PC MONSTER BRANDED LONG REACH PLIERS SET (ESP)                         $102,746.35
     MST13010         3/4 TON UTILITY STAND - CAST SADDLE                                     $92,507.88
     MST24865         DIGITAL TIRE INFLATOR                                                   $85,218.19
     MST7130          1/2_ ULTRA LIGHT WEIGHT COMPOSITE IMPACT WRENCH                         $75,979.76
     MST61366-958     MONSTER 5 PC CAPPED END CURVED PRY BAR SET                              $75,433.11
     MSTLAAT4         MAGNETIC LOCKING AIRTOOL HOLDER                                         $71,059.41
     MST13006         22 TON AIR/HYDRAULIC TRUCK JACK                                         $66,225.35
     MST7023          6_ LOW PROFILE R/O SANDER                                               $63,778.95
     MSTBS1005        SHOP STOOL WITH AIR CYLINDER                                            $62,846.16
     MST1108A         MASTER BEARING RACE AND SEAL DRIVER                                     $60,297.66
     MST97683         MONSTER 8PC TRI-LOBE HANDLE HOOK & PICK SET                             $55,148.90
     MST13001         1.75 TON ALUMINUM ROADSIDE ASSISTANCE JACK                              $45,777.51
     MST709           FLEXIBLE HOSE CLAMP PLIER                                               $44,670.00
     MSTIR120         INFRARED THERMOMETER -58F - 1022F                                       $44,510.12
     MST13018         40_ CREEPER WITH ADJUSTABLE HEAD REST                                   $44,110.07
     MSTLAS38RH       3/8_ LOCK-A-SOCKET W/RATCHET HOLDER                                     $42,178.15
                      LO VIBRATION 190MM AIR HAMMER W/ BUILT IN QC
     MST7122                                                                                  $40,210.37
                      CHUCK




 2
   Table A displays products ranked by revenue. Counsel provided sales data for additional tools, not
 included in Table A.


 Exhibit 3 - Isaacson Expert Report                                                                Page 2

                                                                                                    EX1-56
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                                      Table B: Work Light Sales Data3
     Item Number                             Product Description                               Revenue
     MST1066         WATERPROOF 66 LED RECHARGEABLE WORK LIGHT                                $335,637.83
     MST1011         SUPER THIN LED RECHARGEABLE WORKLIGHT                                    $228,883.03
     MSTILITE2       RECHARGABLE PALM LIGHT WITH MICRO USB                                    $70,828.01
     MST1005L        MULTI-POSITION INSPECTION LAMP 5W SMD W/ 500 LUMEN                       $36,507.14
     MST1030         30 SMD WORKLIGHT                                                         $33,622.88
     MST97192        MONSTER R3-500 WORK LIGHT                                                $31,879.35
     MST10175        FOLDABLE COB LED WORKLIGHT                                               $31,427.15
     MST1090         UNIPEN LED WORKLIGHT                                                     $25,227.54
     MST8009         REEL WITH COB WORKING LIGHT                                              $21,567.64
     MST10170        FOLDABLE SMD LED WORKLIGHT                                               $11,935.74
     MST1004L        MULTI-POSITION INSPECTION LAMP 4W COB                                     $6,661.01
     MST10280        CREE WHITE LED FLASHLIGHT 280LM W/ BATTERIES                              $3,950.90
     MST6173         SMD FOLDABLE WORKLIGHT, W/ TOP LIGHT                                      $3,393.09
     MST10130        REBEL ES & LED CREE WHITE LED FLASHLIGHT                                  $3,391.74
     MST6112         MULTI-POSITION INSPECTION LAMP, 5W SMD                                     $154.95
     MSTILITE2P      RECHARGABLE PALM LIGHT WITH MICRO USB                                       $10.00
     MST10130P       REBEL ES & LED CREE WHITE LED FLASHLIGHT                                    $8.00
     MST10170P       FOLDABLE SMD LED WORKLIGHT                                                  $3.00
     MST1040P        ROTATABLE LED WORKLIGHT W/ 270 LUMENS                                       $0.00
     MST1050P        ROTATABLE STRIP COB WORK LIGHT                                              $0.00



                                        Table C: Tumbler Sales Data
     Item Number                             Product Description                               Revenue
     MSTST30         STAINLESS STEEL INSULATED 30 OZ TUMBLER                                  $44,017.24
     MSTST20         STAINLESS STEEL INSULATED 20 OZ TUMBLER                                  $32,435.64




 3
  Table B displays products ranked by revenue. Counsel provided sales data for additional lights, not
 included in Table B.


 Exhibit 3 - Isaacson Expert Report                                                                Page 3

                                                                                                    EX1-57
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                                 Exhibit 4:
                   Survey Screener and Main Questionnaire




                                                                       EX1-58
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MMR Strategy Group
Study #679-001
November 2017
                                                    Tools Study


[DO NOT ALLOW RESPONDENTS TO GO BACK TO ANY PREVIOUS QUESTION.]

Thank you very much for agreeing to participate in our survey. If you need glasses or contact lenses to see the
screen clearly, please wear them to complete the survey. Please answer every question honestly and to the best of
your ability. There are no right or wrong answers; we are only interested in your opinions.

On any question, if you don’t know how to answer, it is all right to indicate that you don’t know or you are not
sure. Please do not guess and please do not consult any other person or source, such as the Internet, while you
complete this survey.

Once you start the survey, please complete it in one session without interruption. Also, please do not use your
browser's Back button to return to a prior question or your survey will be terminated.


A.      What is your gender? (SELECT ONE RESPONSE)

        RESPONSES
        Male
        Female
        Prefer not to answer

[IF GENDER QUOTA FILLED OR “PREFER NOT TO ANSWER,” TERMINATE AND SKIP TO Q.100.
OTHERWISE, CONTINUE.]


B.      What is your age? (SELECT ONE RESPONSE)

        RESPONSES
        17 years old or younger
        18 years old or older
        Prefer not to answer

[IF “17 OR YOUNGER” OR “PREFER NOT TO ANSWER”, TERMINATE AND SKIP TO Q.100.
OTHERWISE, CONTINUE.]


C.      Please enter the ZIP code of your work address. If you don’t know the ZIP code of your work address,
        please enter the ZIP code of your home address instead.

        [______________]
        [FORCE 5-DIGIT NUMERIC RESPONSE]

[RECODE ZIP INTO REGION.]




Exhibit 4 - Isaacson Expert Report                                                                            Page 1

                                                                                                          EX1-59
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D.       Which, if any, of the following best describes the industry in which you work? If you work in more than
         one industry, please answer thinking about the industry in which you typically spend the most time working
         in a week. (SELECT ONE RESPONSE)

         RESPONSES
         [RANDOMIZE ORDER. ANCHOR “SOMETHING ELSE” AND “PREFER NOT TO ANSWER”
         LAST.]
         Automotive or auto body service or repair
         Appliance service or repair
         Commercial or residential construction
         Plumbing services
         Heating or air conditioning service or repair
         Something else not listed here
         Prefer not to answer

[IF “AUTOMOTIVE OR AUTO BODY SERVICE OR REPAIR,” CONTINUE. OTHERWISE,
TERMINATE AND SKIP TO Q.100.]


E.       Which, if any, of the following types of retailers are you likely to purchase from in the next 2 years? For
         each item, please answer [ROTATE: yes, no,] or you don’t know. (SELECT ONE RESPONSE FOR
         EACH RETAILER)

         RESPONSES
         [ROTATE TO MATCH Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes, I am likely to purchase from this type of retailer in the next 2 years
         No, I am not likely to purchase from this type of retailer in the next 2 years
         I don’t know

         RETAILERS
         [RANDOMIZE ORDER.]
         Mobile tool distributor or tool truck
         Hardware store or home improvement store
         Auto parts wholesaler or retailer
         Tire distributor or retailer

[IF “YES” TO “MOBILE TOOL DISTRIBUTOR OR TOOL TRUCK,” IN Q.F E, CONTINUE.
OTHERWISE, TERMINATE AND SKIP TO Q.100.]




Exhibit 4 - Isaacson Expert Report                                                                             Page 2

                                                                                                           EX1-60
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F.       Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor
         or tool truck in the next 2 years? For each item, please answer [ROTATE TO MATCH Q.E: yes, no,] or
         you don’t know. (SELECT ONE RESPONSE FOR EACH ITEM)

         RESPONSES
         [ROTATE TO MATCH Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
         No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
         I don’t know

         ITEMS
         [RANDOMIZE ORDER.]
         Hand tools
         Work gloves
         Drink or beverage tumbler
         Portable lights or lighting
         Protective glasses or goggles
         Oil or grease
         Hand cleaner
         Car parts

[IF “YES” TO “HAND TOOLS,” “DRINK OR BEVERAGE TUMBLER,” AND/OR “LIGHTS OR
LIGHTING” IN Q.F SKIP TO QG. OTHERWISE, CONTINUE.]


F1.      Which, if any, of the following items do you think you are likely to purchase from any type of retailer in
         the next 2 years? For each item, please answer [ROTATE TO MATCH Q.E: yes, no,] or you don’t
         know. (SELECT ONE RESPONSE FOR EACH ITEM)

         RESPONSES
         [ROTATE TO MATCH Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes, I am likely to purchase this item from any type of retailer in the next 2 years
         No, I am not likely to purchase this item from any type of retailer in the next 2 years
         I don’t know

         ITEMS
         [SAME ORDER AS Q.F.]
         Hand tools
         Work gloves
         Drink or beverage tumbler
         Portable lights or lighting
         Protective glasses or goggles
         Oil or grease
         Hand cleaner
         Car parts

[IF “YES” TO “DRINK OR BEVERAGE TUMBLER,” IN Q.F1. CONTINUE. OTHERWISE,
TERMINATE AND SKIP TO Q.100.]




Exhibit 4 - Isaacson Expert Report                                                                              Page 3

                                                                                                             EX1-61
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G.       Do you or does any member of your household work for any of these types of companies? For each type of
         company, please answer [MATCH ORDER TO Q.E: yes, no,] or you don’t know. (SELECT ONE
         RESPONSE FOR EACH TYPE OF COMPANY)

         RESPONSES
         [MATCH ORDER TO Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes, someone in my household does work for this type of company
         No, no one in my household works for this type of company
         I don’t know

         TYPES OF COMPANIES
         [RANDOMIZE ORDER.]
         An advertising or public relations company
         A marketing research company
         [SHOW IF “YES” TO “HAND TOOLS” IN Q.F.: A manufacturer or distributor of tools]
         [SHOW IF “YES” TO “DRINK OR BEVERAGE TUMBLER” IN Q.F OR Q.F1.: A manufacturer or
         distributor of drinkware]
         [SHOW IF “YES” TO “LIGHTS OR LIGHTING” IN Q.F.: A manufacturer or distributor of lights or
         lighting]

[IF “NO” TO “AN ADVERTISING OR PUBLIC RELATIONS COMPANY,” “A MARKETING
RESEARCH COMPANY,” AND AT LEAST ONE OTHER OPTION, CONTINUE. OTHERWISE,
TERMINATE AND SKIP TO Q.100.]


[IF “NO” TO “A MANUFACTURER OR DISTRIBUTOR OF TOOLS” IN Q.G., CONTINUE.
OTHERWISE, SKIP TO INSTRUCTIONS BEFORE Q.I.]

H.       Have you participated in any survey about tools in the past 60 days? Please answer [MATCH ORDER
         TO Q.E: yes, no,] or you don’t know. (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes, I have participated in a survey about tools within the past 60 days
         No, I have not participated in a survey about tools within the past 60 days
         I don’t know


[IF “NO” TO “A MANUFACTURER OR DISTRIBUTOR OF DRINKWARE” IN Q.G., CONTINUE.
OTHERWISE, SKIP TO INSTRUCTIONS BEFORE Q.J.]

I.       Have you participated in any survey about drinkware in the past 60 days? Please answer [MATCH
         ORDER TO Q.E: yes, no,] or you don’t know. (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes, I have participated in a survey about drinkware within the past 60 days
         No, I have not participated in a survey about drinkware within the past 60 days
         I don’t know




Exhibit 4 - Isaacson Expert Report                                                                       Page 4

                                                                                                    EX1-62
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[IF “NO” TO “A MANUFACTURER OR DISTRIBUTOR OF LIGHTS OR LIGHTING” IN Q.G.,
CONTINUE. OTHERWISE, SKIP TO Q.K.]

J.       Have you participated in any survey about lights or lighting in the past 60 days? Please answer [MATCH
         ORDER TO Q.E: yes, no,] or you don’t know. (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes, I have participated in a survey about lights or lighting within the past 60 days
         No, I have not participated in a survey about lights or lighting within the past 60 days
         I don’t know

[IF “NO” TO Q.H, Q.I, AND/OR Q.J, CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]


K.       Please indicate the type of device you are using to take this survey. (SELECT ONE RESPONSE)

         [RANDOMIZE ORDER. ANCHOR “OTHER” AND “DON’T KNOW” LAST.]
         Desktop computer
         Laptop computer
         Tablet
         Smartphone
         Some other type of device not listed above
         I don’t know

[IF “SMARTPHONE,” “OTHER” OR “I DON’T KNOW”, TERMINATE AND SKIP TO Q.100.
OTHERWISE, CONTINUE.]


L.       Do you usually wear eyeglasses or contact lenses when you use a [PIPE-IN DEVICE TYPE FROM Q.K;
         DO NOT BOLD OR CAPITALIZE]? (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E.]
         Yes, I do usually wear eyeglasses or contact lenses when I use a [PIPE-IN DEVICE TYPE FROM Q.K.
         DO NOT BOLD OR CAPITALIZE DEVICE PIPED-IN.]
         No, I do not usually wear eyeglasses or contact lenses when I use a [PIPE-IN DEVICE TYPE FROM
         Q.K. DO NOT BOLD OR CAPITALIZE DEVICE PIPED-IN.]

[IF “NO,” SKIP TO CELL ASSIGNMENT. OTHERWISE, CONTINUE.]


M.       Are you wearing your eyeglasses or contact lenses right now? (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E.]
         Yes
         No

[IF “YES,” SKIP TO CELL ASSIGNMENT. OTHERWISE, CONTINUE.]




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                                                                                                      EX1-63
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                                    #:2667

N.      Please put on your eyeglasses or contact lenses to complete the remainder of the survey. Are you wearing
        your eyeglasses or contact lenses right now? (SELECT ONE RESPONSE)

        RESPONSES
        [MATCH ORDER TO Q.E.]
        Yes, I am wearing my eyeglasses or contact lenses
        No, I am not wearing my eyeglasses or contact lenses

[IF “YES”, CONTINUE TO CELL ASSIGNMENT. OTHERWISE, TERMINATE AND SKIP TO Q.100.]


[IF “NO” IN Q.H, QUALIFIED FOR CELLS 1 AND 2.
IF “NO” IN Q.I, QUALIFIED FOR CELLS 3 AND 4.
IF “NO” IN Q.J, QUALIFIED FOR CELLS 5 AND 6.
RANDOMLY ASSIGN RESPONDENT TO LEAST FULL CELL BASED ON ANY QUALIFIED CELL.]




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                                                                                                       EX1-64
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                                       #:2668

                                                Main Questionnaire


O.       Below, you will see a picture of an item you might purchase. You may or may not have seen this item
         before.

         Take as much time as you like to look at the picture. You may need to scroll to see the entire picture.
         When you are finished viewing the picture, click “>” to proceed.

         [SHOW IMAGE FOR ASSIGNED CELL BELOW THE INSTRUCTION TEXT.]

         [PLACE “>” BUTTON BELOW THE IMAGE.]


P.       Did you see the item in the picture clearly? (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes, I did see the item in the picture clearly
         No, I did not see the item in the picture clearly
         I don’t know

[IF “YES” CONTINUE. OTHERWISE, TERMINATE AND SKIP TO Q.100.]


Now you will be asked a few questions about the item shown in the picture.

[FOR QUESTIONS 1 THROUGH 8, SHOW IMAGE FOR ASSIGNED CELL AT THE TOP OF THE
SCREEN. DISPLAY THE IMAGE IN SMALLER SIZE WITH “Click on the image if you wish to enlarge it.”
BELOW THE IMAGE. IF CLICKED, OPEN THE IMAGE TO THE SIZE ORIGINALLY DISPLAYED
IN Q.O.]


1.       What company or brand do you think makes or puts out the item shown in the picture?




[RESPONDENT MUST PROVIDE AN ANSWER TO Q.1.]


2.       What makes you think that? Please be as specific as possible.




[RESPONDENT MUST PROVIDE AN ANSWER TO Q.2.]




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                                                                                                           EX1-65
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3.       Are you aware of any other products or brands made or put out by the company that makes or puts out the
         item shown in the picture? Please answer [MATCH ORDER TO Q.E: yes, no,] or you don’t know.
         (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Yes
         No
         I don’t know

[IF “YES” TO Q.3, CONTINUE. OTHERWISE, SKIP TO Q.6.]


4.       What other products or brands do you think are made or put out by the company that makes or puts out the
         item shown in the picture?




[IF ASKED, RESPONDENT MUST PROVIDE AN ANSWER TO Q.4.]


5.       What makes you think that? Please be as specific as possible.




[IF ASKED, RESPONDENT MUST PROVIDE AN ANSWER TO Q.5.]


6.       Do you think that whoever makes or puts out this item …? (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E. ANCHOR “I DON’T KNOW” LAST.]
         Is sponsored or approved by another company or brand,
         Is not sponsored or approved by another company or brand,
         Or, I don’t know or have no opinion

[IF “IS SPONSORED OR APPROVED,” CONTINUE. OTHERWISE, SKIP TO Q.9.]

7.       What other company or brand do you believe sponsored or approved whoever makes or puts out the item
         shown in the picture?




[IF ASKED, RESPONDENT MUST PROVIDE AN ANSWER TO Q.7.]




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                                                                                                       EX1-66
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8.       What makes you think that? Please be as specific as possible.




[IF ASKED, RESPONDENT MUST PROVIDE AN ANSWER TO Q.8.]


9.       Do you have any type of color blindness or color vision deficiency? Please answer [ROTATE TO
         MATCH Q.E: yes, no,] or you don’t know. (SELECT ONE RESPONSE)

         RESPONSES
         [MATCH ORDER TO Q.E.]
         Yes, I do have some type of color blindness or color vision deficiency
         No, I do not have any type of color blindness or color vision deficiency
         I don’t know


10.      This next question tests the display of the device you are using. For each column below, please indicate the
         color of the square you see on your screen. (SELECT ONE RESPONSE FOR EACH SQUARE)

         [DISPLAY MATRIX WITH SQUARES IN COLUMNS AND COLORS IN ROWS. FORCE ONE
         AND ONLY ONE RESPONSE PER COLUMN. THE SAME COLOR (ROW) CAN BE
         SELECTED 0 TO 3 TIMES (0 TO 1 TIME PER COLUMN).]

         SQUARES (COLUMNS)
         [RANDOMIZE ORDER OF A, B, AND C. DISPLAY ONLY THE SQUARE IN EACH COLUMN,
         NOT THE LETTER. ONLY USE THE LETTER TO RECORD RESPONSES.]

                         A                        B                        C




         COLORS (ROWS)
         [RANDOMIZE ORDER OF RESPONSES WITH “SOME OTHER COLOR” AND “I DON’T
         KNOW” ALWAYS LAST.]
         Black
         Blue
         Green
         Red
         White
         Some other color not listed here
         I don’t know/am not sure




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                                                                                                          EX1-67
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11.     Please enter the ZIP code of your work address. If you don’t know the ZIP code of your work address,
        please enter the ZIP code of your home address instead.

        [__________________]
        [FORCE 5-DIGIT NUMERIC RESPONSE]

[IF ZIP CODE IN Q.11 DOES NOT MATCH TO Q.C, CONTINUE. OTHERWISE, SKIP TO Q.13.]


12.     To verify, please re-enter the ZIP code of your work address. If you don’t know the ZIP code of your work
        address, please enter the ZIP code of your home address instead.

        [__________________]
        [FORCE 5-DIGIT NUMERIC RESPONSE]

[IF ZIP CODE IN Q.12 MATCHES ZIP CODE IN Q.C, CONTINUE. OTHERWISE, TERMINATE &
SKIP TO Q 100.]


13.     Please read the statement that follows and click either “I agree” or “I disagree.” If any portion of the
        statement is not true, please click “I disagree.”

        STATEMENT
        I am the person who was invited to participate in this survey. I completed this survey myself, without
        assistance or advice from any other person or source, and in accordance with the instructions provided in
        the survey. The answers I have given are truthful expressions of my opinions.

                       I agree                        I disagree

        Your response to the above statement will not affect your rewards for completing the survey.


[THANK AND REWARD RESPONDENT FOR COMPLETION, REGARDLESS OF ANSWER TO Q.13,
BUT FLAG RESPONDENTS THAT ANSWERED “I DISAGREE” FOR TALLYING & REMOVAL
FROM DATASET. COUNT THESE FLAGGED RESPONDENTS AS TERMINATED, BUT DO NOT
SHOW Q.100.]




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                                                                                                            EX1-68
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                                    #:2672

[IF SSI SAMPLE, SKIP TO Q.101. OTHERWISE, CONTINUE.]

14.     Thank you for participating in our survey. We would like to send you a [$25/$50] gift card to Starbucks or
        Amazon.

        If you wish to receive the gift card, please provide your name and e-mail address. We will only use this e-
        mail to send you your gift card and to confirm your participation in this survey. We will not contact you
        for any sales or marketing purposes.

        If you do not wish to receive the gift card, please click “I do not wish to receive the gift card.”

        [DISPLAY THE FOLLOWING TEXT BOXES. REQUIRE ANSWERS FOR ALL TEXT BOXES,
        WITH PROPER FORMAT FOR E-MAIL ADDRESS. ALSO PROVIDE AN EXCLUSIVE
        CHECK-BOX BELOW THAT READS “I do not wish to receive the gift card.”]

        FIRST NAME:                                [__________]
        LAST NAME:                                 [__________]
        E-MAIL ADDRESS:                            [__________]
        CONFIRM E-MAIL ADDRESS:                    [__________]

         I do not wish to receive the gift card. [EXCLUSIVE]

[IF “I DO NOT WISH TO RECEIVE THE GIFT CARD”, SKIP TO Q.101. OTHERWISE, CONTINUE.]


15.         Please select which gift card you would like to receive. (SELECT ONE RESPONSE)

             RESPONSES
             [$25/$50] gift card to Starbucks
             [$25/$50] gift card to Amazon


[SHOW Q.100 ONLY IF TERMINATED]
Q. 100. Thank you for your interest in this survey. However, we are looking for individuals with specific
        qualifications.

[SHOW ONLY IF COMPLETED]
Q.101.  Thank you for completing our survey.




Exhibit 4 - Isaacson Expert Report                                                                              Page 11

                                                                                                              EX1-69
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                                  #:2673




                                  Exhibit 5:
              Procedures for Contacting Prospective Respondents
                    Recruited Through Trade Magazines




                                                                       EX1-70
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                                  #:2674



  Procedures for Recruiting Prospective Respondents Recruiting Through Trade Magazines

             The initial invitations to complete the survey were sent by email, in 7 batches, between

 November 20, 2017, and January 15, 2018. To avoid the main part of the holiday season, no

 invitations or reminders were sent between December 11, 2017, and January 5, 2018.

             After the initial invitation, those who had not opened the survey were sent up to four

 reminder invitations.1 Each reminder was sent 2 to 5 business days after the previous email. The

 table below shows the invitation and reminder schedule for each of the 7 batches of invitations.


                    Initial
     Batch       Invitation        Reminder 1         Reminder 2        Reminder 3         Reminder 4
       1         11/20/2017        11/27/2017         11/29/2017          1/5/2018          1/26/2018
       2         11/27/2017        11/29/2017          12/1/2017          1/5/2018          1/26/2018
       3          12/5/2017         12/8/2017         12/11/2017          1/5/2018          1/26/2018
       4           1/3/2018          1/8/2018          1/12/2018         1/17/2018
       5           1/8/2018         1/12/2018          1/17/2018         1/22/2018
       6          1/11/2018         1/19/2018          1/24/2018         1/29/2018
       7          1/15/2018         1/22/2018          1/26/2018         1/31/2018


             The remaining pages in this Exhibit provide the text of emails used for initial invitations,

 reminders, and validations.




 1
  Only potential respondents who received initial invitations in 2017 received a fourth reminder, which
 was sent on January 26, 2018.


 Exhibit 5 - Isaacson Expert Report                                                                Page 1

                                                                                                    EX1-71
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                                  #:2675


                                             Initial Invitation


 Email Subject: Complete this survey and receive a [$25/$50] gift card
 From: MMR Strategy Group <info@mmrstrategy.com>

 Hello [INSERT NAME],

 MMR, a market research organization, is conducting a survey. If you qualify for and complete the online
 survey, you will earn a [$25/$50] gift card to either Starbucks or Amazon. The survey will only take 5-10
 minutes to complete, and is available for a limited time only.

 The survey cannot be completed on a smartphone. Please complete the survey using a computer, laptop
 or tablet. If you usually wear eyeglasses or contact lenses, please put them on before you begin the
 survey.

 To complete the survey, please click on the link below:
 [INSERT UNIQUE LINK TO ONLINE SURVEY]

 This invitation is for you only. Please do not forward it to anyone else. You will only be able to access
 the survey once.

 Thank you in advance for your participation.

 Sincerely,
 MMR Strategy Group

 If you have questions or technical problems with the survey, please email info@mmrstrategy.com.




 Exhibit 5 - Isaacson Expert Report                                                                  Page 2

                                                                                                      EX1-72
Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 74 of 260 Page ID
                                  #:2676


                                           Reminder Invitation


 Email Subject: REMINDER: Complete this survey and receive a [$25/$50] gift card
 From: MMR Strategy Group <info@mmrstrategy.com>

 Hello [INSERT NAME],

 There is still time to complete the survey and receive a [$25/$50] gift card.

 If you have already completed the survey, thank you and please accept our apology for the additional e-
 mail.

 MMR, a market research organization, is conducting a survey. If you qualify and complete the online
 survey, you will earn a [$25/$50] gift card to either Starbucks or Amazon. The survey will only take 5-10
 minutes to complete, and is available for a limited time only.

 The survey cannot be completed on a smartphone. Please complete the survey using a computer, laptop
 or tablet. If you usually wear eyeglasses or contact lenses, please put them on before you begin the
 survey.

 To complete the survey, please click on the link below:
 [INSERT UNIQUE LINK TO ONLINE SURVEY]

 This invitation is for you only. Please do not forward it to anyone else. You will only be able to access
 the survey once.

 Thank you in advance for your participation.

 Sincerely,
 MMR Strategy Group

 If you have questions or technical problems with the survey, please email info@mmrstrategy.com.




 Exhibit 5 - Isaacson Expert Report                                                                  Page 3

                                                                                                      EX1-73
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                                  #:2677


                                          Email for Validation


 Email Subject: Confirm whether you have participated in our survey

 Hello [INSERT first name],

 You may, or may not, have recently participated in an online survey. We would appreciate your help by
 selecting the appropriate response below.

 If you recently have completed a survey about [IF ASSIGNED CELL 1 OR 2: tools; CELL 3 OR 4:
 drinkware; CELL 5 OR 6: lights or lighting] and are likely to purchase [IF ASSIGNED CELL 1 OR 2:
 tools; CELL 3 OR 4: drinkware; CELL 5 OR 6: lights or lighting] in the next 2 years, please click here.
 [INSERT BUTTON THAT WILL RECORD RESPONDENT AS VALID]

 If you recently have not completed a survey about [IF ASSIGNED CELL 1 OR 2: tools; CELL 3 OR
 4: drinkware; CELL 5 OR 6: lights or lighting] or are not likely to purchase [IF ASSIGNED CELL 1
 OR 2: tools; CELL 3 OR 4: drinkware; CELL 5 OR 6: lights or lighting] in the next 2 years, please
 click here.
 [INSERT BUTTON THAT WILL RECORD RESPONDENT AS INVALID]

 If you don’t know, please click here.
 [INSERT BUTTON THAT WILL RECORD RESPONDENT AS INVALID]

 We appreciate your help answering this question.

 Sincerely,
 MMR Strategy Group

 If you have questions or technical problems with the survey, please email info@mmrstrategy.com.




 Exhibit 5 - Isaacson Expert Report                                                                Page 4

                                                                                                   EX1-74
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                                  #:2678




                                  Exhibit 6:
                   Quality Control and Validation Measures




                                                                       EX1-75
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                                  #:2679



                               Quality Control and Validation Measures



             Administration of the survey included a number of quality control and validation

 measures, which are described below.

        i.      Certain questions and responses were rotated or randomized to reduce the possibility

                of order bias, which occurs if respondents are more likely to select a response in a

                particular position, such as first or last listed response. For example, responses to

                Questions D, E, F, F1, G, H, I, J, K, L, M, N, P, 3, 6, 9 and 10 were rotated or

                randomized, with “don’t know” presented last.

      ii.       The survey was pre-tested. Before starting the full survey, a small number of test

                surveys were conducted online and the data were examined to make sure that the

                survey responses were recorded properly, that survey skip patterns were followed

                accurately, and that responses showed an understanding of the questions.

      iii.      During qualification, qualifying responses were hidden among other, non-qualifying

                responses. This reduced the likelihood that respondents would guess the answers

                that would qualify or not qualify for the study.

      iv.       Respondents were required to enter their ZIP code at least twice, once in Question C,

                and again in Question 11 and/or Question 12.

       v.       Verbatim responses were reviewed to verify that respondents were paying attention

                and answering all questions. Respondents who provided responses that indicated a

                lack of attention were removed from the database.

      vi.       The survey was conducted in a double-blind manner; neither respondents nor the list

                providers were aware of key aspects of the survey, such as the survey’s purpose or

                use.




 Exhibit 6 - Isaacson Expert Report                                                                Page 1

                                                                                                    EX1-76
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                                  #:2680



         In surveys that involve live (in-person) interviewers, it is common to validate a

 percentage of the interviews, confirming elements such as whether the interviews actually took

 place and whether the respondent qualified.1 Validation may help to notify interviewers that

 their work is being checked and to verify the honesty and accuracy of the interviewers.2

         Although my survey did not use live interviewers, as an additional validation step,

 respondents who did not opt-out from providing their email address were sent a validation email

 that verified that they completed a survey about their assigned product, and that they are likely to

 purchase the assigned product in the next 2 years.

         Of all 515 respondents,3 244 (47.4%) successfully completed the validation process. As

 described in Exhibit 7, respondents who did not pass validation were removed from the

 database.




 1
   J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition, Fourth Edition, Updated
 March, 2009, 32:170.
 2
   U.S. District Court, S.D. New York. Paco Sport, Ltd., v. Paco Rabanne Parfums. No. 96 Civ.
 1408(JES). Feb. 17, 2000.
 3
   Of the 515 respondents, 24 were not sent the validation email because they opted-out from providing
 their email address.


 Exhibit 6 - Isaacson Expert Report                                                                Page 2

                                                                                                   EX1-77
Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 79 of 260 Page ID
                                  #:2681




                                 Exhibit 7:
                     Termination and Removal Summary




                                                                       EX1-78
Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 80 of 260 Page ID
                                  #:2682

                                Termination and Removal Summary


     Reason for Termination or Removal                                                   Respondents
     Q.A        Gender                                                                               49

     Q.B        Age                                                                                 132

     Q.D        Industry work in                                                                  1,407

     Q.E        Retailers likely to purchase from in next 2 years                                   668

     Q.F        Items likely to purchase from mobile tool distributor or tool
                                                                                                     12
                truck in next 2 years
     Q.F1       Items likely to purchase from any type of retailer in next 2
                                                                                                     11
                years
     Q.G        Type of company work for                                                             74

     Q.H/I/J    Participated in survey about tools/drinkware/lights or lighting
                                                                                                     40
                in past 60 days

     Q.K        Device used to take survey                                                           71

     Q.N        Not wearing glasses or contact lenses if needed                                       3

     Q.P        See item in picture clearly                                                          14

     Q.12       ZIP code match                                                                       62

     Respondents removed1                                                                            66

     Total number of respondents terminated or removed                                            2,609




 1
  Respondents were removed if they did not pass validation (44 respondents provided a response to
 validation indicating that they had not completed the survey or did not know if they had completed the
 survey); provided open-ended responses that reflected a lack of attention (9 respondents); took an
 excessive amount of time to complete the survey (7 respondents); or responded “I disagree” to Q.13 (2
 respondents). Some respondents had multiple reasons for removal. Three respondents provided open-
 ended responses that reflected a possible lack of attention and did not pass validation; one respondent
 took an excessive amount of time to complete the survey and did not pass validation.


 Exhibit 7 - Isaacson Expert Report                                                                 Page 1

                                                                                                     EX1-79
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                                  #:2683




                                 Exhibit 8:
             All Responses from All Respondents from the Survey
                            Survey Data File
                            Survey Data Map




                                                                       EX1-80
                          Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 82 of 260 Page ID
                                                            #:2684
                                                        Survey Data File

                                                             hid
                                                           region
responseid interview_end        qsamp    qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2     qf_3
   482      11/18/2017 2:40       1       1    2   37122      3      1    1      1      1      1      1      1        1
   598     11/18/2017 14:59       1       1    2   64012      2      1    1      1      1      2      1      2        2
   636     11/18/2017 16:56       1       1    2   2169       1      1    1      1      1      3      1      1        3

    695      11/18/2017 23:05        1   1    2    54539     2      1     1      1      1      1      1      2        2
    769      11/19/2017 14:58        1   1    2    61821     2      1     1      1      1      1      1      2        2

    775      11/19/2017 16:06        1   1    2    7047      1      1     1      1      1      1      1      2        2
    841       11/20/2017 7:54        1   1    2    31211     3      1     1      1      1      1      1      1        2


    848      11/20/2017 9:07         2   1    2    17701     1      1     1      1      1      1      1      2        2

    851      11/20/2017 8:49         2   1    2    21060     3      1     1      1      1      1      1      2        2
    854      11/20/2017 8:53         2   1    2    38824     3      1     1      1      1      1      1      1        1
    855      11/20/2017 8:58         2   1    2    6418      1      1     1      1      1      1      1      2        2
    856      11/20/2017 8:57         2   2    2    52213     2      1     1      1      1      1      1      2        2



    859      11/20/2017 9:07         2   1    2    57369     2      1     1      1      1      1      1      1        2
    861      11/20/2017 9:01         2   1    2    11746     1      1     1      1      1      1      1      1        2
    864      11/20/2017 9:08         2   1    2    34233     3      1     1      1      1      1      1      1        2

    865      11/20/2017 9:10         2   1    2    15613     1      1     1      1      1      1      1      1        1

    868      11/20/2017 9:29         2   1    2    33143     3      1     1      1      1      1      1      1        2

    871      11/20/2017 9:33         2   1    2    4769      1      1     1      1      1      1      1      2        2

    876       11/20/2017 9:52        2   1    2    48912     2      1     1      1      1      1      1      2        2
    877      11/20/2017 10:01        1   1    2    2368      1      1     1      1      1      2      1      2        2
    880      11/20/2017 10:17        2   1    2    11040     1      1     1      2      1      1      1      1        2

    883      11/20/2017 10:18        2   1    2    2904      1      1     1      1      1      1      1      3        2
    884      11/20/2017 10:26        2   1    2    53172     2      1     1      1      1      1      1      2        2




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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1      qg_2
   482         1         1            1      1      1                                                                      2         2
   598         2         2            2      2      2                                                                      2         2
   636         1         1            1      1      1                                                                      2         2

    695         2         2           2      2      2                                                                      2          2
    769         2         2           2      2      2                                                                      2          2

    775         2         2           2      2      2                                                                      2          2
    841         1         1           1      1      1                                                                      2          2


    848         1         2           2      2      2                                                                      2          2

    851         1         2           2      2      2                                                                      2          2
    854         1         1           1      1      1                                                                      2          2
    855         1         1           2      2      2                                                                      2          2
    856         2         2           2      2      1                                                                      2          2



    859         1         1           1      1      2                                                                      2          2
    861         1         2           2      1      2                                                                      2          2
    864         1         1           2      2      2                                                                      2          2

    865         1         1           1      1      1                                                                      2          2

    868         2         1           2      2      2                                                                      2          2

    871         1         2           2      2      2                                                                      2          2

    876         2         2           2      2      2                                                                      2          2
    877         1         2           2      2      2                                                                      2          2
    880         1         1           2      1      2                                                                      2          2

    883         1         1           2      2      2                                                                      2          2
    884         1         2           2      2      2                                                                      2          2




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responseid    qg_3      qg_4         qg_5   qh   qi   qj    qk     ql    qm     qn     qcell   qp
   482         2         2            2      2   2    2      2     2                   303      1
   598         2                             2               2     2                   101      1
   636         2                      2      2        2      3     1      1            606      1

    695         2                           2               2      1      1            202     1
    769         2                           2               2      2                   101     1

    775         2                           2               1      1      1            202     1
    841         2                     2     2         2     1      2                   606     1


    848         2                     2     2         2     1      2                   505     1

    851         2                     2     2         2     1      1      1            606     1
    854         2         2           2     2    2    2     1      2                   404     1
    855         2                     2     2         2     2      1      1            505     1
    856         2                           2               1      1      1            101     1



    859         2                     2     2         2     2      1      1            606     1
    861         2                     2     2         2     1      1      1            606     1
    864         2                     2     2         2     1      1      1            505     1

    865         2         2           2     2    2    2     1      1      1            404     1

    868         2                           2               1      1      1            101     1

    871         2                     2     2         2     1      1      1            101     1

    876         2                           2               1      2                   202     1
    877         2                     2     2         2     2      1      1            202     1
    880         2                     2     2         2     1      2                   505     1

    883         2                     2     2         2     3      2                   505     1
    884         2                     2     2         2     2      2                   606     1




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                                                  Q1_    Q1_                                                      Q2_    Q2_    Q2_
responseid                          q1           CODE_1 CODE_2                          q2                       CODE_1 CODE_2 CODE_3      q3
   482     monster                                 2           that's the brand                                    2                        1
   598     Monster                                 2           Logo on grip                                        3                        2
   636     Everready                               4           Appears to be flashlight that is the first that     9                        1
                                                               comes to mind
    695     mountian                               3           name on handle                                      2                       2
    769     Snap on                                4           The hex near the handle on the shank and the part   3                       2
                                                               number on the shank
    775     Mountain                               3           The label on the handle                             2                       2
    841     stanely                                4           actually just put down something doesnt look        9                       2
                                                               like any light or color of a brand that ive ever
                                                               seen
    848     MONSTER                                2           LIGHT SAYS MONSTER ON THE HANDLE                    2                       3

    851     Mountain                               3              Written on Product                                    2                  1
    854     MOUNTAIN                               3              IT'S ON IT                                            2                  3
    855     know idea                              10             neon green                                            3                  2
    856     monster                                2              the name on the tool                                  2                  2



    859     Mountain                               3              It is labeled on the product                          2                  2
    861     Mountain                               3              The only marking on the product                       2                  2
    864     DONT KNOW                              10             MONSTER IS PROBABLY THE PRODUCT                       2                  2
                                                                  NAME
    865     Could be Yeti or Rtic                   4             Just due to the design of the product, it looks       3   4              3
                                                                  similar to Yeti or Rtic I have seen
    868     matco                                   4             rhymes with monster                                   9                  2

    871     snap on                                 4             the style of the tooling (the place to put a wrench   3                  1
                                                                  just below the handle)
    876     mountrin                                3             Because it is written on tool.                        2                  2
    877     Mountain                                3             The name on the side of the screw driver              2                  2
    880     monster                                 2             it is written on handle                               2                  1

    883     I can't tell                           10             There's only "Monster" written on it.                 2                  2
    884     MOUNTAIN                               3              IT SAYS MOUNTAIN ON THE HANDLE                        2                  1




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                                                           Q4_    Q4_                                                Q5_    Q5_
responseid                        q4                      CODE_1 CODE_2                             q5              CODE_1 CODE_2   q6
   482     drinks                                           1           seen it                                       4              1
   598                                                                                                                               2
   636     Batteries                                         9            Because I have used them in the past        4              3

    695                                                                                                                             3
    769                                                                                                                             3

    775                                                                                                                             3
    841                                                                                                                             2


    848                                                                                                                             1

    851     Tools                                            6            Bought Mountain Tools in the past           4             3
    854                                                                                                                             1
    855                                                                                                                             3
    856                                                                                                                             1



    859                                                                                                                             3
    861                                                                                                                             3
    864                                                                                                                             3

    865                                                                                                                             1

    868                                                                                                                             1

    871     all types of tools                               6            have seen their catalog                     4             1

    876                                                                                                                             3
    877                                                                                                                             3
    880     do remember seeing name in adds, but do not     10            i think air tools is what I saw the on.     9             2
            remember on what item
    883                                                                                                                             3
    884     TOOL BOXES                                       6            I BELIEVE I HAVE SEEN THEM                  4             3
                                                                          ADVERTISED



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                                                        Q7_    Q7_                                                         Q8_    Q8_
responseid                        q7                   CODE_1 CODE_2                          q8                          CODE_1 CODE_2   q9
   482     monster                                       2           it's a large company                                   9              2
   598                                                                                                                                     2
   636                                                                                                                                     2

    695                                                                                                                                   2
    769                                                                                                                                   2

    775                                                                                                                                   2
    841                                                                                                                                   2


    848     MONSTER ENERGY DRINK                          1             MONSTER IS A BIG SPONSOR IN OTHER                   9             2
                                                                        INDUSTRIES
    851                                                                                                                                   2
    854     YETI                                          4             LOOKS LIKE IT                                       3             2
    855                                                                                                                                   2
    856     could be Stanley or snapon                    4             because in order to branch out with their brand     9             2
                                                                        sometimes people are more apt to purchase a new
                                                                        brand tool looking for great quality

    859                                                                                                                                   2
    861                                                                                                                                   2
    864                                                                                                                                   2

    865     Some mobile communications company named      3             Well, it says "Mountain Mobile" on the package      2             2
            Mountain
    868     Private label distribution                    9             Vaguely remember the "monster" moniker, but         9             1
                                                                        likely not a trademark
    871     monster beverages                             1             the name on the tool                                2             2

    876                                                                                                                                   2
    877                                                                                                                                   1
    880                                                                                                                                   1

    883                                                                                                                                   2
    884                                                                                                                                   2




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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   482         3          4       2      37122            1
   598         3          4       2      64012            1
   636         3          4       2       2169            1

    695         3         4          2   54539            1
    769         3         2          2   61821            1

    775         3         4          2    7047            1
    841         3         4          2   31211            1


    848         3         4          2   17701            1

    851         3         4          2   21060            1
    854         3         4          2   38824            1
    855         3         4          2    6418            1
    856         3         4          2   52213            1



    859         3         6          2   57369            1
    861         3         4          2   11746            1
    864         3         4          2   34233            1

    865         3         6          2   15613            1

    868         3         4          2   33143            1

    871         3         4          2   4769             1

    876         3         4          2   48912            1
    877         3         4          2    2368            1
    880         3         4          2   11040            1

    883         3         4          2    2904            1
    884         3         4          2   53172            1




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                                                             hid
                                                           region
responseid    interview_end     qsamp    qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2     qf_3
   885       11/20/2017 10:26     2       1    2   50574      2      1    1      1      1      1      1      2        2
   891       11/20/2017 11:16     2       2    2   27529      3      1    1      1      1      1      1      1        2
   893       11/20/2017 11:19     2       2    2   12414      1      1    1      2      1      1      1      2        1
   896       11/20/2017 11:27     2       2    2   18017      1      1    1      1      1      1      1      1        2
   898       11/20/2017 11:39     2       1    2   4042       1      1    1      1      1      1      1      1        2
   899       11/20/2017 11:47     2       1    2   61348      2      1    1      1      1      1      1      2        2
   900       11/20/2017 12:01     2       2    2   62040      2      1    1      1      1      1      1      2        2

    903      11/20/2017 12:33        2   1    2    49426     2      1     1      1      1      1      1      2        2
    904      11/20/2017 12:46        2   1    2    58504     2      1     1      1      1      2      1      1        2


    918      11/20/2017 15:03        2   1    2    49001     2      1     1      1      1      2      1      2        2
    920      11/20/2017 15:36        2   1    2    21666     3      1     1      1      1      2      1      2        1

    922      11/20/2017 17:03        2   1    2    85016     4      1     1      1      1      1      1      2        2
    923      11/20/2017 17:21        2   1    2    37406     3      1     1      1      1      1      1      1        1
    933       11/21/2017 5:37        2   1    2    6416      1      1     1      1      1      1      1      1        2
    938       11/21/2017 8:01        2   2    2    75147     3      1     1      1      1      1      1      1        2
    939       11/21/2017 8:15        2   1    2    6790      1      1     1      1      1      1      1      1        2
    940       11/21/2017 9:55        2   1    2    93065     4      1     1      1      1      1      1      1        2
    941      11/21/2017 10:52        2   1    2    31069     3      1     1      1      1      1      1      1        2
    942      11/21/2017 11:35        2   2    2    45801     2      1     1      1      1      1      1      2        2
    948      11/21/2017 14:02        2   1    2    28134     3      1     1      1      1      1      1      2        2
    961       11/22/2017 5:56        2   1    2    15085     1      1     1      1      1      1      1      2        2
    962       11/22/2017 6:24        2   1    2    81321     4      1     1      1      1      1      1      1        2
    965      11/22/2017 11:01        2   1    2    89502     4      1     1      1      1      1      1      2        2
    975      11/22/2017 21:35        2   1    2    28139     3      1     1      1      1      1      1      1        2
   1000       11/24/2017 7:14        1   2    2    86301     4      1     1      1      1      1      1      1        1

   1002       11/24/2017 7:39        1   2    2    5035      1      1     1      1      1      1      1      1        2
   1003       11/24/2017 9:16        2   1    2    48234     2      1     1      1      1      1      1      1        2
   1008      11/24/2017 11:35        2   1    2    23662     3      1     1      1      1      1      1      2        1




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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1      qg_2
   885         2         2            2      2      2                                                                      2         2
   891         1         1            1      1      1                                                                      2         2
   893         1         2            1      1      1                                                                      2         2
   896         2         2            2      2      2                                                                      2         2
   898         1         1            2      2      2                                                                      2         2
   899         2         2            2      2      2                                                                      2         2
   900         2         2            2      2      2                                                                      2         2

    903         2         1           2      2      2                                                                      2          2
    904         1         1           2      1      2                                                                      2          2


    918         1         1           2      2      2                                                                      2          2
    920         2         2           2      2      2                                                                      2          2

    922         2         2           2      2      2                                                                      2          2
    923         1         1           1      1      1                                                                      2          2
    933         2         2           2      2      2                                                                      2          2
    938         1         1           2      2      2                                                                      2          2
    939         1         1           2      2      2                                                                      2          2
    940         1         1           2      2      2                                                                      2          2
    941         1         1           2      2      2                                                                      2          2
    942         2         2           1      2      1                                                                      2          2
    948         2         1           2      2      2                                                                      2          2
    961         2         2           2      2      2                                                                      2          2
    962         1         1           1      1      2                                                                      2          2
    965         2         2           2      2      2                                                                      2          2
    975         1         1           2      1      2                                                                      2          2
   1000         1         1           2      1      2                                                                      2          2

   1002         1         1           2      1      2                                                                      2          2
   1003         1         2           2      2      2                                                                      2          2
   1008         2         1           2      2      2                                                                      2          2




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responseid    qg_3      qg_4         qg_5   qh   qi   qj    qk     ql    qm     qn     qcell   qp
   885         2                             2               1     2                   101      1
   891         2                      2      2        2      1     1      1            202      1
   893         2          2           2      2   2    2      2     2                   303      1
   896         2                             2               1     2                   101      1
   898         2                      2      2        2      1     1      1            606      1
   899         2                             2               1     2                   202      1
   900         2                             2               2     1      1            101      1

    903         2                           2               2      2                   202     1
    904         2                     2     2         2     1      2                   606     1


    918         2                     2     2         2     1      1      1            505     1
    920         2         2                 2    2          2      1      1            303     1

    922         2                           2               2      2                   202     1
    923         1         2           2          2    2     1      1      1            404     1
    933         2                           2               1      1      1            202     1
    938         2                     2     2         2     1      1      1            606     1
    939         2                     2     2         2     1      1      1            606     1
    940         2                     2     2         2     3      1      1            505     1
    941         2                     2     2         2     1      2                   505     1
    942         2                           2               1      2                   101     1
    948         2                           2               1      1      1            101     1
    961         2                           2               2      1      1            202     1
    962         2                     2     2         2     1      1      1            606     1
    965         2                           2               1      2                   202     1
    975         2                     2     2         2     3      1      1            606     1
   1000         2         2           2     2    2    2     2      2                   303     1

   1002         2                     2     2         2     1      1      1            505     1
   1003         2                     2     2         2     1      1      1            505     1
   1008         2         2                 2    2          1      1      1            404     1




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                                                  Q1_    Q1_                                                      Q2_    Q2_    Q2_
responseid                        q1             CODE_1 CODE_2                         q2                        CODE_1 CODE_2 CODE_3      q3
   885       monster                               2           on the handle                                       2                        2
   891       Mountain                              3           written on tool                                     2                        2
   893       Monster                               2           Because it says that on the front                   2                        2
   896       Monster                               2           Name on it                                          2                        2
   898       Mountain                              3           the name on the handle                              2                        2
   899       no idea                               10          not familiar with the brand                         9                        2
   900       mATCO                                 4           only ONE I COULD THINK OF. That, or                 9                        2
                                                               snapon.
    903      Mountain                              3           Its printed on it                                   2                       2
    904      Mountain                              3           Has the name on the item and I have seen other      2      4                1
                                                               tools with same name on it and am familiar with
                                                               the name.
    918      dont know monster?                    2           the label                                           2                       2
    920      Monster Energy                        1           Graphics and information packaging.                 3                       2

    922      mountian                               3              that's what I see                                2                      3
    923      don't know                             10             mountain                                         9                      2
    933      lowes                                  4              color combination                                3                      1
    938      Mountain                               3              it is written on it                              2                      2
    939      not sure                               10             Have never seen this                             9                      3
    940      Monster                                2              The name is on it                                2                      2
    941      MATCO                                  4              THEY SELL TOOLS                                  5                      2
    942      monster                                2              the name on the handle                           2                      2
    948      monster                                2              printed on tool                                  2                      2
    961      mountain                               3              on it                                            2                      2
    962      streamlight                            4              don't know any other brands                     10                      3
    965      Mountain                               3              brand on tool                                    2                      3
    975      Mountain                               3              The word Mountain is on the item                 2                      2
   1000      Monster                                2              it says is on the box                            2                      3

   1002      Monster                                2              The name "Monster" on the side of it             2                      2
   1003      n/a                                    10             dont know brand                                 10                      2
   1008      MOUNTAIN                               3              DUE TO THE LABELING ON BOTH THE                  2     9                2
                                                                   CUP AND THE BOX THEY ARE THE
                                                                   PURCHASER AND THE NAME IS
                                                                   TRADEMARKED. THEY MAY NOT BE THE
                                                                   MANUFATURER



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                                                                   Q4_    Q4_                                     Q5_    Q5_
responseid                            q4                          CODE_1 CODE_2                             q5   CODE_1 CODE_2   q6
   885                                                                                                                            3
   891                                                                                                                            3
   893                                                                                                                            3
   896                                                                                                                            1
   898                                                                                                                            1
   899                                                                                                                            1
   900                                                                                                                            3

    903                                                                                                                          2
    904      Toys like smaller floor jacks, engine cranes, etc.     6             I own these.                     4             1


    918                                                                                                                          3
    920                                                                                                                          1

    922                                                                                                                          3
    923                                                                                                                          3
    933      every tool manufaturer                                 6             #1 Philip screw driver.          9             3
    938                                                                                                                          3
    939                                                                                                                          3
    940                                                                                                                          3
    941                                                                                                                          1
    942                                                                                                                          1
    948                                                                                                                          2
    961                                                                                                                          1
    962                                                                                                                          1
    965                                                                                                                          3
    975                                                                                                                          3
   1000                                                                                                                          1

   1002                                                                                                                          3
   1003                                                                                                                          3
   1008                                                                                                                          3




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                                                  Q7_    Q7_                                                          Q8_    Q8_
responseid                         q7            CODE_1 CODE_2                          q8                           CODE_1 CODE_2   q9
   885                                                                                                                                2
   891                                                                                                                                2
   893                                                                                                                                2
   896     Snap on                                 4             A guess                                               10             2
   898     don't know                              10            too many companies out there                           9             2
   899     no idea                                 10            no idea                                               10             2
   900                                                                                                                                2

    903                                                                                                                              2
    904     not sure just an assumption            10            assumption                                            10            2


    918                                                                                                                              1
    920     Parent company of Monster.              1            I am aware of the product and other Stainless         4             2
                                                                 steel mugs.
    922                                                                                                                              2
    923                                                                                                                              2
    933                                                                                                                              3
    938                                                                                                                              2
    939                                                                                                                              2
    940                                                                                                                              2
    941     SNAP ON TOOLS                           4            THEY SELL FLASHLIHTS                                  5             2
    942     monster energy drink                    1            the logo, the colors                                  3             2
    948                                                                                                                              2
    961     snap on                                 4            looks the same                                        3             2
    962     Mac tools                               4            Looks like something they would sell                  3             2
    965                                                                                                                              2
    975                                                                                                                              2
   1000     nascar                                  4            because there is the monster series now in nascar     9             2

   1002                                                                                                                              2
   1003                                                                                                                              2
   1008                                                                                                                              2




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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   885         3          4       2      50574            1
   891         3          4       2      27529            1
   893         3          4       2      12414            1
   896         3          4       2      18017            1
   898         3          4       2       4042            1
   899         3          4       2      61348            1
   900         3          4       2      62040            1

    903         3         4          2   49426            1
    904         3         4          2   58504            1


    918         3         4          2   49001            1
    920         3         4          2   21666            1

    922         3         4          2   85016            1
    923         3         4          2   37406            1
    933         3         4          2    6416            1
    938         3         4          2   75147            1
    939         3         4          2    6790            1
    940         3         4          2   93065            1
    941         3         4          2   31069            1
    942         3         4          2   45801            1
    948         3         4          2   28134            1
    961         3         4          2   15085            1
    962         3         4          2   81321            1
    965         3         4          2   89502            1
    975         3         4          2   28139            1
   1000         3         4          2   86301            1

   1002         3         4          2    5035            1
   1003         3         4          2   48234            1
   1008         3         6          2   23662            1




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                                                             hid
                                                           region
responseid interview_end        qsamp    qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2     qf_3
   1028    11/24/2017 23:51       2       1    2   90210      4      1    1      1      1      1      1      1        1
   1032     11/25/2017 6:59       1       1    2   88310      4      1    1      2      1      2      1      2        2
   1054    11/25/2017 11:06       1       1    2   33542      3      1    1      1      1      3      1      2        2
   2021    11/25/2017 17:01       1       1    2   37167      3      1    1      1      1      1      1      2        2

   2054      11/26/2017 4:31         1   1    2    60649     2      1     1      1      1      1      1      1        1
   2066      11/26/2017 8:39         1   1    2    95503     4      1     1      1      1      1      1      1        3

   2071       11/26/2017 9:34        1   1    2    3901      1      1     1      1      1      1      1      1        2
   2076      11/26/2017 10:06        1   1    2    20152     3      1     1      1      1      1      1      2        2
   2081      11/26/2017 11:36        1   1    2    15106     1      1     1      1      2      2      1      2        2
   2099      11/26/2017 19:20        1   1    2    8361      1      1     1      1      1      1      1      1        2
   2114      11/26/2017 22:13        1   1    2    7936      1      1     1      1      1      1      1      2        2
   2121       11/27/2017 4:03        1   1    2    22207     3      1     1      1      1      3      1      1        3
   2124       11/27/2017 6:02        1   1    2    19460     1      1     1      1      1      1      1      2        2
   2159      11/27/2017 13:08        2   1    2    49686     2      1     1      1      1      1      1      3        3

   2161      11/27/2017 13:13        2   1    2    44113     2      1     1      1      1      1      1      2        2

   2162      11/27/2017 13:12        2   1    2    52302     2      1     1      1      1      1      1      2        2
   2181      11/27/2017 13:29        2   1    2    33614     3      1     1      1      1      1      1      1        2
   2184      11/27/2017 13:29        2   1    2    6708      1      1     1      1      1      1      1      2        2
   2189      11/27/2017 13:35        2   1    2    63373     2      1     1      1      1      1      1      1        2
   2191      11/27/2017 13:33        2   1    2    98310     4      1     1      1      1      1      1      2        2



   2192      11/27/2017 13:34        2   1    2    78751     3      1     1      1      1      2      1      2        2
   2195      11/27/2017 13:51        2   1    2    96039     4      1     1      1      1      1      1      2        2
   2207      11/27/2017 14:15        2   1    2    92692     4      1     1      1      1      1      1      1        1

   2215      11/27/2017 14:22        2   1    2    2176      1      1     1      2      1      1      1      2        2

   2222      11/27/2017 14:45        2   1    2    55110     2      1     1      1      1      1      1      1        2
   2223      11/27/2017 14:43        2   1    2    94080     4      1     1      1      1      1      1      2        2
   2224      11/27/2017 14:46        2   1    2    60025     2      1     1      1      1      1      1      2        2




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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1      qg_2
   1028        1         1            1      1      2                                                                      2         2
   1032        1         2            1      2      1                                                                      2         2
   1054        2         1            2      2      1                                                                      2         2
   2021        1         1            2      1      2                                                                      2         2

   2054         1         1           1      1      1                                                                      2          2
   2066         1         1           1      1      1                                                                      2          2

   2071         1         1           2      2      2                                                                      2          2
   2076         1         2           2      2      2                                                                      2          2
   2081         2         2           2      1      2                                                                      2          2
   2099         1         1           2      2      2                                                                      2          2
   2114         2         1           2      2      2                                                                      2          2
   2121         1         1           3      1      3                                                                      2          2
   2124         1         2           2      2      2                                                                      2          2
   2159         1         2           2      1      2                                                                      2          2

   2161         2         2           2      2      2                                                                      2          2

   2162         2         2           2      1      2                                                                      2          2
   2181         1         1           2      1      2                                                                      2          2
   2184         2         2           2      2      2                                                                      2          2
   2189         1         1           2      2      2                                                                      2          2
   2191         1         1           2      2      2                                                                      2          2



   2192         1         1           2      2      2                                                                      2          2
   2195         2         2           2      2      2                                                                      2          2
   2207         1         1           1      1      1                                                                      2          2

   2215         1         1           2      2      2                                                                      2          2

   2222         2         2           2      2      2                                                                      2          2
   2223         1         2           2      2      2                                                                      2          2
   2224         1         2           2      2      2                                                                      2          2




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responseid    qg_3      qg_4         qg_5   qh   qi   qj    qk     ql    qm     qn     qcell   qp
   1028        2         2            2      2   2    2      1     2                   303      1
   1032        2                      2      2        2      2     1      1            606      1
   1054        2                             2               2     2                   101      1
   2021        2                      2      2        2      1     1      1            606      1

   2054         2         2           2     2    2    2     2      1      1            404     1
   2066         2                     2     2         2     3      2                   101     1

   2071         2                     2     2         2     3      1      1            202     1
   2076         2                     2     2         2     3      1      1            606     1
   2081         2                           2               2      2                   202     1
   2099         2                     2     2         2     3      2                   606     1
   2114         2                           2               2      2                   101     1
   2121         2                     2     2         2     1      1      1            505     1
   2124         2                     2     2         2     1      1      1            606     1
   2159         2                     2     2         2     1      1      1            505     1

   2161         2                           2               1      2                   202     1

   2162         2                           2               1      1      1            202     1
   2181         2                     2     2         2     1      2                   505     1
   2184         2                           2               1      1      1            101     1
   2189         2                     2     2         2     1      2                   505     1
   2191         2                     2     2         2     1      2                   101     1



   2192         2                     2     2         2     1      2                   101     1
   2195         2                           2               1      1      1            202     1
   2207         2         2           2     2    2    2     1      1      2      1     404     1

   2215         2                     2     2         2     1      1      1            606     1

   2222         2                           2               1      1      1            202     1
   2223         2                     2     2         2     1      2                   606     1
   2224         2                     2     2         2     1      1      1            606     1




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                                                          Survey Data File


                                                      Q1_    Q1_                                                          Q2_    Q2_    Q2_
responseid                          q1               CODE_1 CODE_2                         q2                            CODE_1 CODE_2 CODE_3      q3
   1028      Monster                                   2           the name                                                2                        1
   1032      unsure                                    10          my opinion                                              9                        2
   1054      Monster                                   2           The company is written on the handle.                   2                        2
   2021      Mountain due to the logo on the side.     3           The logo on the side makes me think that. Of            3      9                 2
                                                                   course it could be a model name.
   2054      mountain                                  3           The name is in bold all over the box                    2                       2
   2066      Monster                                   2           The logo on the side                                    3                       2

   2071      Mountain                                   3              The name is on the handle.                           2                      2
   2076      Mountain                                   3              It is written on the handle                          2                      1
   2081      Mountain                                   3              The name on the side of the screwdriver.             2                      2
   2099      Dorcy                                      4              Just a guess                                        10                      3
   2114      snap-on                                    4              looks like one of their products                     3                      3
   2121      monster                                    2              only name on the light itself                        2                      1
   2124      Moutain                                    3              it is printed on it                                  2                      2
   2159      Monster                                    2              The name clearly on the handle. It is not            2     9                3
                                                                       indicative of a model but of a brand
   2161      MOUNTAIN BUT SURE LOOKS A LOT LIKE         3         4    Ergonomics of the Handle and the look of the        3                       2
             A SNAP-ON.                                                blade.
   2162      Mountian                                   3              Logo                                                3                       2
   2181      monster                                    2              The monster logo                                    3                       3
   2184      unsure                                     10             no name                                             9                       2
   2189      Matco                                      4              Using the name Monster                              2                       3
   2191      MONSTER                                    2              The writing on the handle                           2                       2



   2192      monster                                    2              written on tool                                     2                       2
   2195      mountain                                   3              name on the grip                                    2                       2
   2207      Mountain mobile                            3              name on product and the small label on the logo     2      3                3

   2215      NO CLUE                                    10             i DON'T RECOGNSE THE NAME                           10                      2
                                                                       MOUNTAIN
   2222      sears                                      4              looks like one I have                               4                       1
   2223      Mountain, Ray o Vac, Eveready              3         4    Name on it, style                                   2      3                2
   2224      U-View?                                    4              Looks like it could be an leak detection light      3                       2




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                                                   Q4_    Q4_                                   Q5_    Q5_
responseid                         q4             CODE_1 CODE_2                           q5   CODE_1 CODE_2   q6
   1028    nike                                     4           nike                             9              1
   1032                                                                                                         3
   1054                                                                                                         1
   2021                                                                                                         3

   2054                                                                                                        1
   2066                                                                                                        1

   2071                                                                                                        3
   2076     Air tools and hand tools                6            I have them                      4            3
   2081                                                                                                        2
   2099                                                                                                        3
   2114                                                                                                        2
   2121     I don't know                            10           I don't know                     10           1
   2124                                                                                                        3
   2159                                                                                                        3

   2161                                                                                                        3

   2162                                                                                                        2
   2181                                                                                                        3
   2184                                                                                                        1
   2189                                                                                                        1
   2191                                                                                                        1



   2192                                                                                                        3
   2195                                                                                                        3
   2207                                                                                                        2

   2215                                                                                                        3

   2222     sears makes tons of craftsman tools     4            I have a bunch of them           4            1
   2223                                                                                                        3
   2224                                                                                                        3




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                                                          Q7_    Q7_                                                         Q8_    Q8_
responseid                         q7                    CODE_1 CODE_2                         q8                           CODE_1 CODE_2   q9
   1028    monster harley                                  2      4    white                                                  9              2
   1032                                                                                                                                      2
   1054    Unsure                                          10           Unsure                                                10             1
   2021                                                                                                                                      2

   2054     coke                                           4            coke sponsors a lot of companies                      9             2
   2066     That must be the name, so I don’t know the     10           Looks like a snap on now                              3             2
            maker
   2071                                                                                                                                     2
   2076                                                                                                                                     2
   2081                                                                                                                                     2
   2099                                                                                                                                     2
   2114                                                                                                                                     2
   2121     Monster                                        2            same color patterns                                   3             2
   2124                                                                                                                                     2
   2159                                                                                                                                     2

   2161                                                                                                                                     2

   2162                                                                                                                                     2
   2181                                                                                                                                     2
   2184     mac                                            4            unsure                                                10            2
   2189     Monster Energy Drinks                          1            Looks like their logo                                  3            2
   2191     Don't know                                     10           I would assume that there is a mass manufacturer       9            2
                                                                        that makes this tool and distributes it to
                                                                        numerous other "brands" who then sell it as their
                                                                        brand
   2192                                                                                                                                     2
   2195                                                                                                                                     2
   2207                                                                                                                                     2

   2215                                                                                                                                     1

   2222     sears - craftsman - black & Decker - etc       4            it looks like them                                    3             2
   2223                                                                                                                                     2
   2224                                                                                                                                     2




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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   1028        3          2       2      90210            1
   1032        3          4       2      88310            1
   1054        3          4       2      33542            1
   2021        3          4       2      37167            1

   2054         3         4          2   60649            1
   2066         3         4          2   95503            1

   2071         3         4          2    3901            1
   2076         3         4          2   20152            1
   2081         3         4          2   15106            1
   2099         3         4          2    8361            1
   2114         3         4          2    7936            1
   2121         3         4          2   22207            1
   2124         3         4          2   19460            1
   2159         3         4          2   49686            1

   2161         3         4          2   44113            1

   2162         3         4          2   52302            1
   2181         3         4          2   33614            1
   2184         3         6          2    6708            1
   2189         3         4          2   63373            1
   2191         3         4          2   98310            1



   2192         3         4          2   78751            1
   2195         3         4          2   96039            1
   2207         3         4          2   92692            1

   2215         3         4          2   2176             1

   2222         3         4          2   55110            1
   2223         3         4          2   94080            1
   2224         3         4          2   60025            1




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                                                             hid
                                                           region
responseid interview_end        qsamp    qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   2226    11/27/2017 15:15       2       1    2   20879      3      1    1      1      1      1      1      2         2

   2227      11/27/2017 14:51        2   1    2    42104     3      1     1      1      1      1      1      2         2
   2244      11/27/2017 15:50        2   1    2    95370     4      1     1      1      1      1      1      1         2
   2257      11/27/2017 17:29        2   1    2    50023     2      1     1      1      1      1      1      2         2
   2261      11/27/2017 17:53        2   1    2    32548     3      1     1      1      1      2      1      1         2
   2262      11/27/2017 18:01        2   1    2    49037     2      1     1      1      1      2      1      1         3

   2278      11/27/2017 20:11        2   1    2    60634     2      1     1      1      1      1      1      1         1

   2279      11/27/2017 20:39        2   1    2    74801     3      1     1      1      1      3      1      3         2
   2291       11/28/2017 6:10        2   1    2    12180     1      1     1      1      1      1      1      2         2
   2296       11/28/2017 7:20        2   1    2    46311     2      1     1      1      1      1      1      1         2
   2301       11/28/2017 7:55        2   1    2    31210     3      1     1      1      1      1      1      2         1
   2307       11/28/2017 9:30        2   1    2    32127     3      1     1      1      1      1      1      1         2
   2313      11/28/2017 10:36        2   1    2    60555     2      1     1      2      1      1      1      2         2
   2315      11/28/2017 11:36        2   1    2    10940     1      1     1      1      1      1      1      2         2
   2316      11/28/2017 11:17        2   1    2    48150     2      1     1      1      1      1      1      2         2
   2317      11/28/2017 11:36        1   1    2    59601     4      1     1      1      1      1      1      2         2
   2332      11/28/2017 16:16        2   1    2    77078     3      1     1      1      1      1      1      2         2
   2334      11/28/2017 17:24        2   1    2    53403     2      1     1      1      1      1      1      1         2
   2354       11/29/2017 7:46        2   2    2    54915     2      1     1      1      1      1      1      2         2
   2361       11/29/2017 8:03        2   1    2    60064     2      1     1      1      1      1      1      1         2


   2364       11/29/2017 7:57        2   1    2    32570     3      1     1      1      1      1      1      2         2
   2366       11/29/2017 8:11        2   1    2    93292     4      1     1      1      1      1      1      1         2
   2367       11/29/2017 8:11        2   1    2    89445     4      1     1      1      1      1      1      1         2
   2370       11/29/2017 8:26        2   1    2    85327     4      1     1      1      1      1      1      1         2
   2375       11/29/2017 8:44        2   1    2    72114     3      1     1      1      1      1      1      3         2
   2388       11/29/2017 9:44        2   1    2    54467     2      1     1      1      1      1      1      2         2
   2393      11/29/2017 10:16        2   1    2    94110     4      1     1      1      1      1      1      2         2
   2397      11/29/2017 11:00        2   1    2    95351     4      1     1      1      1      1      1      2         2
   2408      11/29/2017 12:16        2   2    2    23462     3      1     1      3      1      1      1      2         2
   2411      11/29/2017 12:35        2   1    2    60510     2      1     1      1      1      1      1      1         2
   2413      11/29/2017 13:01        1   2    2    8004      1      1     1      1      1      1      1      1         2

   2415      11/29/2017 13:09        2   1    2    71953     3      1     1      1      1      1      1      2         2


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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   2226        1         2            2      2      2                                                                      2          2

   2227         1         2           2      2      2                                                                      2           2
   2244         1         1           2      2      2                                                                      2           2
   2257         1         2           2      2      2                                                                      2           2
   2261         1         1           2      2      2                                                                      2           2
   2262         1         2           1      1      1                                                                      2           2

   2278         1         1           2      1      2                                                                      2           2

   2279         2         3           2      2      2                                                                      2           2
   2291         2         1           2      2      2                                                                      2           2
   2296         1         1           2      2      2                                                                      2           2
   2301         1         1           2      2      2                                                                      2           2
   2307         1         1           2      2      2                                                                      2           2
   2313         1         1           2      2      2                                                                      2           2
   2315         3         3           2      2      2                                                                      2           2
   2316         1         2           2      2      2                                                                      2           2
   2317         2         2           2      2      2                                                                      2           2
   2332         2         2           2      2      2                                                                      2           2
   2334         1         1           2      2      2                                                                      2           2
   2354         2         2           2      2      1                                                                      2           2
   2361         1         1           1      1      1                                                                      2           2


   2364         1         1           1      1      1                                                                      2           2
   2366         2         1           2      2      2                                                                      2           2
   2367         1         1           2      2      2                                                                      2           2
   2370         1         1           2      2      2                                                                      2           2
   2375         1         1           2      2      2                                                                      2           2
   2388         1         1           2      2      2                                                                      2           2
   2393         1         1           2      2      2                                                                      2           2
   2397         1         2           2      2      2                                                                      2           2
   2408         1         2           1      1      1                                                                      2           2
   2411         2         1           2      2      2                                                                      2           2
   2413         1         1           1      2      1                                                                      2           2

   2415         1         1           2      2      2                                                                      2           2


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                                                        Survey Data File



responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   2226        2                      2      2        2     2     2                   505      1

   2227         2                     2     2         2     1      1     1            101     1
   2244         2                     2     2         2     2      2                  505     1
   2257         2                     2     2         2     1      2                  606     1
   2261         2                     2     2         2     1      1     1            101     1
   2262         2                     2     2         2     3      1     1            606     1

   2278         2         2           2     2    2    2     3      1     1            303     1

   2279         2                           2               2      2                  202     1
   2291         2                           2               1      1     1            101     1
   2296         2                     2     2         2     1      2                  505     1
   2301         2         2           2     2    2    2     1      1     1            404     1
   2307         2                     2     2         2     1      1     1            505     1
   2313         2                     2     2         2     1      1     1            202     1
   2315         2                           2               1      1     1            101     1
   2316         2                     2     2         2     1      1     1            606     1
   2317         2                           2               1      2                  101     1
   2332         2                           2               1      2                  202     1
   2334         2                     2     2         2     1      2                  606     1
   2354         2                           2               2      2                  101     1
   2361         2                     2     2         2     1      2                  505     1


   2364         2                     2     2         2     1      1     1            505     1
   2366         2                           2               1      1     1            202     1
   2367         2                     2     2         2     2      1     1            202     1
   2370         2                     2     2         2     2      2                  606     1
   2375         2                     2     2         2     1      1     1            101     1
   2388         2                     2     2         2     2      2                  505     1
   2393         2                     2     2         2     1      1     1            606     1
   2397         2                     2     2         2     1      2                  505     1
   2408         2                     2     2         2     1      2                  606     1
   2411         2                           2               1      2                  202     1
   2413         2                     2     2         2     2      2                  101     1

   2415         2                     2     2         2     1      2                  202     1


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                                                  Q1_    Q1_                                                      Q2_    Q2_    Q2_
responseid                       q1              CODE_1 CODE_2                        q2                         CODE_1 CODE_2 CODE_3       q3
   2226    Monster                                 2           The name is written on the handle                   2                         1

   2227     matco                                   4              shape                                           3                        2
   2244     monster                                 2              it says so                                      2                        2
   2257     Mountain                                3              Written on the side                             2                        2
   2261     Monster                                 2              name on handle                                  2                        2
   2262     Mountain                                3              The name is on the light.                       2                        3

   2278     A drink company                         1              Monster is a drink company                      1                        2

   2279     mountain                                3              the name is on the tool                          2                       3
   2291     monster                                 2              name on it                                       2                       3
   2296     Monster                                 2              It has Monster written on it                     2                       1
   2301     mountain                                3              the large word mountain on the cup               2                       2
   2307     matco                                   4              color                                            3                       2
   2313     SAMS                                    4              i DO NOT SEE QUALITY                             9                       2
   2315     MONSTER                                 2              The logo shown                                   3                       2
   2316     Mountain                                3              Written on light                                 2                       2
   2317     dont know                               10             dont know                                       10                       3
   2332     cornwell                                4              color                                            3                       1
   2334     Stream light                            4              It is the brand I see on the Snap-on Truck.      4                       2
   2354     Monster                                 2              the name on it                                   2                       1
   2361     MONSTER                                 2              PROBABLY MADE OVERSEAS ,                         9                       2
                                                                   DISTRIBUTED BY MONSTER FOR
                                                                   MARKETING
   2364     MONSTER                                 2              NAME ON HANDLE                                   2                       1
   2366     mountian                                3              name on handle                                   2                       2
   2367     Mountain                                3              Says "Mountain" on the handle.                   2                       1
   2370     mountian                                3              the name on the handle                           2                       2
   2375     monster                                 2              its on the handle                                2                       2
   2388     Monster                                 2              Special font in the name                         3                       2
   2393     Mountain                                3              It says so on the unit                           2                       2
   2397     Labeled Monster,Mfgr unknown            2        9     Common sense                                     9                       3
   2408     i have no idea.                         10             i dont know who makes it                        10                       2
   2411     Mountain                                3              Name on Tool                                     2                       2
   2413     Monster                                 2              It says Monster                                  2                       2

   2415     MOUNTAIN                                3              NAME ON IT                                      2                        2


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                                                    Q4_    Q4_                                                     Q5_    Q5_
responseid                        q4               CODE_1 CODE_2                        q5                        CODE_1 CODE_2   q6
   2226    Tool box speakers                         6           I have seen ads in automotive trade magazines.     4              3

   2227                                                                                                                           3
   2244                                                                                                                           1
   2257                                                                                                                           3
   2261                                                                                                                           3
   2262                                                                                                                           1

   2278                                                                                                                           1

   2279                                                                                                                           3
   2291                                                                                                                           1
   2296     Energy Drinks                             1              Same name                                      2             2
   2301                                                                                                                           2
   2307                                                                                                                           3
   2313                                                                                                                           3
   2315                                                                                                                           3
   2316                                                                                                                           3
   2317                                                                                                                           1
   2332     a lot of tools                            6              They are a mobile tool distributor             5             3
   2334                                                                                                                           1
   2354     energy drinks                             1              I have seen it                                 4             1
   2361                                                                                                                           1


   2364     LIGHTS                                    6              HAVE SAW THEM                                  4             3
   2366                                                                                                                           2
   2367     Wrenches                                  6              I own some Mountain wrenches.                  4             3
   2370                                                                                                                           2
   2375                                                                                                                           3
   2388                                                                                                                           2
   2393                                                                                                                           2
   2397                                                                                                                           1
   2408                                                                                                                           3
   2411                                                                                                                           3
   2413                                                                                                                           1

   2415                                                                                                                           1


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                                                    Q7_    Q7_                                                       Q8_    Q8_
responseid                        q7               CODE_1 CODE_2                         q8                         CODE_1 CODE_2   q9
   2226                                                                                                                              2

   2227                                                                                                                             2
   2244      dont know                                10           have no idea                                       10            2
   2257                                                                                                                             1
   2261                                                                                                                             2
   2262      I don't know.                            10           Unable to answer question, without more            10            2
                                                                   information.
   2278      Monster                                  2            The name is a drink company and the His a a        1      9      2
                                                                   cup to drink it from
   2279                                                                                                                             2
   2291      sears                                    4            craftman tools                                     5             2
   2296                                                                                                                             2
   2301                                                                                                                             2
   2307                                                                                                                             2
   2313                                                                                                                             1
   2315                                                                                                                             2
   2316                                                                                                                             2
   2317      monster                                  2            label                                              2             2
   2332                                                                                                                             2
   2334      Snap-on                                  4            They are a distributor for Streamlight             9             2
   2354      Monster                                  2            The name and the color                             2      3      2
   2361      DONT KNOW                                10           GREEN AND BLACK COMPANY LOGO                       3             2


   2364                                                                                                                             2
   2366                                                                                                                             2
   2367                                                                                                                             2
   2370                                                                                                                             2
   2375                                                                                                                             2
   2388                                                                                                                             2
   2393                                                                                                                             2
   2397      Mfgr unknown                             10           Common sense                                       9             2
   2408                                                                                                                             2
   2411                                                                                                                             2
   2413      I'm unsure                               10           Just usually most companies are owned by other     9             2
                                                                   larger outfits.
   2415      SNAP ON                                  4            LOOKS LIKE THEIRS                                  3             2


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                                                        Survey Data File



responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   2226        3          4       2      20879            1

   2227         3         4          2   42104            1
   2244         3         4          2   95370            1
   2257         3         4          2   50023            1
   2261         3         4          2   32548            1
   2262         3         4          2   49037            1

   2278         3         4          2   60634            1

   2279         3         4          2   74801            1
   2291         3         4          2   12180            1
   2296         3         4          2   46311            1
   2301         3         4          2   31210            1
   2307         3         4          2   32127            1
   2313         3         4          2   60555            1
   2315         3         4          2   10940            1
   2316         3         4          2   48150            1
   2317         3         4          2   59601            1
   2332         3         4          2   77078            1
   2334         3         4          2   53403            1
   2354         3         4          2   54915            1
   2361         3         4          2   60064            1


   2364         3         4          2   32570            1
   2366         3         4          2   93292            1
   2367         3         4          2   89445            1
   2370         3         4          2   85327            1
   2375         3         4          2   72114            1
   2388         3         4          2   54467            1
   2393         3         4          2   94110            1
   2397         3         4          2   95351            1
   2408         3         4          2   23462            1
   2411         3         4          2   60510            1
   2413         3         4          2    8004            1

   2415         3         4          2   71953            1


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                                                             hid
                                                           region
responseid interview_end        qsamp    qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   2418    11/29/2017 14:11       2       1    2   23452      3      1    1      1      1      1      1      2         2
   2422    11/29/2017 16:13       1       1    2   19333      1      1    1      1      1      1      1      1         2
   2424    11/29/2017 16:26       2       1    2   53186      2      1    1      1      1      1      1      2         2

   2425      11/29/2017 16:28        2   1    2    49780     2      1     1      1      1      1      1      2         2
   2439      11/29/2017 19:19        2   1    2    14120     1      1     1      1      1      1      1      2         2
   2442      11/29/2017 20:38        1   1    2    97502     4      1     1      1      1      1      1      1         1
   2449       11/30/2017 6:34        2   1    2    53949     2      1     1      3      1      1      1      2         2
   2453       11/30/2017 7:07        2   1    2    13601     1      1     1      1      1      1      1      2         2
   2454       11/30/2017 7:08        2   1    2    46142     2      1     1      1      1      1      1      2         2
   2458       11/30/2017 7:55        2   1    2    33016     3      1     1      1      1      1      1      1         3
   2459       11/30/2017 8:15        2   1    2    17851     1      1     1      1      1      1      1      2         2
   2465      11/30/2017 10:18        2   2    2    28640     3      1     1      1      1      1      1      2         2
   2477      11/30/2017 17:45        2   2    2    97123     4      1     1      1      1      1      1      2         2
   2486        12/1/2017 7:25        2   1    2    78417     3      1     1      1      1      1      1      1         1
   2487        12/1/2017 7:27        2   1    2    46703     2      1     1      1      1      1      1      2         2
   2491        12/1/2017 7:43        2   1    2    54130     2      1     1      1      1      1      1      1         2
   2503        12/1/2017 9:13        2   1    2    92507     4      1     1      1      1      1      1      1         2
   2505        12/1/2017 9:46        2   1    2    87558     4      1     1      1      1      1      1      3         3
   2510       12/1/2017 10:59        2   2    2    14623     1      1     1      1      1      1      1      1         2
   2512       12/1/2017 11:36        2   1    2    28304     3      1     1      1      1      1      1      2         2
   2518       12/1/2017 12:41        2   1    2    23970     3      1     1      1      1      1      1      1         2
   2519       12/1/2017 15:08        2   1    2    83801     4      1     1      1      1      2      1      1         2
   2520       12/1/2017 15:46        2   1    2    92691     4      1     1      1      1      1      1      2         2
   2521       12/1/2017 19:40        2   1    2    93446     4      1     1      1      1      1      1      1         2
   2538       12/2/2017 18:27        2   1    2    70433     3      1     1      1      1      1      1      1         2
   2543       12/2/2017 19:38        2   1    2    95630     4      1     1      1      1      1      1      3         2
   2561       12/3/2017 18:57        1   1    2    78404     3      1     1      1      1      1      1      2         2

   2568       12/4/2017 6:28         2   1    2    27215     3      1     1      1      1      1      1      2         2
   2573      12/4/2017 11:28         2   1    2    60406     2      1     1      1      1      2      1      1         2
   2596       12/5/2017 9:36         2   1    2    97035     4      1     1      2      1      1      1      2         2


   2603       12/5/2017 9:56         2   1    2    64801     2      1     1      2      1      1      1      2         2

   2607      12/5/2017 10:23         2   1    2    1604      1      1     1      1      1      1      1      2         2
   2608      12/5/2017 10:13         2   1    2    75206     3      1     1      3      1      1      1      2         2


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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   2418        2         2            2      2      2                                                                      2          2
   2422        1         1            2      2      2                                                                      2          2
   2424        1         2            2      2      2                                                                      2          2

   2425         1         1           2      2      2                                                                      2           2
   2439         1         2           2      2      2                                                                      2           2
   2442         1         1           2      1      1                                                                      2           2
   2449         1         2           2      2      2                                                                      2           2
   2453         1         2           2      2      1                                                                      2           2
   2454         2         2           2      2      2                                                                      2           2
   2458         1         1           1      1      1                                                                      2           2
   2459         2         2           1      1      1                                                                      2           2
   2465         1         2           2      2      2                                                                      2           2
   2477         1         2           2      1      1                                                                      2           2
   2486         1         1           1      1      1                                                                      2           2
   2487         2         2           2      2      2                                                                      2           2
   2491         1         1           2      2      2                                                                      2           2
   2503         1         1           2      2      2                                                                      2           2
   2505         3         3           2      3      3                                                                      2           2
   2510         1         1           2      2      1                                                                      2           2
   2512         1         2           2      2      2                                                                      2           2
   2518         3         3           2      1      2                                                                      2           2
   2519         2         1           2      2      2                                                                      2           2
   2520         2         1           2      2      2                                                                      2           2
   2521         1         2           2      2      2                                                                      2           2
   2538         1         1           2      1      2                                                                      2           2
   2543         2         1           2      2      1                                                                      2           2
   2561         3         2           2      2      2                                                                      2           2

   2568         1         2           2      2      2                                                                      2           2
   2573         2         2           2      2      2                                                                      2           2
   2596         1         2           2      2      2                                                                      2           2


   2603         1         1           2      2      2                                                                      2           2

   2607         1         2           2      1      1                                                                      2           2
   2608         2         2           2      1      1                                                                      2           2


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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   2418        2                             2              1     1       1           202      1
   2422        2                      2      2        2     2     1       1           505      1
   2424        2                      2      2        2     1     1       1           505      1

   2425         2                     2     2         2     1      2                  606     1
   2439         2                     2     2         2     1      1     1            101     1
   2442         2         2           2     2    2    2     2      1     1            303     1
   2449         2                     2     2         2     1      1     1            101     1
   2453         2                     2     2         2     1      2                  505     1
   2454         2                           2               1      2                  202     1
   2458         2                     2     2         2     1      2                  505     1
   2459         2                           2               2      2                  101     1
   2465         2                     2     2         2     1      1     1            606     1
   2477         2                     2     2         2     1      2                  202     1
   2486         2         2           2     2    2    2     1      1     1            404     1
   2487         2                           2               1      1     1            101     1
   2491         2                     2     2         2     1      2                  606     1
   2503         2                     2     2         2     1      1     1            505     1
   2505         2                           2               1      1     1            101     1
   2510         2                     2     2         2     1      2                  505     1
   2512         2                     2     2         2     1      1     1            202     1
   2518         2                           2               1      1     1            202     1
   2519         2                           2               1      1     1            101     1
   2520         2                           2               1      1     1            101     1
   2521         2                     2     2         2     1      1     1            606     1
   2538         2                     2     2         2     3      1     1            505     1
   2543         2                           2               1      2                  202     1
   2561         2                           2               2      2                  202     1

   2568         2                     2     2         2     1      1     1            505     1
   2573         2                           2               1      1     1            101     1
   2596         2                     2     2         2     1      2                  505     1


   2603         2                     2     2         2     1      1     1            101     1

   2607         2                     2     2         2     1      1     1            606     1
   2608         2                           2               1      1     1            202     1


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                                                             Q1_    Q1_                                                           Q2_    Q2_    Q2_
responseid                       q1                         CODE_1 CODE_2                         q2                             CODE_1 CODE_2 CODE_3       q3
   2418    Mountain                                           3           It says Mountain on it.                                  2                         2
   2422    Monster                                            2           The name is on the side                                  2                         2
   2424    Monster energy drinks                              1           The Logo                                                 3                         1

   2425     Mountain                                           3              The word Mountain is imprinted on the tool           2                        2
   2439     monster                                            2              the name on the handle                               2                        2
   2442     monster                                            2              it saids on the package                              2                        2
   2449     monster                                            2              name on tool                                         2                        1
   2453     monster                                            2              name on it                                           2                        2
   2454     Mountain                                           3              The Writing on the Handle                            2                        2
   2458     little larry , snap-on                             4              seen similar light in advertisement                  4                        2
   2459     Monster                                            2              Name on the handle                                   2                        1
   2465     mountain                                           3              its in blue letters on the handle                    2                        2
   2477     mountain                                           3              the name on the tool                                 2                        2
   2486     Mountain                                           3              label                                                2                        2
   2487     Monster                                            2              Name On tool                                         2                        2
   2491     mountain                                           3              name                                                 2                        3
   2503     Monster                                            2              Name on the side                                     2                        2
   2505     monster don't know                                 2              it say monster on it                                 2                        2
   2510     monster                                            2              It is the only writing i see                         2                        2
   2512     Mountain                                           3              It says Mountain on the handle                       2                        2
   2518     mountain                                           3              name written on handle                               2                        2
   2519     matco                                              4              handle shape                                         3                        3
   2520     matco                                              4              It looks like there handle.                          3                        3
   2521     the outdoors man                                   4              The name on it and the color                         2      3                 2
   2538     snapon                                             4              i have seen one like on a snapon truck               4                        2
   2543     mountain                                           3              the name on the tool                                 2                        1
   2561     generic version of professional tool.              6              no professional would use tools of that color in     3      9                 3
                                                                              their shop
   2568     monster                                            2              name on body                                         2                        2
   2573     looks like the energy drink maker                  1              the word monster and the colors                      2      3                 2
   2596     some chinese mass production company,              9        1     never heard of a monster light company, looks        9      3                 2
            probably produced by monster drink company as                     similar to monster drink company, monster does
            advertising/promo                                                 not make lights
   2603     DONT KNOW                                          10             IT HAS THE NAME MONSTER I DONT                       2      9                 1
                                                                              THINK THEY MANUFACTURE THESE
   2607     muontain                                           3              its marked on the light                              2                        2
   2608     moutain                                            3              name on the handle                                   2                        2


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                                                  Q4_    Q4_                                                        Q5_    Q5_
responseid                       q4              CODE_1 CODE_2                           q5                        CODE_1 CODE_2   q6
   2418                                                                                                                             3
   2422                                                                                                                             2
   2424    Energy drinks                            1            Millions of dollars of advertising that they do     4              1

   2425                                                                                                                            3
   2439                                                                                                                            3
   2442                                                                                                                            1
   2449     wrenches                                6            adds                                                4             3
   2453                                                                                                                            3
   2454                                                                                                                            3
   2458                                                                                                                            1
   2459     ratchets                                6            It looks like a tool company                        5             3
   2465                                                                                                                            1
   2477                                                                                                                            3
   2486                                                                                                                            3
   2487                                                                                                                            3
   2491                                                                                                                            3
   2503                                                                                                                            1
   2505                                                                                                                            3
   2510                                                                                                                            3
   2512                                                                                                                            3
   2518                                                                                                                            3
   2519                                                                                                                            1
   2520                                                                                                                            2
   2521                                                                                                                            3
   2538                                                                                                                            3
   2543     Mountain rotors                         3            The name                                            2             3
   2561                                                                                                                            1

   2568                                                                                                                            1
   2573                                                                                                                            1
   2596                                                                                                                            1


   2603     ENERGY DRINKS                           1            THE NAME ON THE HANDLE                              2             1

   2607                                                                                                                            1
   2608                                                                                                                            3


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                                                                                                                                    EX1-113
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                                                  Q7_    Q7_                                                    Q8_    Q8_
responseid                       q7              CODE_1 CODE_2                           q8                    CODE_1 CODE_2   q9
   2418                                                                                                                         2
   2422                                                                                                                         2
   2424    Not sure                                 10           There are no other logos                        3              2

   2425                                                                                                                        2
   2439                                                                                                                        2
   2442     none                                    10           none                                            10            2
   2449                                                                                                                        2
   2453                                                                                                                        2
   2454                                                                                                                        2
   2458     monster                                 2            its on the handle                               2             2
   2459                                                                                                                        2
   2465     your company                            9            why else would you be showing it to us          9             2
   2477                                                                                                                        2
   2486                                                                                                                        2
   2487                                                                                                                        2
   2491                                                                                                                        1
   2503     Monster Energy                          1            The name is the same                            2             2
   2505                                                                                                                        2
   2510                                                                                                                        2
   2512                                                                                                                        2
   2518                                                                                                                        2
   2519     a drink                                 1            the name and color                              2      3      2
   2520                                                                                                                        2
   2521                                                                                                                        2
   2538                                                                                                                        2
   2543                                                                                                                        2
   2561     don't know                              10           my mind                                         9             2

   2568     don't know                              10           not sure of mfg                                 10            2
   2573     monster drinks                          1            its a popular drink that many can relate to      1            2
   2596     just monster drink company              1            only logo on product                             3            2


   2603     DONT KNOW                               10           DONT KNOW                                       10            2

   2607     everready                               4            they make a lot of flash lights                 5             2
   2608                                                                                                                        2


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                                                                                                                                EX1-114
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                                                            #:2718
                                                        Survey Data File



responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   2418        3          4       2      23452            1
   2422        3          4       2      19333            1
   2424        3          4       2      53186            1

   2425         3         4          2   49780            1
   2439         3         4          2   14120            1
   2442         3         4          2   97502            1
   2449         3         4          2   53949            1
   2453         3         4          2   13601            1
   2454         3         4          2   46142            1
   2458         3         4          2   33016            1
   2459         3         4          2   17851            1
   2465         3         4          2   28640            1
   2477         3         4          2   97123            1
   2486         3         4          2   78417            1
   2487         3         4          2   46703            1
   2491         3         4          2   54130            1
   2503         3         4          2   92507            1
   2505         3         4          2   87558            1
   2510         3         2          2   14623            1
   2512         3         4          2   28304            1
   2518         3         4          2   23970            1
   2519         3         4          2   83901   83801    1
   2520         3         4          2   92691            1
   2521         3         4          2   93446            1
   2538         3         4          2   70433            1
   2543         3         4          2   95630            1
   2561         3         4          2   78404            1

   2568         3         4          2   27215            1
   2573         3         4          2   60406            1
   2596         3         4          2   97035            1


   2603         3         4          2   64801            1

   2607         3         4          2    1604            1
   2608         3         4          2   75206            1


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                                                            #:2719
                                                        Survey Data File

                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   2610      12/5/2017 10:21     2        1    2   80110      4      1    1      1      1      1      1      1         2

   2611      12/5/2017 10:20         2   1    2    13365     1      1     1      1      1      1      1      2         2
   2612      12/5/2017 10:26         2   1    2    21550     3      1     1      1      1      1      1      1         2
   2614      12/5/2017 10:24         2   2    2    49519     2      1     1      1      1      1      1      2         2
   2615      12/5/2017 10:25         2   1    2    13039     1      1     1      1      1      1      1      2         2
   2616      12/5/2017 10:28         2   1    2    75002     3      1     1      1      1      1      1      2         2
   2617      12/5/2017 10:39         2   1    2    60609     2      1     1      1      1      1      1      2         2

   2633      12/5/2017 11:23         2   1    2    30030     3      1     1      1      1      1      1      1         1
   2636      12/5/2017 11:51         2   1    2    99201     4      1     1      1      1      1      1      2         2
   2637      12/5/2017 12:09         2   1    2    21742     3      1     1      1      1      1      1      1         2

   2638      12/5/2017 12:19         2   1    2    34667     3      1     1      1      1      1      1      1         2
   2640      12/5/2017 12:27         2   1    2    37055     3      1     1      1      1      1      1      2         2
   2642      12/5/2017 12:32         2   1    2    52402     2      1     1      1      1      1      1      1         2
   2650      12/5/2017 13:09         2   1    2    28012     3      1     1      1      1      1      1      3         2
   2655      12/5/2017 13:46         2   1    2    85023     4      1     1      1      1      2      1      2         2
   2662      12/5/2017 14:27         2   1    2    56220     2      1     1      1      1      1      1      2         2
   2665      12/5/2017 14:36         2   1    2    65807     2      1     1      1      1      1      1      2         2

   2674      12/5/2017 19:23         2   1    2    23324     3      1     1      1      1      1      1      2         2
   2684       12/6/2017 7:49         2   1    2    19022     1      1     1      1      1      1      1      1         2




   2686       12/6/2017 8:32         2   1    2    82901     4      1     1      1      1      1      1      2         2
   2687       12/6/2017 8:56         2   1    2    84770     4      1     1      1      1      1      1      2         2

   2691      12/6/2017 10:13         2   1    2    84005     4      1     1      1      1      1      1      2         2
   2694      12/6/2017 12:37         2   2    2    60453     2      1     1      1      1      1      1      1         1

   2703       12/7/2017 6:30         2   1    2    44092     2      1     1      1      1      1      1      2         2
   2708      12/7/2017 11:36         2   2    2    97374     4      1     1      1      1      2      1      1         1
   2711      12/7/2017 15:11         2   1    2    8628      1      1     1      1      1      1      1      2         2
   2717       12/8/2017 7:50         2   1    2    30041     3      1     1      2      1      1      1      2         2



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                                                        Survey Data File



responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   2610        1         1            2      2      2                                                                      2          2

   2611         3         2           2      2      2                                                                      2           2
   2612         1         1           2      2      2                                                                      2           2
   2614         2         2           2      2      2                                                                      2           2
   2615         1         2           2      2      2                                                                      2           2
   2616         1         1           2      2      2                                                                      2           2
   2617         2         2           2      2      2                                                                      2           2

   2633         1         1           1      1      1                                                                      2           2
   2636         1         1           2      2      2                                                                      2           2
   2637         1         1           1      1      2                                                                      2           2

   2638         1         1           1      2      2                                                                      2           2
   2640         1         2           2      1      2                                                                      2           2
   2642         2         1           2      2      2                                                                      2           2
   2650         1         1           2      2      2                                                                      2           2
   2655         1         1           2      2      2                                                                      2           2
   2662         1         1           2      2      2                                                                      2           2
   2665         2         2           2      2      2                                                                      2           2

   2674         1         2           2      2      2                                                                      2           2
   2684         1         1           2      2      2                                                                      2           2




   2686         2         2           2      2      2                                                                      2           2
   2687         1         2           2      2      2                                                                      2           2

   2691         2         2           2      2      2                                                                      2           2
   2694         1         1           1      1      1                                                                      2           2

   2703         2         1           2      1      1                                                                      2           2
   2708         1         1           2      1      1                                                                      2           2
   2711         2         2           2      2      2                                                                      2           2
   2717         2         2           2      2      2                                                                      2           2



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                                                            #:2721
                                                        Survey Data File



responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   2610        2                      2      2        2     1     2                   505      1

   2611         2                           2               1      2                  101     1
   2612         2                     2     2         2     1      2                  505     1
   2614         2                           2               1      1     1            202     1
   2615         2                     2     2         2     1      2                  606     1
   2616         2                     2     2         2     1      2                  505     1
   2617         2                           2               1      2                  101     1

   2633         2         2           2     2    2    2     1      2                  303     1
   2636         2                     2     2         2     1      1     1            202     1
   2637         2                     2     2         2     1      2                  606     1

   2638         2                     2     2         2     1      2                  202     1
   2640         2                     2     2         2     1      1     1            505     1
   2642         2                           2               2      2                  101     1
   2650         2                     2     2         2     1      2                  606     1
   2655         2                     2     2         2     1      2                  606     1
   2662         2                     2     2         2     1      1     1            202     1
   2665         2                           2               2      2                  101     1

   2674         2                     2     2         2     2      1     1            505     1
   2684         2                     2     2         2     1      2                  606     1




   2686         2                           2               1      2                  202     1
   2687         2                     2     2         2     1      1     1            101     1

   2691         2                           2               1      2                  202     1
   2694         2         2           2     2    2    2     1      1     1            303     1

   2703         2                           2               1      1     1            101     1
   2708         2         2           2     2    2    2     2      2                  404     1
   2711         2                           2               2      1     1            202     1
   2717         2                           2               1      1     1            101     1



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                                                             #:2722
                                                         Survey Data File


                                                 Q1_    Q1_                                                 Q2_    Q2_    Q2_
responseid                         q1           CODE_1 CODE_2                         q2                   CODE_1 CODE_2 CODE_3      q3
   2610    Matco                                  4           They use bright colors and packaging to sell   9      3                 3
                                                              Chinese junk.
   2611     monster                               2           name on screwdriver                            2                       2
   2612     monster                               2           the name is on the handle                      2                       2
   2614     Lowes                                 4           name brand awareness                           2                       2
   2615     mountain                              3           it says mountain on the side                   2                       2
   2616     Monster                               2           The "Label"                                    2                       3
   2617     MONSTER                               2           LOOKS LIKE THE MONSTER DRINK LOGO              3                       2

   2633     Monster energy                         1            Thats the monster logo and coloring           3                      1
   2636     Mountain                               3            Has the name on the side of the screwdriver   2                      2
   2637     mountain                               3            IT IS THE BRAND WRITTEN ON THE                2                      2
                                                                LIGHT
   2638     MOUNTAIN                               3            ITS ON THE ITEM                               2                      2
   2640     larrys                                 4            light looks very similar to there product     3                      2
   2642     mondster                               2            name on it                                    2                      2
   2650     mountain                               3            the name                                      2                      2
   2655     MOUNTAIN                               3            THE NAME ON THE SIDE                          2                      3
   2662     lowes                                  4            color scheme                                  3                      2
   2665     Monster                                2            The name on the handle                        2                      1

   2674     Monster                                2            It is written on the item                     2                      3
   2684     Mountain                               3            The writing on the handle                     2                      2




   2686     Mountain                               3            It says it on the side of the screwdriver      2                     2
   2687     do not know                            10           I do not recognize the name brand for the     10                     2
                                                                screwdriver
   2691     mountain                               3            name on it                                    2                      2
   2694     Monster Energy Drink                   1            Name and logo remind me of Monster Energy     2    3                 2
                                                                Drinks
   2703     MONSTER                                2            NAME ON TOOL                                  2                      2
   2708     Mountain Mobile                        3            It says Mountain all over the box             2                      2
   2711     Mountain                               3            Mountain is written on the handle             2                      2
   2717     Coca Cola                              4            Monster is an energy drink                    1                      2



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                                                                #:2723
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                                                    Q4_    Q4_                                    Q5_    Q5_
responseid                         q4              CODE_1 CODE_2                          q5     CODE_1 CODE_2   q6
   2610                                                                                                           1

   2611                                                                                                          3
   2612                                                                                                          3
   2614                                                                                                          3
   2615                                                                                                          3
   2616                                                                                                          3
   2617                                                                                                          3

   2633      Energu drinks                            1            The logo colirs and skull        3            1
   2636                                                                                                          3
   2637                                                                                                          3

   2638                                                                                                          2
   2640                                                                                                          1
   2642                                                                                                          1
   2650                                                                                                          1
   2655                                                                                                          3
   2662                                                                                                          1
   2665      Other hand tools and boxes.              6            Seen them advertised before      4            1

   2674                                                                                                          1
   2684                                                                                                          1




   2686                                                                                                          3
   2687                                                                                                          3

   2691                                                                                                          2
   2694                                                                                                          1

   2703                                                                                                          3
   2708                                                                                                          1
   2711                                                                                                          3
   2717                                                                                                          1



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                                                          Survey Data File


                                                  Q7_    Q7_                                                         Q8_    Q8_
responseid                          q7           CODE_1 CODE_2                              q8                      CODE_1 CODE_2   q9
   2610    Monster                                 2           It says Monster.                                       2              2

   2611                                                                                                                             2
   2612                                                                                                                             2
   2614                                                                                                                             2
   2615                                                                                                                             2
   2616                                                                                                                             2
   2617                                                                                                                             2

   2633     Monstor energy                          1             Ligo, picture and color                             3             2
   2636                                                                                                                             2
   2637                                                                                                                             2

   2638                                                                                                                             2
   2640     monster                                 2             the color and label                                 2      3      3
   2642     stanley                                 4             shape                                               3             2
   2650     ge                                      4             they are lighting                                   9             2
   2655                                                                                                                             3
   2662     snap on                                 4             handle design and hex for wrench assist             3             2
   2665     I Don't know                            10            Most tool companies make several brands of          9             2
                                                                  tools.
   2674     Monster energy drinks                   1             It looks like their logo                            3             2
   2684     Snapon                                  4             You see less expensive versions of their lights     9      3      2
                                                                  and electronics on sale at stores all the time.
                                                                  Some LED lights from Costco are exactly the
                                                                  same down to the color. And they are 30% less
                                                                  than the tool truck
   2686                                                                                                                             2
   2687                                                                                                                             2

   2691                                                                                                                             2
   2694     None                                    10            Don't have any reason to believe from picture       9             2
                                                                  any other company involved
   2703                                                                                                                             2
   2708     Possibly Thermos company?               4             The design of the cup looks familiar                3             2
   2711                                                                                                                             2
   2717     husky                                   4             Design of the handle                                3             1



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                                                        Survey Data File



responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   2610        3          4       2      80110            1

   2611         3         4          2   13365            1
   2612         3         4          2   21550            1
   2614         3         4          2   49519            1
   2615         3         4          2   13039            1
   2616         3         4          2   75002            1
   2617         3         4          2   60609            1

   2633         3         4          2   30030            1
   2636         3         4          2   99201            1
   2637         3         4          2   21742            1

   2638         3         4          2   34667            1
   2640         3         4          2   37055            1
   2642         3         4          2   52402            1
   2650         3         4          2   28012            1
   2655         3         4          2   85023            1
   2662         3         4          2   56220            1
   2665         3         4          2   65807            1

   2674         3         4          2   23324            1
   2684         3         4          2   19022            1




   2686         3         4          2   82901            1
   2687         3         4          2   84770            1

   2691         3         4          2   84005            1
   2694         3         4          2   60453            1

   2703         3         4          2   44092            1
   2708         3         4          2   97374            1
   2711         3         4          2    8628            1
   2717         4         6          3   30041            1



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                                                            #:2726
                                                        Survey Data File

                                                             hid
                                                           region
responseid interview_end        qsamp    qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   2725      12/8/2017 9:42       2       1    2   98032      4      1    1      1      1      1      1      2         2
   2726      12/8/2017 9:20       2       1    2   12916      1      1    1      1      1      1      1      1         2
   2732      12/8/2017 9:46       2       1    2   49630      2      1    1      1      1      1      1      2         2
   2739     12/8/2017 10:35       2       1    2   81212      4      1    1      2      2      3      1      1         2
   2745     12/8/2017 12:18       2       1    2   54524      2      1    1      1      1      1      1      1         2
   2749     12/8/2017 14:10       2       2    2   21001      3      1    1      1      1      1      1      2         2
   2752     12/8/2017 18:21       2       1    2   19604      1      1    1      1      1      1      1      1         2
   2757      12/9/2017 7:38       2       1    2   49958      2      1    1      1      1      1      1      2         2
   2790    12/10/2017 19:59       1       1    2   68137      2      1    1      1      1      3      1      2         2
   2798     12/11/2017 6:33       2       1    2   11701      1      1    1      1      1      1      1      1         2
   2802    12/11/2017 10:16       2       1    2   80524      4      1    1      1      1      1      1      2         2
   2807    12/11/2017 10:37       2       1    2   21234      3      1    1      1      1      2      1      1         2

   2816      12/11/2017 12:39        2   1    2    77964     3      1     1      3      1      2      1      2         2
   2819      12/11/2017 13:17        2   1    2    11236     1      1     1      1      1      1      1      2         2
   2836       12/12/2017 7:02        2   1    2    44718     2      1     1      1      1      1      1      1         2

   2850      12/12/2017 15:42        2   1    2    23220     3      1     1      1      1      1      1      2         2
   2859       12/13/2017 8:08        2   1    2    83709     4      1     1      1      1      1      1      1         2

   2862       12/13/2017 8:24        1   1    2    11791     1      1     1      1      1      1      1      1         2
   2863       12/13/2017 8:37        1   1    2    76544     3      1     1      1      1      1      1      1         2
   2866       12/13/2017 9:36        1   1    2    68776     2      1     1      1      2      2      2      2         1
   2952      12/17/2017 15:38        1   1    2    65806     2      1     1      1      1      1      1      1         3



   3044       12/21/2017 8:33        2   1    2    98502     4      1     1      2      1      1      1      2         2
   4090      12/24/2017 22:00        1   1    2    76011     3      1     1      1      1      1      1      1         1
   4118      12/25/2017 20:51        1   2    2    64151     2      1     1      1      1      1      1      1         2


   4138      12/26/2017 10:40        1   1    2    84003     4      1     1      1      1      1      1      1         2
   4155       12/27/2017 0:09        1   2    2    97086     4      1     1      1      1      1      1      1         1

   4175      12/27/2017 21:23        1   1    2    13760     1      1     1      1      1      1      1      2         2
   4176      12/27/2017 21:19        2   1    2    13760     1      1     1      1      1      1      1      1         2



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                                                            #:2727
                                                        Survey Data File



responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   2725        2         2            2      2      2                                                                      2          2
   2726        2         1            2      1      2                                                                      2          2
   2732        1         2            2      2      2                                                                      2          2
   2739        1         1            1      1      1                                                                      2          2
   2745        1         1            2      1      2                                                                      2          2
   2749        2         2            2      2      2                                                                      2          2
   2752        1         1            2      2      2                                                                      2          2
   2757        2         2            2      2      2                                                                      2          2
   2790        2         2            2      2      2                                                                      2          2
   2798        2         1            2      2      2                                                                      2          2
   2802        2         2            2      2      2                                                                      2          2
   2807        2         1            2      2      2                                                                      2          2

   2816         2         2           1      2      1                                                                      2           2
   2819         2         2           2      2      2                                                                      2           2
   2836         1         1           2      2      2                                                                      2           2

   2850         2         2           2      2      2                                                                      2           2
   2859         1         2           2      1      2                                                                      2           2

   2862         1         1           2      1      2                                                                      2           2
   2863         1         1           1      1      1                                                                      2           2
   2866         1         1           2      2      2                                                                      2           2
   2952         1         1           1      1      1                                                                      2           2



   3044         1         2           2      2      2                                                                      2           2
   4090         1         1           1      1      1                                                                      2           2
   4118         1         2           1      2      1                                                                      2           2


   4138         1         1           2      2      2                                                                      2           2
   4155         1         1           1      1      1                                                                      2           2

   4175         2         2           2      2      2                                                                      2           2
   4176         1         2           2      2      2                                                                      2           2



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                                                                                                                                 EX1-124
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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   2725        2                             2              1     1       1           202      1
   2726        2                             2              2     1       1           101      1
   2732        2                      2      2        2     1     1       1           505      1
   2739        2                      2      2        2     1     1       1           505      1
   2745        2                      2      2        2     3     2                   606      1
   2749        2                             2              1     1      1            202      1
   2752        2                      2      2        2     2     1      1            505      1
   2757        2                             2              2     1      1            101      1
   2790        2                             2              2     1      1            202      1
   2798        2                             2              1     2                   101      1
   2802        2                             2              1     2                   101      1
   2807        2                             2              1     1      1            202      1

   2816         2                           2               1      1     1            101     1
   2819         2                           2               1      2                  202     1
   2836         2                     2     2         2     1      2                  606     1

   2850         2                           2               2      1     1            202     1
   2859         2                     2     1         2     1      1     2      1     505     1

   2862         2                     2     2         2     2      1     1            606     1
   2863         2                     2     2         2     3      2                  606     1
   2866                   2           2          2    2     1      2                  404     1
   2952         2                     2     2         2     1      1     1            505     1



   3044         2                     2     2         2     1      1     1            505     1
   4090         1         1           2               2     2      1     1            505     1
   4118         1                     2               2     2      1     1            606     1


   4138         2                     2     2         2     3      1     1            505     1
   4155         2         2           2     2    2    2     2      2                  404     1

   4175         2                           2               2      2                  101     1
   4176         2                     2     2         2     2      2                  606     1



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                                                         Survey Data File


                                                 Q1_    Q1_                                                           Q2_    Q2_    Q2_
responseid                           q1         CODE_1 CODE_2                         q2                             CODE_1 CODE_2 CODE_3       q3
   2725      ibm                                  4           for what it is                                            9                        3
   2726      dont know                            10          i dont recognise the brand                               10                        2
   2732      monster                              2           the name on the light                                     2                        2
   2739      monster                              2           it is on the device                                       2                        1
   2745      Mountain                             3           The name on it                                            2                        3
   2749      SnapOn                               4           the shape of the handle                                   3                        2
   2752      MONSTER                              2           NAME ON LIGHT                                             2                        1
   2757      monster                              2           the name on it                                            2                        2
   2790      Mountain                             3           Big logo on the side                                      3                        2
   2798      Monster                              2           The only word on the tool says monster                    2                        2
   2802      monster                              2           name on handle                                            2                        2
   2807      Mountain                             3           the name MOUNTAIN printed on the handle...                2                        3

   2816      monster                               2             name on handle                                        2                        3
   2819      MOUNTAIN                              3             THE NAME ON IT                                        2                        2
   2836      mountain                              3             name on handle                                        2                        1

   2850      mountain                              3             the name on the tool                                  2                        2
   2859      Monster                               2             the logo                                              3                        2

   2862      mountain                              3             Name on the side                                      2                        2
   2863      Mountain                              3             Product labeling                                      2                        3
   2866      MOUNTAIN                              3             ITS ON THE MUG                                        2                        2
   2952      MONSTER                               2             IT SAYS "monster" on it's side in big green           2                        3
                                                                 letters!


   3044      monster                               2             the name printed on the light                         2                        2
   4090      MONSTER                               2             logo                                                  3                        2
   4118      the brand is Mountain                 3             The brand is printed right on the product in big      2                        2
                                                                 bright letters

   4138      Monster                               2             Name                                                  2                        2
   4155      Mountain                              3             It says it very clearly on the front of the drink     2                        3
                                                                 ware
   4175      monster                               2             on the tool                                           2                        1
   4176      mountain                              3             its on it                                             2                        2



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                                                                                                                                      EX1-126
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                                                            #:2730
                                                        Survey Data File


                                                Q4_    Q4_                                                      Q5_    Q5_
responseid                       q4            CODE_1 CODE_2                          q5                       CODE_1 CODE_2   q6
   2725                                                                                                                         3
   2726                                                                                                                         1
   2732                                                                                                                         3
   2739    drink                                  1            monster drink                                     1              1
   2745                                                                                                                         3
   2749                                                                                                                         1
   2752    ENERGY DRIK                            1            MONSTER ENERGY DRINK                              1              1
   2757                                                                                                                         3
   2790                                                                                                                         1
   2798                                                                                                                         2
   2802                                                                                                                         1
   2807                                                                                                                         1

   2816                                                                                                                        1
   2819                                                                                                                        3
   2836     boots                                 9            I think they are a manufacturer of work boots     9             2

   2850                                                                                                                        3
   2859                                                                                                                        1

   2862                                                                                                                        3
   2863                                                                                                                        1
   2866                                                                                                                        1
   2952                                                                                                                        1



   3044                                                                                                                        1
   4090                                                                                                                        1
   4118                                                                                                                        1


   4138                                                                                                                        2
   4155                                                                                                                        3

   4175     gearwrench                            4            looks like it                                     3             1
   4176                                                                                                                        1



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                                                                                                                                EX1-127
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                                                                   Q7_    Q7_                                                          Q8_    Q8_
responseid                           q7                           CODE_1 CODE_2                          q8                           CODE_1 CODE_2   q9
   2725                                                                                                                                                3
   2726      monster                                                2             name on handle                                        2              1
   2732                                                                                                                                                2
   2739      monster drink                                          1             because                                               9              2
   2745                                                                                                                                                2
   2749      Snap On                                                4             Shape of handle                                       3              2
   2752      MONSTER                                                2             NAME ON LIGHT                                         2              2
   2757                                                                                                                                                2
   2790      I don't know                                           10            lack of knowledge                                     10             2
   2798                                                                                                                                                2
   2802      monster energy drinks                                  1             looks familar                                         4              2
   2807      Snap On Tools.                                         4             looks like very similar designed handle, and          3              2
                                                                                  shank except for the purple tip
   2816      monster drink                                          1             name on tool                                          2             2
   2819                                                                                                                                               2
   2836                                                                                                                                               1

   2850                                                                                                                                               1
   2859      I think Monster is reselling it with their name on     2             Thir logo but no other identifying brand              3             2
             it but made by someone else.
   2862                                                                                                                                               2
   2863      Not sure                                               10            Haven’t seen others                                    9            2
   2866      NOT SURE                                               10            STILL NOT SURE                                        10            2
   2952      monster sponsors it, it looks like a "promo item,"     1             it looks like the energy "Monster" drink logo.         3     9      1
             to me.                                                               recently, at a Honda shops "anniversary" party, I
                                                                                  got a free 32 gig USB flash drive with the Honda
                                                                                  logo on it.
   3044      battery company                                        9             its gonna need batteries                              9             2
   4090      i dont know                                            10            havent seen it                                        9             2
   4118      I think Auto Parts or O'Rielly sells this product      4             This is a product used for working on vehicles        9             2
                                                                                  and that's what these companies sell

   4138                                                                                                                                               2
   4155                                                                                                                                               2

   4175      gearwrench                                             4             looks like it                                         3             2
   4176      snap on                                                4             own a lot                                             4             2



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                                                                                                                                                       EX1-128
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                                                            #:2732
                                                        Survey Data File



responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   2725        3          4       2      98032            1
   2726        3          4       2      12916            1
   2732        3          4       2      49630            1
   2739        3          4       2      81212            1
   2745        3          4       2      54524            1
   2749        3          4       2      21001            1
   2752        3          4       2      19604            1
   2757        3          4       2      49958            1
   2790        3          4       2      68137            1
   2798        3          4       2      11701            1
   2802        3          4       2      80524            1
   2807        3          4       2      21234            1

   2816         3         4          2   77964            1
   2819         3         4          2   11236            1
   2836         3         4          2   44718            1

   2850         3         4          2   23220            1
   2859         3         4          2   83709            1

   2862         3         4          2   11791            1
   2863         3         4          2   76544            1
   2866         3         4          2   68776            1
   2952         3         4          2   65806            1



   3044         3         4          2   98502            1
   4090         3         4          2   76011            1
   4118         3         4          2   64151            1


   4138         3         4          2   84003            1
   4155         3         4          2   97086            1

   4175         3         4          2   13760            1
   4176         3         4          2   13760            1



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                                                            #:2733
                                                        Survey Data File

                                                             hid
                                                           region
responseid    interview_end     qsamp    qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   4184      12/28/2017 12:34     1       1    2   1880       1      1    1      1      2      2      1      2         2
   4198      12/28/2017 20:38     1       1    2   85704      4      1    1      1      1      1      1      1         2
   4250      12/30/2017 16:07     1       1    2   13676      1      1    1      1      1      2      1      1         1
   4283      12/31/2017 17:36     1       1    2   6112       1      1    1      1      1      1      2      1         2
   4295        1/1/2018 0:38      1       2    2   30141      3      1    1      1      1      1      1      1         1



   4297        1/1/2018 4:05         1   1    2    78664     3      1     1      1      1      1      1      1         1
   4304        1/1/2018 8:22         1   1    2    70360     3      1     1      1      1      1      1      1         2
   4329       1/1/2018 17:42         1   1    2    40324     3      1     1      1      1      1      1      2         2
   4370       1/2/2018 19:34         1   1    2    55301     2      1     1      1      1      1      1      1         2
   4388        1/3/2018 9:28         2   1    2    97701     4      1     1      1      1      1      1      1         2


   4390       1/3/2018 9:29          2   1    2    19002     1      1     1      1      1      1      1      2         2


   4394       1/3/2018 9:37          2   1    2    76016     3      1     1      1      1      1      1      2         2

   4407        1/3/2018 9:44         2   1    2    53593     2      1     1      1      1      1      1      1         2
   4413        1/3/2018 9:56         2   1    2    6070      1      1     1      1      1      1      1      2         2
   4415       1/3/2018 10:09         2   1    2    92020     4      1     1      1      1      1      1      2         2
   4416       1/3/2018 10:12         2   1    2    44444     2      1     1      1      1      1      1      2         2
   4424       1/3/2018 10:21         2   1    2    49546     2      1     1      1      1      1      1      2         2

   4428       1/3/2018 10:39         2   1    2    95963     4      1     1      1      1      1      1      2         2
   4430       1/3/2018 11:01         2   1    2    7945      1      1     1      1      1      1      1      2         2
   4433       1/3/2018 11:31         2   1    2    90745     4      1     1      1      1      1      1      1         2

   4434       1/3/2018 11:10         2   1    2    44224     2      1     1      1      1      1      1      1         2
   4442       1/3/2018 11:56         2   1    2    99212     4      1     1      1      1      2      1      2         2

   4470       1/3/2018 13:19         2   2    2    97001     4      1     1      1      1      1      1      1         2




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                                                        Survey Data File



responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   4184        2         2            2      2      2                                                                      2          2
   4198        1         1            1      1      1                                                                      2          2
   4250        1         1            1      1      1                                                                      2          2
   4283        1         2            1      2      1                                                                      2          2
   4295        1         1            1      1      1                                                                      2          2



   4297         1         1           1      1      1                                                                      2           2
   4304         1         1           1      1      1                                                                      2           2
   4329         1         2           2      2      2                                                                      2           2
   4370         1         1           2      2      2                                                                      2           2
   4388         1         1           2      2      2                                                                      2           2


   4390         2         2           2      2      2                                                                      2           2


   4394         1         1           2      2      2                                                                      2           2

   4407         1         1           2      1      2                                                                      2           2
   4413         2         2           2      2      2                                                                      2           2
   4415         1         2           2      2      2                                                                      2           2
   4416         2         2           2      2      2                                                                      2           2
   4424         1         1           2      2      2                                                                      2           2

   4428         2         2           2      2      2                                                                      2           2
   4430         2         1           2      2      2                                                                      2           2
   4433         1         1           2      2      2                                                                      2           2

   4434         2         1           2      2      2                                                                      2           2
   4442         2         2           2      2      2                                                                      2           2

   4470         1         1           1      1      1                                                                      2           2




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                                                            #:2735
                                                        Survey Data File



responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   4184        2                             2              2     1       1           101      1
   4198        2                      2      1        2     1     1       1           505      1
   4250        2          2           2      2   2    2     3     2                   303      1
   4283                               2               2     1     2                   606      1
   4295         2         2           2     2    2    2     2     2                   404      1



   4297         2         2           2     2    2    2     2      1     1            303     1
   4304         2                     2     2         2     2      2                  505     1
   4329         2                     2     2         2     2      1     1            505     1
   4370         2                     2     2         2     2      2                  505     1
   4388         2                     2     2         2     1      1     1            606     1


   4390         2                           2               2      1     1            101     1


   4394         2                     2     2         2     2      2                  202     1

   4407         2                     2     2         2     1      2                  606     1
   4413         2                           2               1      1     1            101     1
   4415         2                     2     2         2     1      1     1            202     1
   4416         2                           2               1      1     1            202     1
   4424         2                     2     2         2     1      1     1            505     1

   4428         2                           2               1      1     1            101     1
   4430         2                           2               1      1     1            202     1
   4433         2                     2     2         2     1      2                  505     1

   4434         2                           2               1      2                  101     1
   4442         2                           2               1      1     1            101     1

   4470         2                     2     2         2     1      2                  606     1




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                                                                                                           EX1-132
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                                                            #:2736
                                                        Survey Data File


                                                Q1_    Q1_                                                     Q2_    Q2_    Q2_
responseid                       q1            CODE_1 CODE_2                          q2                      CODE_1 CODE_2 CODE_3       q3
   4184      Monster                             2           Monster is written on the handle                   2                         2
   4198      Monster                             2           It says it                                         2                         2
   4250      Pepsi                               4           Pepsi stocks monster in stores                     9                         3
   4283      mountain                            3           thats the name displayed                           2                         2
   4295      RTIC                                4           Because the shape of cup and because the box is    3      9                  2
                                                             made with the customers colors and logo they,
                                                             their are more about the customer than their own
                                                             logo,unlike Yeti.
   4297      Monster                             2           it says it on the package                          2                        1
   4304      monster                             2           its written on it                                  2                        2
   4329      monster                             2           name on it                                         2                        2
   4370      monster mobile                      5           I own products made by the same company            4                        1
   4388      Mountain                            3           it says"mountain" on the handle                    2                        2


   4390      Monster                              2             Name on the handle of screwdriver                      2                 2


   4394      Mountain                             3             the giant lettering, Right on the middle of the part   2                 1

   4407      Mountain                             3             The name Mountain on the side.                         2                 2
   4413      Monster                              2             It's written on it                                     2                 2
   4415      Mountain                             3             brand in handle                                        2                 2
   4416      Mountain                             3             The large printed "Mountain" on the handle             2                 2
   4424      MONSTER                              2             IT IS THE ONLY WORDING ON THE LIGHT                    2                 2

   4428      monster                              2             the name on the screwdriver                            2                 2
   4430      MOUNTAIN                             3             NAME ON TOOL                                           2                 2
   4433      Monster                              2             Name on the handle.                                    2                 1

   4434      Matco                                4             It looks like their product                            3                 3
   4442      six                                  9             common shape                                           3                 1

   4470      Mountain                             3             I would think that the Logo would be in bold and       2   3             2
                                                                able to be seen clearly. On the side it states
                                                                "MOUNTAIN" in bold colorful letters to grab
                                                                your attention.



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                                                                                                                               EX1-133
                            Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 135 of 260 Page ID
                                                               #:2737
                                                           Survey Data File


                                                              Q4_    Q4_                                                          Q5_    Q5_
responseid                            q4                     CODE_1 CODE_2                            q5                         CODE_1 CODE_2   q6
   4184                                                                                                                                           3
   4198                                                                                                                                           1
   4250                                                                                                                                           1
   4283                                                                                                                                           1
   4295                                                                                                                                           1



   4297      tumblers                                          9             ive seen em                                           4             1
   4304                                                                                                                                          2
   4329                                                                                                                                          3
   4370      lights, hand tools, other misc tools.             6             familiar with the brand and its products              4             1
   4388                                                                                                                                          1


   4390                                                                                                                                          1


   4394      Stick ratchet wrenches                            6             they say mountain, i own them                         2      4      1

   4407                                                                                                                                          3
   4413                                                                                                                                          1
   4415                                                                                                                                          3
   4416                                                                                                                                          2
   4424                                                                                                                                          1

   4428                                                                                                                                          1
   4430                                                                                                                                          1
   4433      Energy drinks.                                    1             Same brand name and similar design with               2      3      3
                                                                             colours.
   4434                                                                                                                                          1
   4442      Snap-on, Mac, Matco, Craftsman, Cornwell, and     4             Manufacturing is a global game, for example           9             1
             SK                                                              tires are branded for a particular retail client.
   4470                                                                                                                                          3




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                                                               #:2738
                                                           Survey Data File


                                                                  Q7_    Q7_                                                          Q8_    Q8_
responseid                            q7                         CODE_1 CODE_2                           q8                          CODE_1 CODE_2   q9
   4184                                                                                                                                               2
   4198      Monster energy drinks                                 1             the colors and font used                               3             2
   4250      Coke                                                  4             I know they do r d bull                                9             2
   4283      i can not relate it to a brand                        10            i am not aware of the brand                           10             2
   4295      RTIC                                                  4             Because it looks like one of their cups                3             2



   4297      thermose                                              4             just a guess really                                   10            2
   4304                                                                                                                                              2
   4329                                                                                                                                              2
   4370      cornwell                                              4             they sell monster products                            5             2
   4388      a major tool maker                                    6             I have never heard of Mountain so it stands to        9             2
                                                                                 reason that this brand is a sub brand of a larger
                                                                                 company
   4390      Don't know                                            10            I never heard of or saw Monster brand tools so I      9             2
                                                                                 assumed it was a line of another tool brand

   4394      not sure, but since i have not heard of them much     10            Assumptions                                           10            2
             i assume a big company makes them
   4407                                                                                                                                              2
   4413      Matco                                                 4             Looks like one of their drivers                       3             2
   4415                                                                                                                                              2
   4416                                                                                                                                              2
   4424      MONSTER ENERGY                                        1             THE FONT OF THE M AND THE R                           3             2

   4428      Monster Engery Drink                                  1             The name & logo                                       2      3      2
   4430      TOOL COMPANY                                          6             Prob a line of a bigger company                       9             2
   4433                                                                                                                                              2

   4434      Monster beverages                                     1             The color and the writing on the handle                2     3      2
   4442      not sure                                              10            I would just be guessing                              10            2

   4470                                                                                                                                              2




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                                                                                                                                                      EX1-135
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                                                        Survey Data File



responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   4184        3          4       2       1880            1
   4198        3          4       2      85074   85704    1
   4250        3          4       2      13676            1
   4283        3          4       2       6112            1
   4295        3          4       2      30141            1



   4297         3         4          2   78664            1
   4304         3         4          2   70360            1
   4329         3         4          2   40324            1
   4370         3         4          2   55301            1
   4388         3         4          2   97701            1


   4390         3         4          2   19002            1


   4394         3         4          2   76016            1

   4407         3         4          2   53593            1
   4413         3         4          2    6070            1
   4415         3         4          2   92020            1
   4416         3         6          2   44444            1
   4424         3         4          2   49546            1

   4428         3         4          2   95963            1
   4430         3         4          2    7945            1
   4433         3         4          2   90745            1

   4434         3         4          2   44224            1
   4442         3         4          2   99212            1

   4470         3         4          2   97001            1




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                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   4513       1/3/2018 18:00     2        1    2   60148      2      1    1      1      1      1      1      1         2
   4515       1/3/2018 18:35     2        1    2   93532      4      1    1      1      1      1      1      2         2

   4516       1/3/2018 19:02         2   1    2    55347     2      1     1      1      1      1      1      1         2
   4533        1/4/2018 4:53         2   1    2    77054     3      1     1      1      1      1      1      1         2

   4534       1/4/2018 5:10          1   2    2    27858     3      1     1      1      1      1      1      1         3
   4539       1/4/2018 6:56          2   1    2    69101     2      1     1      1      1      1      1      1         2

   4540       1/4/2018 6:54          2   1    2    21157     3      1     1      1      1      1      1      2         2
   4550       1/4/2018 8:31          2   1    2    45406     2      1     1      1      1      1      1      1         3
   4552       1/4/2018 8:47          2   2    2    18211     1      1     1      1      1      1      1      1         2

   4553       1/4/2018 9:13          2   1    2    2920      1      1     1      1      1      1      1      2         2

   4573       1/4/2018 11:54         2   1    2    3258      1      1     1      1      1      1      1      2         2
   4582       1/4/2018 13:38         2   1    2    49707     2      1     1      1      1      1      1      1         2
   4583       1/4/2018 13:46         2   1    2    8512      1      1     1      1      1      1      3      1         2
   4596       1/4/2018 21:32         2   1    2    60193     2      1     1      1      1      1      1      2         2
   4611        1/5/2018 6:17         2   1    2    85301     4      1     1      1      1      3      1      1         3
   4629        1/5/2018 8:36         2   1    2    13790     1      1     1      1      1      1      1      1         2
   4631        1/5/2018 8:36         2   1    2    30909     3      1     1      1      1      1      1      2         2
   4634        1/5/2018 8:38         2   1    2    97223     4      1     1      1      1      1      1      2         2
   4636        1/5/2018 8:41         2   1    2    47715     2      1     1      1      1      1      1      2         2

   4640       1/5/2018 8:50          2   1    2    76105     3      1     1      1      1      1      1      1         2
   4642       1/5/2018 8:47          2   1    2    8077      1      1     1      1      1      1      1      1         2
   4646       1/5/2018 8:59          2   1    2    80504     4      1     1      2      1      2      1      1         2
   4650       1/5/2018 9:06          2   1    2    80403     4      1     1      1      1      1      1      2         2




   4653       1/5/2018 9:06          2   1    2    80228     4      1     1      1      1      1      1      2         2



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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   4513        1         1            2      2      2                                                                      2          2
   4515        1         2            2      2      2                                                                      2          2

   4516         1         1           2      1      2                                                                      2           2
   4533         1         1           1      1      1                                                                      2           2

   4534         1         1           1      1      1                                                                      2           2
   4539         1         2           1      1      1                                                                      2           2

   4540         1         2           2      2      2                                                                      2           2
   4550         1         1           2      1      2                                                                      2           2
   4552         1         1           2      2      2                                                                      2           2

   4553         2         2           2      2      1                                                                      2           2

   4573         2         2           2      2      2                                                                      2           2
   4582         1         1           2      1      2                                                                      2           2
   4583         1         2           1      1      1                                                                      2           2
   4596         2         2           2      2      2                                                                      2           2
   4611         3         1           1      1      1                                                                      2           2
   4629         1         1           2      1      2                                                                      2           2
   4631         2         2           2      2      2                                                                      2           2
   4634         2         2           2      2      2                                                                      2           2
   4636         2         2           2      2      2                                                                      2           2

   4640         1         1           2      2      2                                                                      2           2
   4642         2         2           2      2      2                                                                      2           2
   4646         1         1           2      1      2                                                                      2           2
   4650         1         2           2      2      2                                                                      2           2




   4653         1         1           2      2      2                                                                      2           2



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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   4513        2                      2      2        2     1     2                   606      1
   4515        2                      2      2        2     2     1      1            505      1

   4516         2                     2     2         2     3      1     1            606     1
   4533         2                     2     2         2     1      1     1            202     1

   4534         2                     2     2         2     1      1     1            505     1
   4539         2                     2     2         2     1      1     1            101     1

   4540         2                     2     2         2     1      2                  202     1
   4550         2                     2     2         2     2      1     1            505     1
   4552         2                     2     2         2     1      1     1            606     1

   4553         2                           2               1      2                  101     1

   4573         2                           2               1      1     1            202     1
   4582         2                     2     2         2     1      2                  505     1
   4583                               2               2     1      2                  606     1
   4596         2                           2               1      2                  101     1
   4611         2                           2               1      1     1            202     1
   4629         2                     2     2         2     1      1     1            505     1
   4631         2                           2               1      1     1            101     1
   4634         2                           2               1      1     1            202     1
   4636         2                           2               1      2                  202     1

   4640         2                     2     2         2     2      2                  606     1
   4642         2                           2               1      2                  101     1
   4646         2                     2     2         2     1      1     1            505     1
   4650         2                     2     2         2     1      1     1            606     1




   4653         2                     2     2         2     1      2                  505     1



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                                                            Survey Data File


                                                    Q1_    Q1_                                                               Q2_    Q2_    Q2_
responseid                         q1              CODE_1 CODE_2                        q2                                  CODE_1 CODE_2 CODE_3       q3
   4513    Mountain                                  3           name on side                                                 2                         2
   4515    Kawasaki                                  4           Green color and Monster sponsors Kawasaki                    3      9                  1
                                                                 WSB team
   4516     Mountain                                 3           It is printed on it                                          2                        1
   4533     no idea                                  10          without holding in my hand, can't judge quality              9                        2

   4534     monster                                   2               written on the side of the flashlight                    2                       2
   4539     I DONT KNOW                               10              I DONT KNOW                                             10                       1

   4540     mountain                                  3               the name on the tool                                    2                        2
   4550     Monster energy drink                      1               colors and name                                         2      3                 2
   4552     MOUNTAIN                                  3               MOUNTAIN IS ON THE SIDE OF THE                          2                        3
                                                                      LIGHT
   4553     snap on philip                            4               its has the abilty to apply a wrench for better         3                        2
                                                                      leverage
   4573     Mountain                                  3               name on the screwdriver                                 2                        2
   4582     MONSTER                                   2               HAS MONSTER ON IT                                       2                        2
   4583     mountain                                  3               the word mountain on the side                           2                        2
   4596     MONSTER                                   2               WRITEN ON IT                                            2                        2
   4611     Mountain                                  3               That is the name written on the handle                  2                        2
   4629     ATD                                       4               It looks like their style                               3                        3
   4631     monster                                   2               On Handle                                               2                        1
   4634     Mountain                                  3               It's on the grip                                        2                        2
   4636     MOUNTAIN                                  3               nAME ON sCREW dRIVER                                    2                        2

   4640     mountain                                  3               because of the emblem                                   3                        2
   4642     Matco                                     4               Handleshape and color                                   3                        3
   4646     Monster                                   2               The name is on the light!                               2                        2
   4650     Mountain                                  3               It is branded with Mountain on the side. It may         2      9                 2
                                                                      simply be a style rather than brand....but if it is
                                                                      not the brand then it is a missed opportunity to
                                                                      promote the brand.




   4653     monster                                   2               it says monster on device                               2                        1



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                                                           Q4_    Q4_                                                   Q5_    Q5_
responseid                        q4                      CODE_1 CODE_2                            q5                  CODE_1 CODE_2   q6
   4513                                                                                                                                 3
   4515    Sells power sports equipment and Motorcycles     9             I KNOW that                                    9              1

   4516     Snap on                                         4             My dealer says so                              9             1
   4533                                                                                                                                3

   4534                                                                                                                                3
   4539     ENERGY DRINK                                    1             I HAVE SEEN THE MONSTER LOGO ON                3      4      3
                                                                          CANNED DRINK
   4540                                                                                                                                1
   4550                                                                                                                                1
   4552                                                                                                                                2

   4553                                                                                                                                2

   4573                                                                                                                                3
   4582                                                                                                                                3
   4583                                                                                                                                1
   4596                                                                                                                                1
   4611                                                                                                                                3
   4629                                                                                                                                3
   4631     hand tools                                      6             I believe i have seen them in store before     4             1
   4634                                                                                                                                3
   4636                                                                                                                                1

   4640                                                                                                                                3
   4642                                                                                                                                3
   4646                                                                                                                                3
   4650                                                                                                                                1




   4653     energy drinks                                   1             its color and logo is similar                  3             1



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                                                                 Q7_    Q7_                                                           Q8_    Q8_
responseid                    q7                                CODE_1 CODE_2                              q8                        CODE_1 CODE_2   q9
   4513                                                                                                                                               2
   4515    Yamaha MotoGP team                                     4             Never miss a race                                      9              1

   4516     Mountain                                              3             It’s printed on the item                               2             2
   4533                                                                                                                                              2

   4534                                                                                                                                              2
   4539                                                                                                                                              2

   4540     tool company                                          6             I don't know                                           10            2
   4550     monstor energy                                        1             colors and name                                         2     3      2
   4552                                                                                                                                              2

   4553                                                                                                                                              2

   4573                                                                                                                                              2
   4582                                                                                                                                              2
   4583     i do not know                                         10            i never heard of mountain                               9            2
   4596     NO ONE                                                10            NO OTHER NAME                                          10            2
   4611                                                                                                                                              3
   4629                                                                                                                                              2
   4631     MAC or Matco                                          4             Color                                                  3             2
   4634                                                                                                                                              2
   4636     hOW WOULD i KNOW                                      10            pROBABLY MADE IN cHINA MOST STUFF                      9             2
                                                                                IS
   4640                                                                                                                                              2
   4642                                                                                                                                              2
   4646                                                                                                                                              2
   4650     It is difficult to say who specifically. However,     4      9      It is an unknown brand and must be introduced to       9      3      2
            any product introduction requires communication                     the marketplace. The light is interesting. It is a
            and evangalizing to build awareness. My guess                       flashlight and also a spotlight. Assuming both
            is that it is unlikely a major tool manufacturer                    are LED which is the only way to go.
            such as Snap-on or Mac would sponsor this
            product. But smaller brands and manufacturers
            such as auto parts stores would.

   4653     whoever owns monster                                  1             because of color and name on device                    2      3      2



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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   4513        3          6       2      60148            1
   4515        3          4       2      93532            1

   4516         3         4          2   55347            1
   4533         3         4          2   77054            1

   4534         3         4          2   27858            1
   4539         3         4          2   69101            1

   4540         3         4          2   21157            1
   4550         3         4          2   45406            1
   4552         3         4          2   18211            1

   4553         3         4          2   2920             1

   4573         3         4          2    3258            1
   4582         3         4          2   49707            1
   4583         3         4          2    8512            1
   4596         3         4          2   60193            1
   4611         3         4          2   85301            1
   4629         3         4          2   13790            1
   4631         3         4          2   30909            1
   4634         3         4          2   97223            1
   4636         3         4          2   47715            1

   4640         3         4          2   76105            1
   4642         3         4          2    8077            1
   4646         3         4          2   80504            1
   4650         3         4          2   80403            1




   4653         3         4          2   80228            1



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                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   4654        1/5/2018 9:03     2        1    2   95828      4      1    1      1      1      1      1      2         2
   4656        1/5/2018 9:32     2        1    2   15001      1      1    1      1      1      1      1      2         2
   4658        1/5/2018 9:11     2        1    2   55330      2      1    1      3      1      1      1      2         2
   4659        1/5/2018 9:08     2        1    2   77474      3      1    1      1      1      1      1      1         2
   4665        1/5/2018 9:32     2        1    2   76015      3      1    1      3      1      2      1      1         2
   4666        1/5/2018 9:33     2        1    2   80215      4      1    1      1      1      1      1      2         2
   4667        1/5/2018 9:36     2        2    2   76849      3      1    1      1      1      1      1      1         1



   4670        1/5/2018 9:50         2   1    2    18465     1      1     1      1      1      1      1      2         2
   4681       1/5/2018 10:14         2   1    2    19083     1      1     1      1      1      1      1      1         2
   4695       1/5/2018 10:45         2   1    2    90250     4      1     1      1      2      1      1      2         2



   4701       1/5/2018 11:09         2   1    2    95060     4      1     1      1      1      1      1      1         2
   4702       1/5/2018 11:08         2   1    2    66006     2      1     1      1      1      1      1      1         2
   4723       1/5/2018 12:25         2   1    2    19939     3      1     1      1      1      1      1      1         2
   4724       1/5/2018 12:29         2   1    2    42701     3      1     1      1      1      1      1      1         2
   4725       1/5/2018 12:27         2   1    2    29620     3      1     1      1      1      1      1      1         2
   4732       1/5/2018 12:58         2   1    2    85122     4      1     1      1      1      1      1      2         2
   4740       1/5/2018 13:25         2   1    2    7094      1      1     1      1      1      1      1      2         2
   4743       1/5/2018 13:28         2   1    2    76522     3      1     1      1      1      1      1      1         2
   4772       1/5/2018 15:11         1   1    2    11372     1      1     1      1      1      1      1      2         2

   4782       1/5/2018 15:19         1   1    2    63025     2      1     1      1      1      1      2      2         2
   4787       1/5/2018 15:42         2   1    2    31901     3      1     1      1      1      1      1      1         1

   4797       1/5/2018 16:34         2   1    2    21502     3      1     1      1      1      1      1      2         2
   4798       1/5/2018 16:42         2   1    2    53405     2      1     1      1      1      1      1      3         2



   4813       1/5/2018 18:41         2   1    2    21207     3      1     1      1      1      1      1      1         2
   4815       1/5/2018 19:14         2   1    2    45891     2      1     1      1      1      1      1      2         2
   4823       1/5/2018 20:01         2   1    2    68662     2      1     1      1      1      1      1      1         2



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                                                        Survey Data File



responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   4654        2         1            1      1      1                                                                      2          2
   4656        2         2            2      2      2                                                                      2          2
   4658        1         2            2      2      2                                                                      2          2
   4659        2         2            1      2      1                                                                      2          2
   4665        1         1            2      2      2                                                                      2          2
   4666        2         2            2      2      2                                                                      2          2
   4667        2         1            1      1      1                                                                      2          2



   4670         2         2           2      2      2                                                                      2           2
   4681         1         1           2      2      2                                                                      2           2
   4695         2         2           2      2      2                                                                      2           2



   4701         1         1           2      2      2                                                                      2           2
   4702         1         1           2      2      1                                                                      2           2
   4723         1         2           2      1      2                                                                      2           2
   4724         3         2           2      1      1                                                                      2           2
   4725         2         2           2      2      1                                                                      2           2
   4732         2         2           2      2      2                                                                      2           2
   4740         1         2           1      1      1                                                                      2           2
   4743         1         2           2      1      2                                                                      2           2
   4772         1         2           2      2      2                                                                      2           2

   4782         2         2           2      2      2      1       1       1       1       1       1       2       2       2           2
   4787         1         2           2      2      1                                                                      2           2

   4797         2         2           2      2      2                                                                      2           2
   4798         3         3           2      2      2                                                                      2           2



   4813         1         1           2      2      2                                                                      2           2
   4815         2         2           2      2      2                                                                      2           2
   4823         1         2           2      2      2                                                                      2           2



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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   4654        2                             2              1     1       2      1    202      1
   4656        2                             2              1     1       1           101      1
   4658        2                      2      2        2     1     1       1           606      1
   4659        2                             2              1     2                   101      1
   4665        2                      2      2        2     1     1      1            606      1
   4666        2                             2              1     1      1            202      1
   4667        2          2                  2   2          1     1      1            404      1



   4670         2                           2               1      2                  202     1
   4681         2                     2     2         2     1      1     1            505     1
   4695         2                           2               1      1     1            101     1



   4701         2                     2     2         2     2      1     1            606     1
   4702         2                     2     2         2     1      1     1            505     1
   4723         2                     2     2         2     1      1     1            505     1
   4724         2                           2               2      1     1            101     1
   4725         2                           2               2      2                  101     1
   4732         2                           2               1      1     1            202     1
   4740         2                     2     2         2     1      1     1            606     1
   4743         2                     2     2         2     1      1     1            606     1
   4772         2                     2     2         2     2      1     1            505     1

   4782                   2                      2          1      1     1            303     1
   4787         2         2           2     3    2    2     1      2                  404     1

   4797         2                           2               2      1     1            202     1
   4798         2                           2               2      2                  202     1



   4813         2                     2     2         2     3      1     1            606     1
   4815         2                           2               3      1     1            101     1
   4823         2                     2     2         2     1      1     1            606     1



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                                                          Survey Data File


                                                  Q1_    Q1_                                                      Q2_    Q2_    Q2_
responseid                       q1              CODE_1 CODE_2                          q2                       CODE_1 CODE_2 CODE_3      q3
   4654      Mountain                              3           The name                                             2                       3
   4656      mac                                   4           guess                                               10                       3
   4658      MOUNTAIN                              3           CAUSE NAME ON HANDLE                                 2                       2
   4659      Monster                               2           The brand name is on the handle.                     2                       2
   4665      don't know                            10          not sure                                            10                       2
   4666      Mountain                              3           Logo on the product                                  3                       2
   4667      Mobile                                9           on the front in the bottom by the decal or emblem    2                       3
                                                               skull with wings there is a small word and that
                                                               word is Mobile

   4670      Mountain                               3             The insignia on the handle                         3                     2
   4681      monster                                2             name on light                                      2                     2
   4695      Monster                                2             It is the only visible brand name on the tool      2                     1



   4701      mountain                               3             name on flashlight                                  2                    3
   4702      monster                                2             written on tool.                                    2                    2
   4723      monster lighting                       5             the name on the light                               2                    1
   4724      monster                                2             name on handle                                      2                    3
   4725      Monster                                2             It is written upon it.                              2                    2
   4732      mountain                               3             Name on handle                                      2                    2
   4740      mountain                               3             the name is on it                                   2                    2
   4743      mountain                               3             dont know                                          10                    3
   4772      Monster                                2             The brand is written on the handle                  2                    2

   4782      Monster                                2             the name on the tumbler                            2                     1
   4787      i dont know                            10            never seen it before                               9                     2

   4797      Mountain                               3             The name is clearly printed on the handle          2                     2
   4798      mountain                               3             that is the name on the handle of the tool shown   2                     1
                                                                  in the picture


   4813      Mountain                               3             Name on the side of the item                       2                     2
   4815      Monster                                2             Says monster on handle                             2                     2
   4823      MOUNTAIN                               3             THE WORD ON THE ITEM.                              2                     2



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                                                                  Q4_    Q4_                                                       Q5_    Q5_
responseid                          q4                           CODE_1 CODE_2                          q5                        CODE_1 CODE_2   q6
   4654                                                                                                                                            1
   4656                                                                                                                                            3
   4658                                                                                                                                            3
   4659                                                                                                                                            3
   4665                                                                                                                                            3
   4666                                                                                                                                            3
   4667                                                                                                                                            1



   4670                                                                                                                                           3
   4681                                                                                                                                           3
   4695      Energy Drinks                                         1             Common Knowledge                                   9             1



   4701                                                                                                                                           1
   4702                                                                                                                                           3
   4723      not sure                                              10            I don't knew                                       10            3
   4724                                                                                                                                           3
   4725                                                                                                                                           3
   4732                                                                                                                                           1
   4740                                                                                                                                           1
   4743                                                                                                                                           3
   4772                                                                                                                                           1

   4782      Yetti                                                 4             Advertising                                        4             1
   4787                                                                                                                                           1

   4797                                                                                                                                           3
   4798      ford spark plug insert kit with the mountain name     4      3      I have seen them with my own eyes while            4      9      3
             on it, i have seen other tools with the same name                   searching tool web sites (tooltopia.com) I own
             as well                                                             the mountain branded spark plug insert kit for
                                                                                 ford vehicles
   4813                                                                                                                                           3
   4815                                                                                                                                           3
   4823                                                                                                                                           3



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                                                                 Q7_    Q7_                                                      Q8_    Q8_
responseid                           q7                         CODE_1 CODE_2                         q8                        CODE_1 CODE_2   q9
   4654    I don't know                                           10          Not sure                                            10             2
   4656                                                                                                                                          2
   4658                                                                                                                                          2
   4659                                                                                                                                          2
   4665                                                                                                                                          2
   4666                                                                                                                                          2
   4667    I'm not really sure..I believe Mobile gas was           9           The skull and wings. It seems to be outdoorsy      3      9       2
           spelled differently and I think they have been out
           of business for years now. Perhaps a Motorcycle
           or ATV business
   4670                                                                                                                                         2
   4681                                                                                                                                         2
   4695    Some Hardware Company                                   6           Monster is not known for manufacturing tools.      9      5      2
                                                                               They probably collaborated with a tool
                                                                               manufacturer the put their name on that
                                                                               manufacturer's tool.
   4701     do not know                                           10           do not know                                        10            2
   4702                                                                                                                                         2
   4723                                                                                                                                         2
   4724                                                                                                                                         2
   4725                                                                                                                                         2
   4732     Harbor Freight                                        4            Looks inexpensive                                  9             2
   4740     not sure                                              10           no other logo                                      3             2
   4743                                                                                                                                         3
   4772     monster energy drink                                   1           the name on the handle and the color scheme        2      3      2

   4782     Monster energy drinks                                  1           Advertising                                        4             2
   4787     matco tools                                            4           i have seen mountain fan products on the truck     4             2

   4797                                                                                                                                         2
   4798                                                                                                                                         2



   4813                                                                                                                                         2
   4815                                                                                                                                         2
   4823                                                                                                                                         2



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                                                                                                                                                 EX1-149
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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   4654        3          4       2      95828            1
   4656        3          4       2      15001            1
   4658        3          4       2      55330            1
   4659        3          4       2      77474            1
   4665        3          4       2      76015            1
   4666        3          4       2      80215            1
   4667        3          4       2      76849            1



   4670         3         4          2   18465            1
   4681         3         4          2   19083            1
   4695         3         4          2   90250            1



   4701         3         4          2   95060            1
   4702         3         4          2   66006            1
   4723         3         4          2   19939            1
   4724         3         4          2   42701            1
   4725         3         4          2   29620            1
   4732         3         4          2   85122            1
   4740         3         4          2    7094            1
   4743         3         4          2   76522            1
   4772         3         4          2   11372            1

   4782         3         4          2   63025            1
   4787         3         4          2   31901            1

   4797         3         4          2   21502            1
   4798         3         4          2   53405            1



   4813         3         4          2   21207            1
   4815         3         4          2   45891            1
   4823         3         4          2   68662            1



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                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   4831       1/5/2018 21:04     2        1    2   45202      2      1    1      1      1      2      1      2         2
   4851        1/6/2018 6:02     2        1    2   92020      4      1    1      1      1      1      1      1         3
   4868        1/6/2018 7:54     2        1    2   61873      2      1    1      1      1      1      1      2         2

   4897       1/6/2018 14:35         2   1    2    21161     3      1     1      1      1      1      1      1         3
   4909       1/6/2018 19:03         2   1    2    88435     4      1     1      1      1      2      1      2         2




   4959       1/7/2018 21:27         1   1    2    96706     4      1     1      3      1      1      1      2         2
   4960       1/7/2018 21:55         1   1    2    33579     3      1     1      1      1      1      1      2         2
   4962        1/8/2018 0:51         2   1    2    80102     4      1     1      1      1      1      1      1         1

   4965       1/8/2018 5:01          2   1    2    23824     3      1     1      1      1      1      2      2         2
   4983       1/8/2018 6:59          2   1    2    98404     4      1     1      3      1      1      1      2         2




   4986       1/8/2018 6:46          2   1    2    19464     1      1     1      1      1      2      1      2         2
   4991       1/8/2018 7:10          2   1    2    37110     3      1     1      1      1      1      1      1         1
   4995       1/8/2018 7:12          2   1    2    29708     3      1     1      2      1      1      1      2         2
   4996       1/8/2018 7:30          2   1    2    44077     2      1     1      1      1      1      1      1         2
   5011       1/8/2018 8:40          2   1    2    23666     3      1     1      1      1      1      1      2         2


   5014       1/8/2018 8:45          2   2    2    60527     2      1     1      1      1      1      1      1         2

   5032       1/8/2018 10:19         2   1    2    33952     3      1     1      1      1      3      1      3         1

   5036       1/8/2018 10:35         2   1    2    89431     4      1     1      1      1      1      1      1         2
   5037       1/8/2018 10:38         2   1    2    28205     3      1     1      1      1      1      1      1         2
   5041       1/8/2018 10:39         2   1    2    7204      1      1     1      1      1      1      1      2         2
   5042       1/8/2018 10:40         2   2    2    80132     4      1     1      1      1      1      1      1         2
   5047       1/8/2018 10:54         2   1    2    52742     2      1     1      1      1      1      2      2         2



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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   4831        1         2            2      2      2                                                                      2          2
   4851        1         1            1      1      2                                                                      2          2
   4868        2         2            2      2      2                                                                      2          2

   4897         1         1           1      1      1                                                                      2           2
   4909         1         2           2      2      2                                                                      2           2




   4959         2         2           2      2      2                                                                      2           2
   4960         2         2           2      2      1                                                                      2           2
   4962         1         2           2      2      2                                                                      2           2

   4965         2         2           1      1      2      2       1       1       1       2       2       2       2       2           2
   4983         2         2           2      2      2                                                                      2           2




   4986         1         1           2      2      2                                                                      2           2
   4991         1         1           1      1      1                                                                      2           2
   4995         1         2           2      2      2                                                                      2           2
   4996         1         1           2      1      2                                                                      2           2
   5011         2         2           2      2      2                                                                      2           2


   5014         1         1           2      2      2                                                                      2           2

   5032         3         3           1      1      1                                                                      2           2

   5036         1         1           2      2      2                                                                      2           2
   5037         1         1           1      1      1                                                                      2           2
   5041         2         2           2      2      2                                                                      2           2
   5042         1         1           2      2      2                                                                      2           2
   5047         2         1           2      1      2      1       1       1       1       1       1       1       1       2           2



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                                                        Survey Data File



responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   4831        2                      2      2        2     2     1       1           505      1
   4851        2                      2      2        2     3     2                   505      1
   4868        2                             2              3     2                   202      1

   4897         2                     2     2         2     1      2                  101     1
   4909         2                     2     2         2     2      2                  505     1




   4959         2                           2               1      1     1            202     1
   4960         2                           2               3      1     1            101     1
   4962         2         2           2     2    2    2     1      2                  404     1

   4965                   2                      2          1      1     1            303     1
   4983         2                           2               2      2                  202     1




   4986         2                     2     2         2     1      2                  606     1
   4991         2         2           2     2    2    2     1      2                  303     1
   4995         2                     2     2         2     1      1     1            505     1
   4996         2                     2     2         2     1      1     1            606     1
   5011         2                           2               2      2                  101     1


   5014         2                     2     2         2     1      1     1            505     1

   5032         2         2                 2    2          1      2                  404     1

   5036         2                     2     2         2     1      2                  606     1
   5037         2                     2     2         2     1      1     1            101     1
   5041         2                           2               1      2                  202     1
   5042         2                     2     2         2     1      2                  505     1
   5047                   2                      2          2      2                  303     1



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                                                        Survey Data File


                                                           Q1_    Q1_                                                           Q2_    Q2_    Q2_
responseid                        q1                      CODE_1 CODE_2                        q2                              CODE_1 CODE_2 CODE_3       q3
   4831    monster                                          2           the name on the handle                                   2                         2
   4851    Monter                                           2           Tha name                                                 2                         1
   4868    Mountain                                         3           The name is on the handle                                2                         2

   4897     Monster                                          2             marked on tool                                        2                        1
   4909     monster                                          2             The fact that it has the word "Monster" written       2      3                 1
                                                                           on the side of the light in lime green lettering
                                                                           leads me to believe that would most likely be the
                                                                           brand, but I could be mistaken, and that could be
                                                                           a model.
   4959     Mountain                                         3             Name is imprinted on the handle                       2                        2
   4960     Monster tools                                    5             The logo listed on the side of the product            3                        2
   4962     Rocky Mountain tumbler                           4             Seen one similar at a store only had Rocky            4                        2
                                                                           Mountain tumbler on it
   4965     Monster                                          2             The bold name                                         2                        1
   4983     DeWalt Black & Decker                            4             Has a familiar corporate design style                 3                        1




   4986     Mountain?                                        3             The name printed on the side                          2                        2
   4991     a tool truck                                     9             I have seen them                                      4                        1
   4995     Monster                                          2             logo                                                  3                        1
   4996     Mountain                                         3             The name on the item                                  2                        2
   5011     Monster brand is shown but I'm not sure who      2        9    I can see it's brand is Monster but I know off        9      2                 2
            makes it for Monster if any                                    brands are sometimes made by large tool
                                                                           companies
   5014     MONSTER                                          2             THE NAME IS ON THE SIDE OF THE                        2                        2
                                                                           FLASHLIGHT
   5032     mountain                                         3             the name is outstanding                               2                        2

   5036     Mountain                                        3              Name on the handle                                    2                        2
   5037     monster                                         2              name on it                                            2                        1
   5041     Mountain                                        3              The name on the tool                                  2                        2
   5042     Monster, we have a Monster floor jack           5         2    we own a Monster floor jack                           4                        1
   5047     dont know                                       10             Answered wrong before                                 9                        1



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                                                                   Q4_    Q4_                                                        Q5_    Q5_
responseid                           q4                           CODE_1 CODE_2                             q5                      CODE_1 CODE_2   q6
   4831                                                                                                                                              1
   4851    Matco,snap on                                            4             The pay for advertising                             4              1
   4868                                                                                                                                              1

   4897     video cables                                            9             I saw product in store.                             4             3
   4909     I have seen monster brand products in a tool            5      9      I sometimes just think stuff, I guess.              9             3
            truck. There is also monster energy drinks, but I
            don't think there's any affiliation, but I could be
            wrong, or possibly mistaken.

   4959                                                                                                                                             1
   4960                                                                                                                                             3
   4962                                                                                                                                             3

   4965     Energy Drinks                                           1             Used the product                                    4             1
   4983     Stanley power & hand tools, DeWalt tools, Black         4      6      Name & brand recognition as well as owning          4             1
            & Decker household tools and hardware                                 tools from each of their divisions Power tools,
                                                                                  hand tools, and other household equipment



   4986                                                                                                                                             2
   4991     not sure                                                10            I can only think of power tools                     5             1
   4995     energy drink                                            1             same name, similar colors                           2      3      1
   4996                                                                                                                                             3
   5011                                                                                                                                             1


   5014                                                                                                                                             3

   5032                                                                                                                                             1

   5036                                                                                                                                             2
   5037     energy drinks                                           1             had them before                                     4             1
   5041                                                                                                                                             3
   5042     Floor jacks                                             6             We own one                                          4             3
   5047     energy drinks                                           1             the name                                            2             3



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                                                             Survey Data File


                                                     Q7_    Q7_                                                              Q8_    Q8_
responseid                         q7               CODE_1 CODE_2                          q8                               CODE_1 CODE_2   q9
   4831    Monster                                    2           the logo on the handle                                      3              2
   4851    Marketing bender                           9           To sell the flashlight                                      9              2
   4868    Mac tools                                  4           It looks like a cheap screwdriver and I think of            9              2
                                                                  mac tools as cheap and poor quality.
   4897                                                                                                                                     2
   4909                                                                                                                                     2




   4959     not really sure                            10              I never heard of the brand before                      9             2
   4960                                                                                                                                     2
   4962                                                                                                                                     2

   4965     none                                       10              don't know                                             10            2
   4983     Craftsman                                  4               Because Sears & Kmarts are closing all over the         9     5      2
                                                                       place and I read somewhere that Stanley/Black &
                                                                       Decker might buy The Craftsman brand, kinda
                                                                       seems like Stanley/B&D would roll out a new
                                                                       line of tools in the process

   4986                                                                                                                                     2
   4991     Yeti                                       4               they started the deals                                  9            2
   4995     n/a                                        10              n/a                                                    10            2
   4996                                                                                                                                     2
   5011     Snap on or Mac tools                       4               They're large tool corporations and the hex on         3      5      2
                                                                       the screwdriver part looks like a snap on style

   5014                                                                                                                                     2

   5032     stainless steel                            9               because they supply the stainless steel to make it     9             2

   5036                                                                                                                                     2
   5037     not sure                                   10              not sure                                               10            2
   5041                                                                                                                                     2
   5042                                                                                                                                     2
   5047                                                                                                                                     2



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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   4831        3          4       2      45202            1
   4851        3          4       2      92020            1
   4868        3          4       2      61873            1

   4897         3         4          2   21161            1
   4909         3         4          2   88435            1




   4959         3         4          2   96706            1
   4960         3         4          2   33579            1
   4962         3         4          2   80102            1

   4965         3         4          2   23824            1
   4983         3         4          2   98404            1




   4986         3         4          2   19464            1
   4991         3         4          2   37110            1
   4995         3         4          2   29708            1
   4996         3         4          2   44077            1
   5011         3         4          2   23666            1


   5014         3         4          2   60527            1

   5032         3         4          2   33952            1

   5036         3         4          2   89431            1
   5037         3         4          2   28205            1
   5041         3         4          2    7204            1
   5042         3         4          2   80132            1
   5047         3         4          2   52742            1



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                                                            #:2761
                                                        Survey Data File

                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   5053       1/8/2018 11:03     2        1    2   11570      1      1    1      1      1      1      1      2         2
   5059       1/8/2018 11:14     2        1    2   72058      3      1    1      2      1      2      1      2         2
   5072       1/8/2018 11:48     2        1    2   15065      1      1    1      1      1      1      1      2         1
   5092       1/8/2018 13:06     2        1    2   60527      2      1    1      2      1      1      1      1         2
   5095       1/8/2018 13:40     2        1    2   95350      4      1    1      1      1      1      1      2         2
   5114       1/8/2018 16:34     2        1    2   70663      3      1    1      1      1      1      1      2         2

   5117       1/8/2018 18:18         2   1    2    47714     2      1     1      1      1      2      1      2         2
   6134       1/9/2018 11:20         2   1    2    6010      1      1     1      1      1      1      1      2         2

   6137       1/9/2018 11:46         1   2    2    91709     4      1     1      1      1      1      1      2         2
   6144       1/9/2018 13:05         2   1    2    91776     4      1     1      1      1      1      1      1         2
   6146       1/9/2018 13:11         2   1    2    56347     2      1     1      1      1      1      1      2         2
   6157       1/9/2018 15:50         2   1    2    18045     1      1     1      1      1      1      1      3         2
   6168       1/9/2018 17:42         2   1    2    48731     2      1     1      1      1      1      1      2         2
   6200       1/10/2018 8:44         2   1    2    11782     1      1     1      1      1      1      1      2         2
   6214      1/10/2018 12:08         2   1    2    98133     4      1     1      1      1      1      1      2         2
   6290       1/11/2018 8:45         2   1    2    19977     3      1     1      1      1      1      1      2         2
   6293       1/11/2018 8:45         2   1    2    11237     1      1     1      1      1      1      1      2         2
   6294       1/11/2018 8:51         2   1    2    56484     2      1     1      1      1      1      1      2         2


   6303       1/11/2018 9:13         2   1    2    85323     4      1     1      1      1      1      1      2         2
   6310       1/11/2018 9:11         2   1    2    34652     3      1     1      3      1      1      1      2         2
   6312       1/11/2018 9:08         2   1    2    37066     3      1     1      1      1      2      1      1         1
   6315       1/11/2018 9:18         2   1    2    45601     2      1     1      1      1      1      1      1         2
   6316       1/11/2018 9:14         2   1    2    13495     1      1     1      1      1      3      1      1         2
   6321       1/11/2018 9:26         2   1    2    29223     3      1     1      1      1      1      1      2         2
   6330       1/11/2018 9:58         2   1    2    45246     2      1     1      1      1      1      1      1         2

   6343      1/11/2018 11:53         2   1    2    73067     3      1     1      1      1      1      1      2         2
   6345      1/11/2018 12:11         2   1    2    43228     2      1     1      1      1      1      1      3         2
   6347      1/11/2018 13:20         2   1    2    44833     2      1     1      1      1      1      1      1         1
   6350      1/11/2018 14:07         2   1    2    68714     2      1     1      1      1      2      1      2         2




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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   5053        2         2            2      2      2                                                                      2          2
   5059        1         1            2      2      2                                                                      2          2
   5072        1         1            2      2      2                                                                      2          2
   5092        1         1            1      1      1                                                                      2          2
   5095        1         2            2      2      2                                                                      2          2
   5114        1         1            2      2      2                                                                      2          2

   5117         2         2           2      2      2                                                                      2           2
   6134         2         1           2      2      2                                                                      2           2

   6137         1         1           2      2      2                                                                      2           2
   6144         1         1           2      2      1                                                                      2           2
   6146         2         2           2      2      2                                                                      2           2
   6157         1         2           2      2      2                                                                      2           2
   6168         2         2           2      2      2                                                                      2           2
   6200         2         2           2      1      2                                                                      2           2
   6214         1         1           2      2      2                                                                      2           2
   6290         2         2           2      2      2                                                                      2           2
   6293         2         2           2      1      2                                                                      2           2
   6294         2         2           2      2      2                                                                      2           2


   6303         1         2           2      2      2                                                                      2           2
   6310         2         2           2      2      2                                                                      2           2
   6312         1         2           2      2      1                                                                      2           2
   6315         2         1           2      1      2                                                                      2           2
   6316         1         1           2      3      2                                                                      2           2
   6321         1         2           2      2      2                                                                      2           2
   6330         1         1           2      2      2                                                                      2           2

   6343         2         2           2      2      2                                                                      2           2
   6345         1         2           2      1      2                                                                      2           2
   6347         1         1           2      1      1                                                                      2           2
   6350         1         2           2      2      2                                                                      2           2




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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   5053        2                             2              1     2                   101      1
   5059        2                      2      2        2     1     1      1            505      1
   5072        2          2           2      2   2    2     1     2                   404      1
   5092        2                      2      2        2     1     1      1            606      1
   5095        2                      2      2        2     1     1      1            505      1
   5114        2                      2      2        2     1     1      1            606      1

   5117         2                           2               2      1     1            101     1
   6134         2                           2               2      1     1            202     1

   6137         2                     2     2         2     1      2                  505     1
   6144         2                     1     2               1      2                  202     1
   6146         2                           2               3      1     1            101     1
   6157         2                     2     2         2     1      1     1            606     1
   6168         2                           2               2      1     1            101     1
   6200         2                           2               1      1     1            202     1
   6214         2                     2     2         2     1      2                  606     1
   6290         2                           2               1      2                  202     1
   6293         2                           2               1      1     1            202     1
   6294         2                           2               2      2                  101     1


   6303         2                     2     2         2     1      1     1            505     1
   6310         2                           2               1      2                  101     1
   6312         2         2           2     2    2    2     1      1     1            303     1
   6315         2                           2               1      1     1            101     1
   6316         2                     2     2         2     1      2                  606     1
   6321         2                     2     2         2     1      2                  505     1
   6330         2                     2     2         2     1      2                  606     1

   6343         2                           2               1      2                  202     1
   6345         2                     2     2         2     1      1     1            505     1
   6347         2         2           2     2    2    2     1      1     1            303     1
   6350         2                     2     2         2     1      2                  606     1




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                                                 Q1_    Q1_                                                           Q2_    Q2_    Q2_
responseid                         q1           CODE_1 CODE_2                        q2                              CODE_1 CODE_2 CODE_3       q3
   5053      Monster                              2           Name on product .                                        2                         1
   5059      monster                              2           lodo                                                     3                         1
   5072      Thermos                              4           Design                                                   3                         3
   5092      MOUNTAIN                             3           NAME ON LIGHT                                            2                         2
   5095      Unknown                              10          It has no manufacturer name visable                      9                         2
   5114      AUTOZONE                             4           NAME ON HANDLE                                           2                         3

   5117      mac                                   4              Handle & color pattern                               3                        1
   6134      tool manufacturer, mountain           3              PHILLIPS SCREWDRIVER, NAME ON                        2                        2
                                                                  HANDLE
   6137      Monster                               2              It says Monster on the handle                        2                        2
   6144      Mountain                              3              Logo across the handle                               3                        2
   6146      Mac tool                              4              Starts with m                                        9                        2
   6157      mountrin                              3              The name on the light.                               2                        3
   6168      monster                               2              lable                                                2                        2
   6200      Gearwrench                            4              New product                                          9                        2
   6214      mountain                              3              the large mountain logo                              3                        2
   6290      Mountain                              3              The Label on the Handle                              2                        2
   6293      mountain                              3              label on the handle                                  2                        2
   6294      Snap On                               4              They like to do sponsored promotions and the         9      3                 1
                                                                  screw driver has a hex base so a wrench could be
                                                                  used for extra leverage
   6303      Monster Mobile                        5              Monster Mobile                                       9                        2
   6310      monster                               2              the monogram on the handle                           3                        2
   6312      MONSTER                               2              THE NAME IS ON THE BOX                               2                        2
   6315      matco                                 4              mac tools - looks like a mac tool product            3                        2
   6316      MOUNTAIN                              3              ITS LABELED MOUNTAIN                                 2                        2
   6321      do not know                           10             first time seeing this product                       9                        2
   6330      Mountain                              3              Labeled on handle as Mountain                        2                        2

   6343      mountain                              3              its label                                             2                       2
   6345      monster                               2              it has a label                                        2                       2
   6347      mobile                                9              name on box                                           2                       2
   6350      Dont Know                             10             no comment                                           10                       3




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                                                            Q4_    Q4_                                        Q5_    Q5_
responseid                          q4                     CODE_1 CODE_2                        q5           CODE_1 CODE_2   q6
   5053    Don't know .                                      10          Never heard of monster .              9              3
   5059    i have on almost like it,just somewhat larger     9           green color and the logo"monster"     3      2       3
   5072                                                                                                                       3
   5092                                                                                                                       3
   5095                                                                                                                       1
   5114                                                                                                                       1

   5117     Full line of hand tools                           6              Why make just screw drivers       9             1
   6134                                                                                                                      3

   6137                                                                                                                      3
   6144                                                                                                                      3
   6146                                                                                                                      3
   6157                                                                                                                      3
   6168                                                                                                                      3
   6200                                                                                                                      3
   6214                                                                                                                      3
   6290                                                                                                                      2
   6293                                                                                                                      1
   6294     Full line of hand tools                           6              NA                                10            1


   6303                                                                                                                      2
   6310                                                                                                                      3
   6312                                                                                                                      1
   6315                                                                                                                      3
   6316                                                                                                                      3
   6321                                                                                                                      3
   6330                                                                                                                      1

   6343                                                                                                                      1
   6345                                                                                                                      3
   6347                                                                                                                      3
   6350                                                                                                                      1




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                                                            Q7_    Q7_                                                   Q8_    Q8_
responseid                       q7                        CODE_1 CODE_2                           q8                   CODE_1 CODE_2   q9
   5053                                                                                                                                  2
   5059                                                                                                                                  2
   5072                                                                                                                                  2
   5092                                                                                                                                  2
   5095    Monster energy drinks                             1             The logo                                       3              1
   5114    O REILLY AUTO PARTS                               4             IT IS THE TYPE OF THING THEY SELL ON           9              3
                                                                           RACKS NEAR CASH REGISITOR
   5117     Monster energy                                   1             name & logo design                             2      3      2
   6134                                                                                                                                 2

   6137                                                                                                                                 2
   6144                                                                                                                                 2
   6146                                                                                                                                 2
   6157                                                                                                                                 2
   6168                                                                                                                                 3
   6200                                                                                                                                 2
   6214                                                                                                                                 2
   6290                                                                                                                                 2
   6293     snapon                                           4             shape of the tool                              3             2
   6294     Monster Energy Drink                             1             It says Monster on it and has their colors     2      3      2


   6303                                                                                                                                 2
   6310                                                                                                                                 2
   6312     YETI                                             4             HIGH QUALITY AND WELL KNOWN                    9             2
   6315                                                                                                                                 3
   6316                                                                                                                                 2
   6321                                                                                                                                 2
   6330     Unsure. Most companies are approved by other     10            General knowledge                              9             2
            companites
   6343     don't know                                       10            no other labeling                              9             2
   6345                                                                                                                                 2
   6347                                                                                                                                 2
   6350     Snap-ON                                          4             Looks like other ones similar to this one      3             1




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                                                        Survey Data File



responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   5053        3          4       2      11570            1
   5059        4          4       2      72058            1
   5072        3          4       2      15065            1
   5092        3          4       2      60527            1
   5095        3          4       2      95350            1
   5114        3          4       2      70663            1

   5117         3         4          2   47714            1
   6134         3         4          2    6010            1

   6137         3         4          2   91709            1
   6144         3         4          2   91776            1
   6146         3         4          2   56347            1
   6157         3         4          2   18045            1
   6168         3         4          2   48731            1
   6200         3         4          2   11782            1
   6214         3         4          2   98133            1
   6290         3         4          2   19977            1
   6293         3         4          2   11237            1
   6294         3         4          2   56484            1


   6303         3         4          2   85323            1
   6310         3         4          2   34652            1
   6312         3         4          2   37066            1
   6315         3         4          2   45601            1
   6316         3         4          2   13495            1
   6321         3         4          2   29223            1
   6330         3         4          2   45246            1

   6343         3         4          2   73067            1
   6345         3         4          2   43228            1
   6347         3         4          2   44833            1
   6350         3         4          2   68714            1




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                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   6385       1/12/2018 6:19     2        1    2   73149      3      1    1      1      1      1      1      3         2




   6401       1/12/2018 7:23         2   1    2    97756     4      1     1      1      1      1      1      1         2
   6416       1/12/2018 8:02         2   1    2    79936     3      1     1      1      1      1      1      3         3
   6417       1/12/2018 8:25         2   1    2    2747      1      1     1      1      1      1      1      1         2

   6421       1/12/2018 8:33         2   1    2    33774     3      1     1      1      1      1      1      2         1

   6425       1/12/2018 8:48         2   1    2    33176     3      1     1      2      1      1      1      1         2
   6426       1/12/2018 8:57         2   1    2    50233     2      1     1      1      1      2      2      3         2

   6432       1/12/2018 9:22         2   1    2    50146     2      1     1      1      1      1      1      1         2
   6440       1/12/2018 9:54         2   1    2    76710     3      1     1      1      1      1      1      1         1
   6444      1/12/2018 10:32         2   1    2    49660     2      1     1      1      1      1      1      2         2
   6446      1/12/2018 11:12         2   1    2    54806     2      1     1      1      1      1      1      2         2
   6448      1/12/2018 11:55         2   1    2    43062     2      1     1      1      1      2      1      2         2
   6449      1/12/2018 12:13         2   1    2    95307     4      1     1      1      1      1      1      2         2

   6467      1/12/2018 16:42         2   1    2    92867     4      1     1      1      1      1      1      1         2
   6486       1/13/2018 3:19         2   1    2    48843     2      1     1      1      1      2      1      1         2
   6489       1/13/2018 5:51         1   1    2    1923      1      1     1      1      1      1      1      1         2
   6503      1/13/2018 11:29         2   1    2    15479     1      1     1      1      1      1      1      1         2
   6512      1/13/2018 16:44         2   1    2    50401     2      1     1      1      1      1      1      2         2

   6520      1/13/2018 21:40         1   1    2    20874     3      1     1      2      1      1      1      1         3

   6532      1/14/2018 17:36         2   1    2    57026     2      1     1      1      1      1      1      2         2
   6555       1/15/2018 6:23         2   1    2    12801     1      1     1      1      1      1      1      1         2
   6556       1/15/2018 6:27         2   1    2    21053     3      1     1      1      1      1      1      1         2




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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   6385        3         3            2      2      3                                                                      2          2




   6401         1         1           2      1      1                                                                      2           2
   6416         3         3           3      3      1                                                                      2           2
   6417         3         3           3      3      3                                                                      2           2

   6421         1         1           2      2      2                                                                      2           2

   6425         1         1           2      1      2                                                                      2           2
   6426         2         2           2      2      2      1       1       1       1       1       1       1       1       2           2

   6432         1         1           2      1      2                                                                      2           2
   6440         2         2           1      1      1                                                                      2           2
   6444         2         1           1      2      1                                                                      2           2
   6446         2         1           2      1      2                                                                      2           2
   6448         1         2           2      2      2                                                                      2           2
   6449         1         1           2      2      2                                                                      2           2

   6467         1         1           1      1      1                                                                      2           2
   6486         1         1           1      1      1                                                                      2           2
   6489         1         1           2      1      2                                                                      2           2
   6503         1         1           2      1      2                                                                      2           2
   6512         2         2           2      2      2                                                                      2           2

   6520         1         3           3      3      3                                                                      2           2

   6532         1         2           2      1      2                                                                      2           2
   6555         1         1           2      2      2                                                                      2           2
   6556         1         2           2      2      2                                                                      2           2




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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   6385        2                             2              1     1       1           202      1




   6401         1                     2               2     1      1     1            606     1
   6416         2                           2               1      1     1            101     1
   6417         2                           2               1      1     1            202     1

   6421         2         2           2     2    2    2     2      1     1            303     1

   6425         2                     2     2         2     1      1     2      1     606     1
   6426                   2                      2          2      1     1            303     1

   6432         2                     2     2         2     1      1     1            505     1
   6440         2         2                 3    2          1      1     1            303     1
   6444         2                           2               1      2                  101     1
   6446         2                           2               2      2                  202     1
   6448         2                     2     2         2     1      2                  606     1
   6449         2                     2     2         2     1      1     1            505     1

   6467         2                     2     2         1     1      2                  101     1
   6486         2                     3     2               2      1     1            101     1
   6489         2                     2     2         2     1      2                  606     1
   6503         2                     2     3         2     1      1     1            505     1
   6512         2                           2               1      1     2      1     202     1

   6520         2                     2     1         2     3      1     2      1     505     1

   6532         2                     2     2         2     2      2                  606     1
   6555         2                     2     2         2     1      1     1            101     1
   6556         2                     2     2         2     1      2                  505     1




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                                                        Survey Data File


                                                           Q1_    Q1_                                       Q2_    Q2_    Q2_
responseid                        q1                      CODE_1 CODE_2                   q2               CODE_1 CODE_2 CODE_3                q3
   6385    MOUNTAIN                                         3           THE NAME OF THE COMPANY IS IN MOST   2                                  2
                                                                        CASES SHOWN ON SOME PART OF THE
                                                                        TOOL, IN THIS CASE IT APPEARS THE
                                                                        NAME MOUNTAIN IS DISPLAYED ON THE
                                                                        HAND GRIP.




   6401     mountain                                        3           It has mountain on it                                2                 2
   6416     monster                                         2           Printed on screw driver                              2                 2
   6417     Not sure could be a popular brand knock off     10          Has as set up like snap on and part numbers like     3                 2
            never heard of mountain                                     snap on
   6421     Monster                                         2           Its written on the package.                          2                 1

   6425     mountain                                        3           the name is on the side of it                        2                 2
   6426     monster mobile                                  5           the labeling at the bottom of the box                2                 2

   6432     monster                                         2           the label                                            2                 1
   6440     Monster                                         2           Package                                              2                 3
   6444     monster                                         2           name on handle                                       2                 2
   6446     mountain                                        3           name on tool                                         2                 1
   6448     Mountain                                        3           Name on it                                           2                 2
   6449     beverage company                                1           the name.                                            2                 2

   6467     monster                                         2           Monster                                              9                 1
   6486     Mac                                             4           color                                                3                 1
   6489     mountain                                        3           the words on the product                             2                 2
   6503     MAC TOOLS                                       4           COLORFUL AND IS NAMED MODERNLY                       2   3             2
   6512     MACO TOOLS                                      4           It does not look like the red and black tools from   3                 2
                                                                        Mactools. I don't think it is Snap on.
   6520     Matco                                           4           Because I thought I saw monster letterings from a    4                 3
                                                                        matco flyers
   6532     mountain                                        3           because its written on it                            2                 2
   6555     MONSTER                                         2           ON TOOL                                              2                 2
   6556     Monster                                         2           Wording on handle                                    2                 1




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                                                    Q4_    Q4_                                                       Q5_    Q5_
responseid                        q4               CODE_1 CODE_2                          q5                        CODE_1 CODE_2   q6
   6385                                                                                                                              1




   6401                                                                                                                             3
   6416                                                                                                                             1
   6417                                                                                                                             3

   6421      Hand Tools, Automotive Tools             6            I recognize the brand and have seen it on tool     4             3
                                                                   trucks.
   6425                                                                                                                             3
   6426                                                                                                                             1

   6432      tumbler                                  9            item size                                          9             1
   6440                                                                                                                             3
   6444                                                                                                                             3
   6446      snapon                                   4            seen them                                          4             3
   6448                                                                                                                             1
   6449                                                                                                                             1

   6467      energy drinks                            1            because it an energy drink company                 1             3
   6486      snapon                                   4            color                                              3             3
   6489                                                                                                                             3
   6503                                                                                                                             1
   6512                                                                                                                             1

   6520                                                                                                                             3

   6532                                                                                                                             3
   6555                                                                                                                             3
   6556      tool carts, jacks,                       6            Ad in professional magazine, tool magazine I       4             3
                                                                   think



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                                                              Q7_    Q7_                                                       Q8_    Q8_
responseid                           q7                      CODE_1 CODE_2                         q8                         CODE_1 CODE_2   q9
   6385    Most tool manufacturers manufacture multiple        9      6    Mostly, I research the purchases I make and try      9              2
           lines of each tool and brand them differently so                to find these goods because I believe the price
           that they can sell in multiple markets and price                does not determine the quality and have found
           ranges, some people are un aware of this practice               that manufactures are doing this to increase their
           and will purchase the most expensive product                    range. They do it so that they can sell more
           under the belief it is the best in the market and               products because they understand that there are
           carries the best warranty and that it is produced               different kinds of people purchasing their
           to a higher standard.                                           product and will try to be most effective at
                                                                           reaching them all.
   6401                                                                                                                                       2
   6416    Monster energy                                      1           Colors and logo                                      3             2
   6417                                                                                                                                       2

   6421                                                                                                                                       2

   6425                                                                                                                                       2
   6426     not sure                                        10             under the bar code there is writing that i can't see   9           2
                                                                           clearly
   6432     monster                                         2              energy drink                                           1           2
   6440                                                                                                                                       2
   6444                                                                                                                                       2
   6446                                                                                                                                       2
   6448     Autozone                                        4              Seen is sale flyers                                    4           2
   6449     monster is a trade brand of coca cola company   4        1     because the name.monster..                             2           3

   6467                                                                                                                                       2
   6486                                                                                                                                       2
   6489                                                                                                                                       2
   6503     MONSTER ENERGY DRINKS                           1              COLOR AND LOGO [SCRIPT]                                2   3       2
   6512     Sears                                           4              Because Sears not have a mobile truck.                 9   5       2

   6520                                                                                                                                       2

   6532                                                                                                                                       2
   6555                                                                                                                                       2
   6556                                                                                                                                       2




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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   6385        3          4       2      73149            1




   6401         3         4          2   97756            1
   6416         3         4          2   79936            1
   6417         3         4          2    2747            1

   6421         3         4          2   33774            1

   6425         3         4          2   33176            1
   6426         3         4          2   50233            1

   6432         3         4          2   50146            1
   6440         3         4          2   76710            1
   6444         3         4          2   49660            1
   6446         3         4          2   54806            1
   6448         3         4          2   43062            1
   6449         3         4          2   95307            1

   6467         3         4          1   92867            1
   6486         3         4          2   48843            1
   6489         3         4          2    1923            1
   6503         3         4          2   15479            1
   6512         3         4          2   50401            1

   6520         3         4          2   20874            1

   6532         3         4          2   57026            1
   6555         3         4          2   12801            1
   6556         3         4          2   21053            1




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                                                            #:2775
                                                        Survey Data File

                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb   qc_1      zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   6562       1/15/2018 6:47     2        1    2   2601       1      1    1      1      1      1      1      2         2

   6586      1/15/2018 10:20         2   1    2    82801     4      1     1      1      1      1      1      2         2
   6590      1/15/2018 11:17         2   1    2    99901     4      1     1      1      1      1      1      2         2
   6591      1/15/2018 11:21         2   1    2    76801     3      1     1      1      1      1      1      2         2
   6593      1/15/2018 12:42         2   1    2    50613     2      1     1      1      1      1      1      2         2
   6611      1/15/2018 18:14         1   1    2    60069     2      1     1      1      1      1      1      1         2

   6620      1/15/2018 19:15         2   1    2    66552     2      1     1      1      1      1      1      2         2
   6659       1/16/2018 9:49         2   1    2    38801     3      1     1      1      1      1      1      1         2
   6661      1/16/2018 11:02         2   1    2    44133     2      1     1      1      1      1      1      2         2

   6698       1/17/2018 6:24         2   1    2    32817     3      1     1      1      1      1      1      1         2
   6705       1/17/2018 7:30         2   1    2    29301     3      1     1      2      1      1      1      1         2
   6722       1/17/2018 8:37         2   1    2    80112     4      1     1      1      1      1      1      2         2
   6725       1/17/2018 8:55         2   1    2    26031     3      1     1      1      1      1      1      2         2
   6726       1/17/2018 8:58         2   1    2    3060      1      1     1      1      1      1      1      2         2
   6735       1/17/2018 9:40         2   1    2    13407     1      1     1      1      1      1      1      3         3
   6742      1/17/2018 12:18         2   1    2    13088     1      1     1      1      1      1      1      1         2
   6771       1/18/2018 4:24         1   1    2    3878      1      1     1      1      1      1      1      1         2
   6779       1/18/2018 9:54         2   1    2    55321     2      1     1      1      1      1      1      2         2
   6780      1/18/2018 11:28         2   1    2    97404     4      1     1      1      1      1      1      2         2
   6785      1/18/2018 13:55         2   1    2    55901     2      1     1      1      1      1      1      2         2
   6816       1/19/2018 7:15         2   1    2    14437     1      1     1      1      1      1      1      2         2
   6820       1/19/2018 7:11         2   1    2    17756     1      1     1      1      1      1      1      2         2


   6821       1/19/2018 7:14         2   1    2    27107     3      1     1      1      1      1      1      1         2
   6822       1/19/2018 7:38         2   1    2    72758     3      1     1      2      1      1      1      2         2

   6823       1/19/2018 8:02         2   1    2    49009     2      1     1      1      1      1      1      2         2
   6825       1/19/2018 8:02         2   1    2    12804     1      1     1      1      1      1      1      1         1
   6840      1/19/2018 10:08         2   2    2    46203     2      1     1      1      1      1      1      3         1
   6842      1/19/2018 10:29         2   1    2    48302     2      1     1      3      1      1      1      1         2

   6843      1/19/2018 11:16         2   1    2    47403     2      1     1      1      1      1      2      2         2

   6854      1/19/2018 13:53         1   2    2    96748     4      1     1      1      1      2      1      1         1


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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   6562        2         1            2      2      2                                                                      2          2

   6586         2         2           2      2      2                                                                      2           2
   6590         2         2           2      2      2                                                                      2           2
   6591         2         2           2      2      2                                                                      2           2
   6593         1         1           1      2      1                                                                      2           2
   6611         2         1           1      1      1                                                                      2           2

   6620         1         2           2      2      2                                                                      2           2
   6659         1         1           2      2      2                                                                      2           2
   6661         2         1           2      2      2                                                                      2           2

   6698         2         1           2      2      2                                                                      2           2
   6705         2         1           2      2      2                                                                      2           2
   6722         2         2           2      2      2                                                                      2           2
   6725         1         2           2      2      1                                                                      2           2
   6726         2         1           1      2      1                                                                      2           2
   6735         3         3           3      3      3                                                                      2           2
   6742         1         1           2      2      2                                                                      2           2
   6771         1         2           1      1      1                                                                      2           2
   6779         1         1           2      1      2                                                                      2           2
   6780         2         2           2      2      2                                                                      2           2
   6785         1         1           2      2      2                                                                      2           2
   6816         1         1           2      2      2                                                                      2           2
   6820         2         2           2      2      2                                                                      2           2


   6821         1         2           2      1      2                                                                      2           2
   6822         2         2           2      2      2                                                                      2           2

   6823         1         1           1      1      2                                                                      2           2
   6825         2         1           1      1      1                                                                      2           2
   6840         1         1           3      3      2                                                                      2           2
   6842         1         2           2      2      2                                                                      2           2

   6843         3         3           3      2      2      1       1       1       1       1       1       1       1       2           2

   6854         1         1           1      1      1                                                                      2           2


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                                                                                                                                 EX1-173
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                                                            #:2777
                                                        Survey Data File



responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   6562        2                             2              3     2                   202      1

   6586         2                           2               3      1     1            101     1
   6590         2                           2               1      2                  202     1
   6591         2                           2               1      1     1            202     1
   6593         2                     2     2         2     2      1     1            505     1
   6611         2                           2               1      1     1            202     1

   6620         2                     2     2         2     2      1     1            606     1
   6659         2                     2     2         2     1      2                  606     1
   6661         2                           2               1      1     1            101     1

   6698         2                           2               1      1     1            202     1
   6705         2                           2               1      1     1            101     1
   6722         2                           2               1      1     1            202     1
   6725         2                     2     2         2     1      1     1            505     1
   6726         2                           2               1      1     1            101     1
   6735         2                           2               1      1     1            202     1
   6742         2                     2     2         2     1      2                  606     1
   6771         2                     2     2         2     2      1     1            505     1
   6779         2                     2     2         2     1      1     1            606     1
   6780         2                           2               2      2                  101     1
   6785         2                     2     2         2     1      2                  505     1
   6816         2                     2     2         2     1      1     1            606     1
   6820         2                           2               1      2                  202     1


   6821         2                     2     2         2     1      1     1            606     1
   6822         2                           2               2      1     1            202     1

   6823         2                     2     2         2     3      1     1            505     1
   6825         2         2                 2    2          1      1     1            303     1
   6840         2         2           2     2    2    2     1      1     1            303     1
   6842         2                     2     2         2     2      1     1            505     1

   6843                   2                      2          1      1     1            303     1

   6854         2         2           2     2    2    2     1      1     1            303     1


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                                                            #:2778
                                                        Survey Data File


                                                          Q1_    Q1_                                                      Q2_    Q2_    Q2_
responseid                        q1                     CODE_1 CODE_2                         q2                        CODE_1 CODE_2 CODE_3       q3
   6562    Pittsburgh                                      4           Coloring, yet shaft looks like Snap On              3                         3

   6586     Monster                                         2              Logo                                            3                        1
   6590     MOUNTAIN                                        3              NAME ON HANDLE                                  2                        2
   6591     NOT SURE-POSSIBLY MOUNTAIN                      3              THAT IS THE NAME ON THE HANDLE                  2                        2
   6593     Monster                                         2              The name on the handle                          2                        2
   6611     Mountain, because it says "Mountain" on it      3              It says Mountain on the screwdriver             2                        2

   6620     mountain                                        3              the lettering on it                             2                        2
   6659     Mountain                                        3              It say's it on the item.                        2                        2
   6661     Harbour Freight                                 4              Name and color                                  2      3                 1

   6698     mountain                                        3              name in the body of the product                  2                       2
   6705     monster                                         2              name on handle                                   2                       2
   6722     Mountain                                        3              Lettering on the handle                          3                       2
   6725     monster                                         2              it is so marked                                  2                       2
   6726     Monster                                         2              Name and color                                   2     3                 2
   6735     Mountain                                        3              It is written on the item                        2                       2
   6742     MOUNTAIN                                        3              NAME IS VISIBLE ON HANDLE OF ITEM                2                       2
   6771     monster                                         2              i picture, nice lighting                         9                       1
   6779     Mountain                                        3              It says "Mountain" right on it                   2                       2
   6780     Monster                                         2              Labeled                                          2                       2
   6785     don't know                                      10             don't know                                      10                       3
   6816     mountain                                        3              the name on the handle                           2                       2
   6820     mountain                                        3              the name is on the handle                        2                       2


   6821     Mountain                                        3              the name on the light                           2                        3
   6822     mountain                                        3              the name on the side of the tool.               2                        2

   6823     Monster                                         2              It is shown on the light                        2                        2
   6825     monster                                         2              the name                                        2                        1
   6840     Monster Mobile                                  5              The logo on the box and cup                     3                        2
   6842     monster                                         2              because it says "monster"                       2                        2

   6843     MONSTER                                         2              It has the trademarked LOGO on the product.     3                        1

   6854     Monster                                         2              Bold lettering                                  3                        2


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                                                                #:2779
                                                            Survey Data File


                                                    Q4_    Q4_                                                      Q5_    Q5_
responseid                          q4             CODE_1 CODE_2                           q5                      CODE_1 CODE_2   q6
   6562                                                                                                                             1

   6586      Drinks                                   1            Advertising                                       4             1
   6590                                                                                                                            3
   6591                                                                                                                            3
   6593                                                                                                                            3
   6611                                                                                                                            1

   6620                                                                                                                            3
   6659                                                                                                                            1
   6661      Wrenches, sockets, ratchets              6            Most tool companies make more than one            5             3
                                                                   product
   6698                                                                                                                            2
   6705                                                                                                                            1
   6722                                                                                                                            3
   6725                                                                                                                            1
   6726                                                                                                                            3
   6735                                                                                                                            3
   6742                                                                                                                            3
   6771      cyberlux,                                4            Monster has a excellent mark                      9             1
   6779                                                                                                                            3
   6780                                                                                                                            1
   6785                                                                                                                            3
   6816                                                                                                                            3
   6820                                                                                                                            1


   6821                                                                                                                            1
   6822                                                                                                                            1

   6823                                                                                                                            3
   6825      energy drinks                            1            I have purchased them                             4             1
   6840                                                                                                                            3
   6842                                                                                                                            1

   6843      Monster Energy Drink                     1            Because Of the Color of the packaging and the     2      3      1
                                                                   name of the company on the product
   6854                                                                                                                            1


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                                                         Survey Data File


                                                                Q7_    Q7_                                                      Q8_    Q8_
responseid                          q7                         CODE_1 CODE_2                        q8                         CODE_1 CODE_2   q9
   6562    Snap On                                               4           The shaft has the capability of using a wrench to   3              2
                                                                             turn.
   6586     Snap on                                              4           Handle shape                                        3             2
   6590                                                                                                                                        2
   6591                                                                                                                                        1
   6593                                                                                                                                        2
   6611     Phillips                                              4             Because they make the high quality screwdrivers     5          2

   6620                                                                                                                                        2
   6659     everready                                             4             eveready makes a simulare light                     3          2
   6661                                                                                                                                        2

   6698                                                                                                                                        2
   6705     snap on                                               4             similar design                                      3          2
   6722                                                                                                                                        2
   6725     i dont know                                          10             have no clue                                        10         2
   6726                                                                                                                                        2
   6735                                                                                                                                        2
   6742                                                                                                                                        2
   6771     nascar, soccer, drinks energy                         1        4    good brand with excellent quality                   9          2
   6779                                                                                                                                        2
   6780     Don't know                                           10             Few manufactures... lots of labels                  9          2
   6785                                                                                                                                        2
   6816                                                                                                                                        2
   6820     Maybe snap on it has the look of a snap on tool       4             the shape of the handle and the hex head at the     3          2
                                                                                base of the handle look like snap ons design

   6821     Gander moutain                                        4             just an idea related to the name                    2          2
   6822     could be one of many                                  9             there are several companies that produce this       9          2
                                                                                type of tool
   6823                                                                                                                                        2
   6825     matco tools                                           4             a guess                                             10         2
   6840                                                                                                                                        2
   6842     Monster drinks but the font is different, colors      1             font & COLOR                                        3          2
            are similiar
   6843     Artic or Yetti                                        4             They are the 2 most popular tumblers of this type   9          2

   6854     none                                                 10             i don't see anything else                           10         2


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                                                                                                                                                EX1-177
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                                                            #:2781
                                                        Survey Data File



responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   6562        3          4       2      2601             1

   6586         3         4          2   82801            1
   6590         3         4          2   99901            1
   6591         3         4          2   76801            1
   6593         3         4          2   50613            1
   6611         3         4          2   60069            1

   6620         3         4          2   66552            1
   6659         3         4          2   38801            1
   6661         3         4          2   44133            1

   6698         3         4          2   32817            1
   6705         3         4          2   29301            1
   6722         3         4          2   80112            1
   6725         3         4          2   26031            1
   6726         3         4          2    3060            1
   6735         3         4          2   13407            1
   6742         3         4          2   13088            1
   6771         3         4          2    3878            1
   6779         3         4          2   55321            1
   6780         3         4          2   97404            1
   6785         3         4          2   55901            1
   6816         3         4          2   14843   14437    1
   6820         3         4          2   17756            1


   6821         3         4          2   27107            1
   6822         3         6          2   72758            1

   6823         3         4          2   49009            1
   6825         3         4          2   12804            1
   6840         3         4          2   46203            1
   6842         3         4          2   48302            1

   6843         3         4          2   47403            1

   6854         3         4          2   96748            1


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                                                            #:2782
                                                        Survey Data File

                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   6856      1/19/2018 15:28     1        1    2   3858       1      1    1      1      1      1      1      3         2
   6879       1/20/2018 7:03     2        1    2   63385      2      1    1      1      1      1      1      2         2
   6881       1/20/2018 7:44     2        1    2   56303      2      1    1      1      1      1      1      1         2
   6887      1/20/2018 11:56     2        1    2   51503      2      1    1      1      1      1      1      2         2
   6942       1/22/2018 6:26     2        1    2   62286      2      1    1      1      1      1      1      1         2
   6947       1/22/2018 6:43     2        1    2   55912      2      1    1      1      1      1      1      2         2
   6957       1/22/2018 7:38     2        1    2   40223      3      1    1      1      1      1      1      1         2


   6972       1/22/2018 9:15         2   1    2    27127     3      1     1      1      1      1      1      1         2
   6975       1/22/2018 9:51         2   1    2    27030     3      1     1      1      1      2      1      2         2
   6976      1/22/2018 10:04         2   1    2    12866     1      1     1      1      1      1      1      2         2
   6979      1/22/2018 11:51         2   1    2    35768     3      1     1      1      1      1      1      1         2
   6989      1/22/2018 15:19         2   1    2    54603     2      1     1      1      1      1      1      2         2


   7022       1/23/2018 7:02         2   1    2    63703     2      1     1      3      1      1      1      2         2
   7026       1/23/2018 8:23         2   1    2    85023     4      1     1      1      1      1      1      2         2
   7044      1/23/2018 19:51         2   1    2    19140     1      1     1      1      1      1      1      1         2
   7059       1/24/2018 6:27         2   1    2    75442     3      1     1      1      1      1      1      2         2
   7065       1/24/2018 6:44         2   1    2    43528     2      1     1      1      1      1      1      1         2
   7066       1/24/2018 6:43         2   1    2    75773     3      1     1      1      1      1      1      1         2
   7068       1/24/2018 6:51         2   1    2    60634     2      1     1      1      1      1      1      1         2
   7069       1/24/2018 7:14         2   1    2    62024     2      1     1      1      1      1      1      1         3
   7073       1/24/2018 8:18         2   1    2    6019      1      1     1      1      1      1      1      1         2
   7079       1/24/2018 8:44         2   1    2    71602     3      1     1      1      1      1      1      2         2
   7085       1/24/2018 9:45         1   1    2    25801     3      1     1      1      1      1      1      1         2

   7100      1/24/2018 15:31         2   1    2    32433     3      1     1      1      1      1      1      1         2
   7107      1/24/2018 20:04         1   1    2    90007     4      1     1      1      2      1      1      1         1
   7113      1/24/2018 21:28         2   1    2    4401      1      1     1      1      1      1      1      1         2
   7146      1/25/2018 14:26         1   1    2    84770     4      1     1      1      1      2      1      2         2
   7158      1/25/2018 19:03         1   1    2    97306     4      1     1      1      1      3      1      2         2
   7171       1/26/2018 6:15         2   1    2    48036     2      1     1      1      1      1      1      2         2
   7176       1/26/2018 6:36         2   1    2    60120     2      1     1      1      1      1      1      1         2
   7178       1/26/2018 6:44         2   1    2    61021     2      1     1      1      1      1      1      2         2




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                                                        Survey Data File



responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   6856        1         2            2      2      2                                                                      2          2
   6879        1         1            2      2      2                                                                      2          2
   6881        2         2            2      2      2                                                                      2          2
   6887        1         2            2      2      2                                                                      2          2
   6942        1         3            2      2      2                                                                      2          2
   6947        2         2            2      2      2                                                                      2          2
   6957        2         1            1      1      2                                                                      2          2


   6972         1         1           2      2      2                                                                      2           2
   6975         2         2           2      2      2                                                                      2           2
   6976         2         2           2      2      2                                                                      2           2
   6979         1         1           1      1      1                                                                      2           2
   6989         1         1           2      2      2                                                                      2           2


   7022         2         2           1      2      2                                                                      2           2
   7026         2         2           2      2      2                                                                      2           2
   7044         1         1           2      2      2                                                                      2           2
   7059         1         2           2      2      2                                                                      2           2
   7065         1         2           2      2      2                                                                      2           2
   7066         1         1           2      1      2                                                                      2           2
   7068         1         1           1      1      1                                                                      2           2
   7069         3         1           2      2      2                                                                      2           2
   7073         2         1           2      2      2                                                                      2           2
   7079         2         2           2      1      2                                                                      2           2
   7085         2         1           1      1      2                                                                      2           2

   7100         1         1           2      2      2                                                                      2           2
   7107         1         1           1      1      1                                                                      2           2
   7113         1         1           2      2      2                                                                      2           2
   7146         2         2           2      2      2                                                                      2           2
   7158         2         2           2      2      2                                                                      2           2
   7171         2         2           2      2      2                                                                      2           2
   7176         2         1           2      2      2                                                                      2           2
   7178         2         2           2      2      2                                                                      2           2




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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   6856        2                      2      2        2     2     1       1           606      1
   6879        2                      2      2        2     2     2                   505      1
   6881        2                             2              1     2                   101      1
   6887        2                      2      2        2     2     1      1            606      1
   6942        2                      2      2        2     1     1      1            606      1
   6947        2                             2              1     2                   202      1
   6957        2                             2              1     1      1            101      1


   6972         2                     2     2         2     1      2                  505     1
   6975         2                           2               1      2                  101     1
   6976         2                           2               1      2                  202     1
   6979         2                     2     2         2     1      1     1            606     1
   6989         2                     2     2         2     1      1     1            505     1


   7022         2                           2               2      2                  202     1
   7026         2                           2               1      2                  101     1
   7044         2                     2     2         2     1      2                  505     1
   7059         2                     2     2         2     1      2                  606     1
   7065         2                     2     2         2     2      2                  505     1
   7066         2                     2     2         2     2      1     1            505     1
   7068         2                     2     2         2     1      2                  202     1
   7069         2                           2               1      2                  101     1
   7073         2                           2               1      2                  101     1
   7079         2                           2               1      1     1            202     1
   7085         2                           2               1      2                  202     1

   7100         2                     2     2         2     2      2                  606     1
   7107         2         2           2     2    2    2     1      1     1            303     1
   7113         2                     2     2         2     1      1     1            606     1
   7146         2                           2               2      2                  101     1
   7158         2                           2               1      1     1            202     1
   7171         2                           2               1      2                  101     1
   7176         2                           2               2      1     1            202     1
   7178         2                           2               1      2                  101     1




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                                                    Q1_    Q1_                                                              Q2_    Q2_    Q2_
responseid                       q1                CODE_1 CODE_2                          q2                               CODE_1 CODE_2 CODE_3       q3
   6856      mountain                                3           name on side                                                 2                        2
   6879      Monster                                 2           It says Monster on the handle                                2                        2
   6881      Do not know                             10          Unkown                                                      10                        2
   6887      mountain                                3           the name on the handle                                       2                        2
   6942      MOUNTAIN                                3           PRINTED ON HANDLE                                            2                        2
   6947      i have no ideal                         10          like i said i have no idea                                  10                        2
   6957      don't know                              10          has Monster on side to indicate a nickname for               2     9                  2
                                                                 screw driver but does not list company name.

   6972      MONSTER                                  2               NAME ON LIGHT                                           2                       2
   6975      MONSTER                                  2               NAME ON HANDLE                                          2                       2
   6976      snap on                                  4               not sure                                               10                       2
   6979      mountain                                 3               that's what I read                                      2                       2
   6989      Monster                                  2               Name on the handle and item color skeem                 2     3                 1


   7022      mounttool                                3               phillips                                               9                        2
   7026      MONSTER                                  2               BRANDED NAME                                           2                        1
   7044      monster                                  2               the big green letters                                  3                        2
   7059      wallmart                                 4               Looks like a cheap kids toy                            9                        2
   7065      Monster                                  2               Writing on it                                          2                        1
   7066      monster                                  2               name                                                   2                        1
   7068      mountrin                                 3               name tag                                               2                        2
   7069      monster                                  2               name on handle                                         2                        2
   7073      monster                                  2               label                                                  2                        2
   7079      Mountain                                 3               The word on the side of it                             2                        2
   7085      Mountain                                 3               I see that name on the handle of the screwdriver .     2                        2

   7100      Ace Hardware                             4               It's too cheap for a Tool Truck.                       9                        2
   7107      Monster                                  2               very good                                              9                        1
   7113      Mountain                                 3               The name printed on the Light                          2                        2
   7146      Monster                                  2               The name on the handle                                 2                        2
   7158      Mountain                                 3               The name is on the tool.                               2                        1
   7171      Matco Snap on Mac Stanley Craftsman      4               Looks like it might last                               9                        2
   7176      mountain                                 3               the name on the tool                                   2                        2
   7178      Monster Tools                            5               The name on the side and ive seen the brand            2      4                 1
                                                                      before



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                                                                                                                                            EX1-182
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                                                        Q4_    Q4_                                               Q5_    Q5_
responseid                         q4                  CODE_1 CODE_2                           q5               CODE_1 CODE_2   q6
   6856                                                                                                                          2
   6879                                                                                                                          3
   6881                                                                                                                          3
   6887                                                                                                                          3
   6942                                                                                                                          1
   6947                                                                                                                          2
   6957                                                                                                                          2


   6972                                                                                                                         3
   6975                                                                                                                         2
   6976                                                                                                                         3
   6979                                                                                                                         3
   6989      Energy Drink                                1             Seen it before                             4             1


   7022                                                                                                                         1
   7026      ENERGY DRINKS                               1             BRAND NAME                                 9             1
   7044                                                                                                                         1
   7059                                                                                                                         2
   7065      Energy Drink                                1             It looks like the label and the colors     2      3      1
   7066      drinks                                      1             heard of monster                           4             3
   7068                                                                                                                         3
   7069                                                                                                                         2
   7073                                                                                                                         3
   7079                                                                                                                         3
   7085                                                                                                                         3

   7100                                                                                                                         3
   7107      redbull                                     4             very good                                  9             1
   7113                                                                                                                         2
   7146                                                                                                                         1
   7158      Snap On, Craftsman, Stanley, Mac Tools.     4             It's a common tool.                        9             3
   7171                                                                                                                         1
   7176                                                                                                                         3
   7178      Tool Storage                                6             Ive seen advertisements                    4             1




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                                                                                                                                 EX1-183
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                                                              Q7_    Q7_                                                      Q8_    Q8_
responseid                         q7                        CODE_1 CODE_2                          q8                       CODE_1 CODE_2   q9
   6856                                                                                                                                       2
   6879                                                                                                                                       2
   6881                                                                                                                                       2
   6887                                                                                                                                       2
   6942    NO IDEA                                             10            HAVE NO WAY OF KNOWING                            10             2
   6947                                                                                                                                       2
   6957                                                                                                                                       2


   6972                                                                                                                                      2
   6975                                                                                                                                      2
   6976                                                                                                                                      2
   6979                                                                                                                                      3
   6989     The flashlight manufacture                         6             They sold the product to Monster and charged      9             2
                                                                             them to apply their name to the item.

   7022     craftsman                                          4             handle design                                     3             2
   7026     SNAP-ON                                            4             SHAPE OF HANDLE                                   3             2
   7044     home depot                                         4             It looks like something I could pick up there     3             2
   7059                                                                                                                                      2
   7065     Monster Energy Drink                               1             The writing and the color                         2      3      2
   7066                                                                                                                                      2
   7068                                                                                                                                      2
   7069                                                                                                                                      2
   7073                                                                                                                                      2
   7079                                                                                                                                      2
   7085                                                                                                                                      2

   7100                                                                                                                                      2
   7107     mosnter                                            2             very good                                         9             1
   7113                                                                                                                                      2
   7146     I don't know                                       10            I am unsure of who would manufacture it .         10            2
   7158                                                                                                                                      2
   7171     don't know                                         10            don't know                                        10            2
   7176                                                                                                                                      2
   7178     I dont know the company but would imagine they     10            Most companies don't manufacture they just        9             2
            do not make screw drivers. I think they only                     advertise a product with their name
            market them


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                                                                                                                                              EX1-184
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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   6856        3          4       2       3858            1
   6879        3          4       2      63385            1
   6881        3          4       2      56303            1
   6887        3          4       2      51503            1
   6942        3          4       2      62286            1
   6947        3          4       2      55912            1
   6957        3          4       2      40223            1


   6972         3         4          2   27127            1
   6975         3         4          2   28621   27030    1
   6976         3         4          2   12866            1
   6979         3         4          2   35768            1
   6989         3         4          2   54603            1


   7022         3         4          2   63703            1
   7026         3         4          2   85023            1
   7044         3         4          2   19140            1
   7059         3         4          2   75442            1
   7065         3         6          2   43528            1
   7066         3         4          2   75773            1
   7068         3         4          2   60634            1
   7069         3         4          2   62024            1
   7073         3         4          2    6019            1
   7079         3         4          2   71602            1
   7085         3         4          2   25801            1

   7100         3         4          2   32433            1
   7107         3         4          2   90007            1
   7113         3         4          2    4401            1
   7146         3         4          2   84770            1
   7158         3         4          2   97306            1
   7171         3         4          2   48036            1
   7176         3         4          2   60120            1
   7178         3         4          2   61021            1




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                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   7183       1/26/2018 6:53     2        1    2   21009      3      1    1      1      1      1      1      2         2
   7194       1/26/2018 7:12     2        1    2   14420      1      1    1      1      1      1      1      2         2

   7199       1/26/2018 7:30         2   1    2    29601     3      1     1      1      1      1      1      2         2

   7204       1/26/2018 7:37         2   1    2    6790      1      1     1      1      1      1      1      2         2
   7205       1/26/2018 7:38         2   1    2    56401     2      1     1      1      1      1      1      2         2
   7217       1/26/2018 8:18         2   1    2    85301     4      1     1      1      1      1      1      1         2
   7218       1/26/2018 8:23         2   1    2    99206     4      1     1      1      1      1      1      2         2
   7219       1/26/2018 8:36         2   1    2    49202     2      1     1      1      1      1      1      1         2



   7225       1/26/2018 8:51         2   1    2    91107     4      1     1      2      1      1      1      1         3
   7229       1/26/2018 8:59         2   1    2    95670     4      1     1      1      1      1      1      1         2

   7233       1/26/2018 9:29         2   1    2    90066     4      1     1      1      1      1      1      1         2
   7234       1/26/2018 9:46         2   1    2    93602     4      1     1      1      1      1      1      1         2
   7236      1/26/2018 10:15         2   1    2    28027     3      1     1      1      1      1      1      1         2


   7251      1/26/2018 11:46         2   1    2    56431     2      1     1      1      1      1      1      1         2
   7258      1/26/2018 12:56         2   1    2    94124     4      1     1      1      1      1      1      2         2

   7291       1/27/2018 3:09         2   1    2    7043      1      1     1      1      1      1      1      2         2
   7295       1/27/2018 6:53         2   1    2    44312     2      1     1      1      1      1      1      2         2
   8288      1/27/2018 20:04         1   1    2    11367     1      1     1      1      1      1      1      1         2
   9316       1/29/2018 5:44         2   1    2    7304      1      1     1      1      1      1      1      1         2
   9320       1/29/2018 6:11         2   1    2    43130     2      1     1      2      1      1      1      1         2
   9329       1/29/2018 6:42         2   1    2    49855     2      1     1      1      1      1      1      1         2
   9338       1/29/2018 7:51         2   1    2    46725     2      1     1      1      1      1      1      1         2
   9350      1/29/2018 10:39         2   1    2    48039     2      1     1      1      1      1      1      2         2
   9352      1/29/2018 10:52         2   1    2    57328     2      1     1      1      1      2      1      2         2
   9371      1/29/2018 17:58         2   1    2    75154     3      1     1      1      1      1      1      2         2
   9376      1/29/2018 19:37         1   1    2    25085     3      1     1      1      1      1      1      2         2




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responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   7183        2         2            2      2      2                                                                      2          2
   7194        2         2            2      2      2                                                                      2          2

   7199         1         1           2      2      2                                                                      2           2

   7204         2         2           2      2      2                                                                      2           2
   7205         2         2           2      2      2                                                                      2           2
   7217         1         1           2      2      2                                                                      2           2
   7218         2         2           2      2      2                                                                      2           2
   7219         2         1           2      2      2                                                                      2           2



   7225         3         1           1      1      2                                                                      2           2
   7229         2         2           2      2      2                                                                      2           2

   7233         1         1           1      1      1                                                                      2           2
   7234         1         1           2      2      1                                                                      2           2
   7236         1         1           2      2      2                                                                      2           2


   7251         1         1           2      2      2                                                                      2           2
   7258         2         2           2      2      2                                                                      2           2

   7291         1         1           2      2      2                                                                      2           2
   7295         1         1           2      2      2                                                                      2           2
   8288         2         2           1      2      1                                                                      2           2
   9316         2         1           2      2      2                                                                      2           2
   9320         1         1           1      1      1                                                                      2           2
   9329         2         1           2      2      2                                                                      2           2
   9338         1         1           2      2      2                                                                      2           2
   9350         2         2           2      2      2                                                                      2           2
   9352         1         2           2      2      2                                                                      2           2
   9371         1         1           2      2      2                                                                      2           2
   9376         2         2           2      2      2                                                                      2           2




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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   7183        2                             2              1     1       1           101      1
   7194        2                             2              1     2                   202      1

   7199         2                     2     2         2     1      2                  505     1

   7204         2                           2               1      1     1            101     1
   7205         2                           2               1      2                  202     1
   7217         2                     2     2         2     2      2                  606     1
   7218         2                           2               1      1     1            101     1
   7219         2                           2               1      1     1            101     1



   7225         2                           2               1      1     1            202     1
   7229         2                           2               1      2                  101     1

   7233         2                     2     2         2     1      1     1            505     1
   7234         2                     2     2         2     1      2                  606     1
   7236         2                     2     2         2     1      2                  505     1


   7251         2                     2     2         2     1      1     1            606     1
   7258         2                           2               2      1     1            101     1

   7291         2                     2     2         2     2      1     1            505     1
   7295         2                     2     2         2     1      1     1            606     1
   8288         2                           2               1      1     1            202     1
   9316         2                           2               1      2                  101     1
   9320         2                     2     2         2     1      1     1            606     1
   9329         2                           2               2      1     1            202     1
   9338         2                     2     2         2     2      2                  606     1
   9350         2                           2               2      1     1            202     1
   9352         2                     2     2         2     1      1     1            505     1
   9371         2                     2     2         2     1      2                  505     1
   9376         2                           2               2      2                  101     1




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                                                                                                           EX1-188
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                                                         Survey Data File


                                                 Q1_    Q1_                                                          Q2_    Q2_    Q2_
responseid                         q1           CODE_1 CODE_2                          q2                           CODE_1 CODE_2 CODE_3       q3
   7183    Monster                                2           Label                                                   2                         2
   7194    Mountain                               3           Written on the side of it                               2                         2

   7199     Monster                                2              It is written on the product                        2                        2

   7204     Monster                                2              Name on handle                                      2                        2
   7205     mountain                               3              name on side                                        2                        2
   7217     mountain                               3              the name on it                                      2                        1
   7218     Monster                                2              Label on product                                    2                        1
   7219     Looks like a Snap On                   4              The design of the handle and the shank of the       3                        2
                                                                  driver.


   7225     mactools                               4              idonotnow                                           10                       2
   7229     MONSTER                                2              IT IS CLEATLY DISPLAYED ON THE                       2                       1
                                                                  HANDLE
   7233     harbour freight                        4              looks like something they would sell                3                        2
   7234     mountain                               3              its on the handle                                   2                        2
   7236     OEM they use these colors              4              the colors                                          3                        1


   7251     MOUNTAIN                               3              THATS WHAT IT SAYS                                  2                        2
   7258     not sure                               10             monster is an energy drink company looks like a     1      9                 1
                                                                  promo item
   7291     monster                                2              the name is on the product in the picture            2                       1
   7295     MOUNTAIN                               3              ITS WRITTEN ON IT                                    2                       2
   8288     craftsman                              4              they make tools                                      5                       1
   9316     do not know                            10             do not know                                         10                       2
   9320     matco                                  4              color of product                                     3                       3
   9329     Mountain                               3              Name on tool                                         2                       2
   9338     mountain                               3              name on the side                                     2                       2
   9350     mountain                               3              the name mountain is on the handle                   2                       2
   9352     monster                                2              name on it                                           2                       3
   9371     monster                                2              the name on the handle                               2                       2
   9376     Snap On                                4              The design of the handle and shank are very          3                       3
                                                                  similar to Snap On design screwdrivers.




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                                                                Q4_    Q4_                                                       Q5_    Q5_
responseid                           q4                        CODE_1 CODE_2                         q5                         CODE_1 CODE_2   q6
   7183                                                                                                                                          2
   7194                                                                                                                                          1

   7199                                                                                                                                         1

   7204                                                                                                                                         3
   7205                                                                                                                                         3
   7217      reel lights                                         4             i have some                                        4             1
   7218      Energy drink                                        1             Brand recognition                                  9             1
   7219                                                                                                                                         1



   7225                                                                                                                                         2
   7229      HATCHETS, LIGHTS, RATCHETS                          6             I HAVE SEEN ADVERTISMENTS IN TOOL                  4             3
                                                                               CATALOGS
   7233                                                                                                                                         2
   7234                                                                                                                                         1
   7236      tool boxes, hand tools, air tools, power tools,     6             I have many of the tools made by OEM, Snap-on,     4      3      3
             compressors..etc.                                                 MAC, Catco, cornwell, and they look alike.

   7251                                                                                                                                         3
   7258      drinks                                              1             monster energy                                     1             3

   7291      air tools                                           6             we have purchased air tools from monster           4             3
   7295                                                                                                                                         3
   8288      harbor freight                                      4             they make tools                                    5             2
   9316                                                                                                                                         3
   9320                                                                                                                                         3
   9329                                                                                                                                         3
   9338                                                                                                                                         3
   9350                                                                                                                                         3
   9352                                                                                                                                         3
   9371                                                                                                                                         2
   9376                                                                                                                                         1




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                                                   Q7_    Q7_                                                            Q8_    Q8_
responseid                       q7               CODE_1 CODE_2                           q8                            CODE_1 CODE_2   q9
   7183                                                                                                                                  2
   7194    I am not sure.                            10           It is an off brand and most of the off brands are a     9              2
                                                                  lower end for a main brand
   7199     Mac tools                                4            Not sure. Just looks like a product that might be       9             2
                                                                  on a Mac tool truck
   7204                                                                                                                                 2
   7205                                                                                                                                 2
   7217     dont know                                10           only a couple companies make them                       9             2
   7218     Snap on                                  4            Visually looks like a quality product                   9             1
   7219     Snap On                                  4            Most of the trucks or roaming tool trucks have a        9             2
                                                                  less expensive line of tools. This one is either a
                                                                  new design and removal of the lower brand with
                                                                  a new flashy name.
   7225                                                                                                                                 2
   7229                                                                                                                                 2

   7233                                                                                                                                 2
   7234     streamlight                              4            there everywear                                         9             2
   7236                                                                                                                                 2


   7251                                                                                                                                 2
   7258                                                                                                                                 2

   7291                                                                                                                                 2
   7295                                                                                                                                 3
   8288                                                                                                                                 2
   9316                                                                                                                                 2
   9320                                                                                                                                 2
   9329                                                                                                                                 2
   9338                                                                                                                                 2
   9350                                                                                                                                 2
   9352                                                                                                                                 2
   9371                                                                                                                                 2
   9376     Snap On                                  4            The design of the handle and shank are very             3             2
                                                                  similar to Snap On products.




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responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   7183        3          4       2      21009            1
   7194        3          4       2      14420            1

   7199         3         4          2   29601            1

   7204         3         4          2    6790            1
   7205         3         4          2   56401            1
   7217         3         4          2   85301            1
   7218         3         4          2   99206            1
   7219         3         4          2   49202            1



   7225         3         4          2   91107            1
   7229         3         4          2   95670            1

   7233         3         4          2   90066            1
   7234         3         4          2   93602            1
   7236         3         4          2   28027            1


   7251         3         4          2   56431            1
   7258         3         4          2   94124            1

   7291         3         4          2    7043            1
   7295         3         4          2   44312            1
   8288         3         4          2   11367            1
   9316         3         4          2    7304            1
   9320         3         4          2   43130            1
   9329         3         4          2   49855            1
   9338         3         4          2   46725            1
   9350         3         4          2   48039            1
   9352         3         4          2   57328            1
   9371         3         4          2   75154            1
   9376         3         4          2   25085            1




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                                                        Survey Data File

                                                             hid
                                                           region
responseid    interview_end    qsamp     qa   qb    qc_1     zip    qd   qe_1   qe_2   qe_3   qe_4   qf_1   qf_2      qf_3
   9394       1/30/2018 3:18     2        1    2   60563      2      1    1      1      1      1      1      1         1


   9412       1/30/2018 8:01         2   1    2    18248     1      1     1      1      1      1      1      2         2
   9431      1/30/2018 15:08         2   1    2    95971     4      1     1      1      1      1      1      2         2

   9447       1/31/2018 5:33         2   1    2    15563     1      1     1      1      1      1      1      2         2
   9457       1/31/2018 6:27         2   1    2    18326     1      1     1      1      1      1      1      1         2
   9463       1/31/2018 8:24         2   1    2    60025     2      1     1      1      1      1      1      1         1

   9466       1/31/2018 9:16         2   1    2    21629     3      1     1      1      1      1      1      2         2
   9481      1/31/2018 13:46         2   1    2    17257     1      1     1      1      1      1      1      1         2
   9482      1/31/2018 15:13         2   1    2    49007     2      1     1      1      1      1      1      2         2
   9483      1/31/2018 14:47         2   1    2    38024     3      1     1      1      1      1      1      2         2
   9497      1/31/2018 20:04         2   1    2    63368     2      1     1      1      1      2      1      2         1


   9516        2/1/2018 7:51         2   1    2    62952     2      1     1      1      1      1      1      2         2
   9518        2/1/2018 8:35         2   1    2    62095     2      1     1      1      1      1      1      1         1
   9527       2/1/2018 13:28         2   1    2    2760      1      1     1      1      1      1      1      1         2
   9560       2/2/2018 13:34         1   1    2    11208     1      1     1      1      1      1      1      1         1
   9647        2/4/2018 7:08         1   1    2    85546     4      1     1      1      1      1      1      2         2
   9664       2/4/2018 11:03         1   1    2    39180     3      1     1      1      1      1      1      1         2
   9671       2/4/2018 11:52         2   1    2    53081     2      1     1      1      1      2      1      2         2




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                                                        Survey Data File



responseid    qf_4      qf_5         qf_6   qf_7   qf_8   qf1_1   qf1_2   qf1_3   qf1_4   qf1_5   qf1_6   qf1_7   qf1_8   qg_1       qg_2
   9394        1         1            2      1      2                                                                      2          2


   9412         1         1           2      2      2                                                                      2           2
   9431         2         1           2      2      2                                                                      2           2

   9447         2         2           2      2      2                                                                      2           2
   9457         1         1           1      1      1                                                                      2           2
   9463         1         1           1      3      3                                                                      2           2

   9466         1         1           2      2      2                                                                      2           2
   9481         1         1           1      2      3                                                                      2           2
   9482         2         2           2      2      2                                                                      2           2
   9483         1         1           2      2      2                                                                      2           2
   9497         1         1           1      1      1                                                                      2           2


   9516         1         2           2      1      2                                                                      2           2
   9518         2         1           2      1      2                                                                      2           2
   9527         1         1           2      3      2                                                                      2           2
   9560         1         1           1      1      1                                                                      2           2
   9647         2         2           2      2      2                                                                      2           2
   9664         2         1           1      1      2                                                                      2           2
   9671         1         1           2      2      2                                                                      2           2




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responseid    qg_3      qg_4         qg_5   qh   qi   qj   qk     ql     qm     qn    qcell   qp
   9394        2         2            2      2   2    2     1     1       1           303      1


   9412         2                     2     2         2     1      1     1            505     1
   9431         2                           2               1      2                  101     1

   9447         2                           2               2      1     1            101     1
   9457         3                     2               2     1      2                  606     1
   9463         2         3           2     2         2     1      1     1            505     1

   9466         2                     2     2         2     1      1     1            606     1
   9481         2                     2     2         2     1      1     1            505     1
   9482         2                           2               1      2                  101     1
   9483         2                     2     2         2     1      1     1            606     1
   9497         2         2           2     2    2    2     2      1     1            303     1


   9516         2                     2     2         2     1      2                  606     1
   9518         2         2                 2    2          1      1     1            303     1
   9527         2                     2     2         2     2      1     1            606     1
   9560         2         2           2     2    2    2     1      1     1            303     1
   9647         2                           2               2      1     1            202     1
   9664         2                           2               1      2                  202     1
   9671         2                     2     2         2     2      1     1            505     1




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                                                               Q1_    Q1_                                                       Q2_    Q2_    Q2_
responseid                        q1                          CODE_1 CODE_2                         q2                         CODE_1 CODE_2 CODE_3      q3
   9394    monster                                              2           The tumbler is labeled "Monster" and the other       2                        2
                                                                            areas on the packaging with the word "Monster"
                                                                            appear to be the brand's logo.
   9412    MONSTER                                              2           THE NAME ON IT                                       2                       2
   9431    Have no idea, I wouldn't buy it, and monster is an   10          its a cheap tool made for a doityourself kinda guy   9                       2
           energy drink anyway...
   9447    monster                                              2           the name on handle                                   2                       2
   9457    mountain                                             3           logo                                                 3                       2
   9463    MONSTER                                              2           ITS PRINTED ON THE LIGHT                             2                       2

   9466     Mountain                                       3              printed on item                                         2                      2
   9481     mac                                            4              dont knoq                                              10                      2
   9482     I don't know                                   10             Not familiar with Monster                               9                      2
   9483     Mountain                                       3              The wording on the light                                2                      2
   9497     Monster energy                                 1              the word monster and the green plus the cup             2   3       9          1
                                                                          looks like a monster. It honestly looks like an off-
                                                                          brand knock off
   9516     moutrin                                        3              it's on the light                                      2                       2
   9518     Monster                                        2              Only name on the package                               2                       2
   9527     Moluntain                                      3              Marking on item                                        2                       2
   9560     Monster                                        2              Its the brand on the package                           2                       2
   9647     Mountain                                       3              The brand is displayed on the handle                   2                       2
   9664     mountain                                       3              it says it on the tool                                 2                       2
   9671     monster                                        2              name on light                                          2                       2




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                                                         Survey Data File


                                                 Q4_    Q4_                                                         Q5_    Q5_
responseid                         q4           CODE_1 CODE_2                         q5                           CODE_1 CODE_2   q6
   9394                                                                                                                             2


   9412                                                                                                                            3
   9431                                                                                                                            1

   9447                                                                                                                            3
   9457                                                                                                                            3
   9463                                                                                                                            1

   9466                                                                                                                            3
   9481                                                                                                                            1
   9482                                                                                                                            2
   9483                                                                                                                            3
   9497      probably more cups or drinks          1      9     well seeing the cup shows they must have a broad     1      9      1
                                                                range of products for sale as cups and drinks

   9516                                                                                                                            3
   9518                                                                                                                            2
   9527                                                                                                                            3
   9560                                                                                                                            2
   9647                                                                                                                            3
   9664                                                                                                                            1
   9671                                                                                                                            3




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                                                                                                                                    EX1-197
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                                                         Survey Data File


                                                           Q7_    Q7_                                                         Q8_    Q8_
responseid                        q7                      CODE_1 CODE_2                             q8                       CODE_1 CODE_2   q9
   9394                                                                                                                                       2


   9412                                                                                                                                      2
   9431      China?                                         9             because not a real tool                              9             2

   9447                                                                                                                                      2
   9457                                                                                                                                      2
   9463      I DONT KNOW                                    10            I DONT SEE ANY OTHER MARKINGS ON                     9             2
                                                                          IT
   9466                                                                                                                                      2
   9481      monster                                        2             color and name on light                              2      3      2
   9482                                                                                                                                      2
   9483                                                                                                                                      2
   9497      Almost looks like something sponsored from     9             the design's on the logo have a skull plus it's      3      9      2
             BMX... Skateboarding... etc.                                 insulated so it shouldn't spill while you do BMX
                                                                          tricks.
   9516                                                                                                                                      2
   9518                                                                                                                                      2
   9527                                                                                                                                      2
   9560                                                                                                                                      2
   9647                                                                                                                                      1
   9664      snap on                                                      the syle of the tool                                 3             2
   9671                                                                                                                                      2




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                                                                                                                                              EX1-198
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                                                            #:2802
                                                        Survey Data File



responseid   q10a_1    q10b_1   q10c_1   q11_1   q12_1   q13
   9394        3          4       2      60563            1


   9412         3         4          2   18248            1
   9431         3         4          2   95971            1

   9447         3         4          2   15563            1
   9457         3         4          2   18326            1
   9463         3         4          2   60025            1

   9466         3         4          2   21629            1
   9481         3         4          2   17257            1
   9482         3         4          2   49007            1
   9483         3         4          2   38024            1
   9497         3         4          2   63368            1


   9516         3         4          2   62952            1
   9518         3         4          2   62095            1
   9527         3         4          2    2760            1
   9560         3         4          2   11208            1
   9647         3         4          2   85546            1
   9664         3         4          2   39180            1
   9671         3         4          2   53081            1




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                                                       Survey Data Map

                                                                             Variable Information
Variable                                                                                        Label
responseid            ResponseID
interview_end         Interview End
qsamp                 Shown for testing purposes only, please do not alter response
qa                    What is your gender?
qb                    What is your age?
qc_1                  Please enter the ZIP code of your work address. If you don't know the ZIP code of your work address, please enter the ZIP code of your home address
                      instead.
hidregionzip          region from zip code
qd                    Which, if any, of the following best describes the industry in which you work? If you work in more than one industry, please answer thinking about the
                      industry in which you typically spend the most time working in a week.
qe_1                  Which, if any, of the following types of retailers are you likely to purchase from in the next 2 years? - Mobile tool distributor or tool truck
qe_2
                      Which, if any, of the following types of retailers are you likely to purchase from in the next 2 years? - Hardware store or home improvement store
qe_3                  Which, if any, of the following types of retailers are you likely to purchase from in the next 2 years? - Auto parts wholesaler or retailer
qe_4                  Which, if any, of the following types of retailers are you likely to purchase from in the next 2 years? - Tire distributor or retailer
qf_1
                      Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? - Hand tools
qf_2
                      Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? - Work gloves
qf_3                  Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? - Drink or
                      beverage tumbler
qf_4                  Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? - Portable
                      lights or lighting
qf_5                  Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? - Protective
                      glasses or goggles
qf_6
                      Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? - Oil or grease
qf_7
                      Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? - Hand cleaner
qf_8
                      Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? - Car parts
qf1_1                 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer
                      yes,no or don't know. - Hand tools
qf1_2                 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer
                      yes,no or don't know. - Work gloves
qf1_3                 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer
                      yes,no or don't know. - Drink or beverage tumbler



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                                                                                                                                                                    EX1-200
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                                                                            Variable Information
Variable                                                                                       Label
qf1_4                 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer
                      yes,no or don't know. - Portable lights or lighting
qf1_5                 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer
                      yes,no or don't know. - Protective glasses or goggles
qf1_6                 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer
                      yes,no or don't know. - Oil or grease
qf1_7                 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer
                      yes,no or don't know. - Hand cleaner
qf1_8                 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer
                      yes,no or don't know. - Car parts
qg_1                  Do you or does any member of your household work for any of these types of companies? - An advertising or public relations company
qg_2                  Do you or does any member of your household work for any of these types of companies? - A marketing research company
qg_3                  Do you or does any member of your household work for any of these types of companies? - A manufacturer or distributor of tools
qg_4                  Do you or does any member of your household work for any of these types of companies? - A manufacturer or distributor of drinkware
qg_5
                      Do you or does any member of your household work for any of these types of companies? - A manufacturer or distributor of lights or lighting
qh                    H. Have you participated in any survey about tools in the past 60 days?
qi                    Have you participated in any survey about drinkware in the past 60 days?
qj                    Have you participated in any survey about lights or lighting in the past 60 days?
qk                    Please indicate the type of device you are using to take this survey.
ql                    Do you usually wear eyeglasses or contact lenses when you use a [PIPE-IN DEVICE TYPE FROM Q.K; DO NOT BOLD OR CAPITALIZE]?
qm                    Are you wearing your eyeglasses or contact lenses right now?
qn
                      Please put on your eyeglasses or contact lenses to complete the remainder of the survey. Are you wearing your eyeglasses or contact lenses right now?
qcell                 CELL ASSIGNMENT
qp                    Did you see the item in the picture clearly?
q1                    What company or brand do you think makes or puts out the item shown in the picture?
Q1_CODE_1             Verbatim code
Q1_CODE_2             Verbatim code
q2                    What makes you think that?
Q2_CODE_1             Verbatim code
Q2_CODE_2             Verbatim code
Q2_CODE_3             Verbatim code
q3                    Are you aware of any other products or brands made or put out by the company that makes or puts out the item shown in the picture?
q4                    What other products or brands do you think are made or put out by the company that makes or puts out the item shown in the picture?
Q4_CODE_1             Verbatim code
Q4_CODE_2             Verbatim code



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                                                                                                                                                                  EX1-201
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                                                       Survey Data Map

                                                                           Variable Information
Variable                                                                                      Label
q5                    What makes you think that?
Q5_CODE_1             Verbatim code
Q5_CODE_2             Verbatim code
q6                    Do you think that whoever makes or puts out this item ...?
q7                    What other company or brand do you believe sponsored or approved whoever makes or puts out the item shown in the picture?
Q7_CODE_1             Verbatim code
Q7_CODE_2             Verbatim code
q8                    What makes you think that?
Q8_CODE_1             Verbatim code
Q8_CODE_2             Verbatim code
q9                    Do you have any type of colorblindness or color vision deficiency?
q10a_1                For each column below, please indicate the color of the square you see on your screen. - Column A
q10b_1                For each column below, please indicate the color of the square you see on your screen. - Column B
q10c_1                For each column below, please indicate the color of the square you see on your screen. - Column C
q11_1                 Please enter the ZIP code of your work address. If you don't know the ZIP code of your work address, please enter the ZIP code of your home address
                      instead.
q12_1                 To verify, please re-enter the ZIP code of your work address. If you don't know the ZIP code of your work address, please enter the ZIP code of your home
                      address instead.
q13                   ...I completed this survey myself, without assistance or advice from any other person or source, and in accordance with the instructions provided in the
                      survey. The answers I have given are truthful expressions of my opinions.




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                                                                                                                                                               EX1-202
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                                                           #:2806
                                                       Survey Data Map

                                                                                Variable Values
Value                                                                                                Label
qsamp            1    SSI Sample
                 2    Magazine Subscriber List
qa               1    Male
                 2    Female
                 3    Prefer not to answer
qb               1    17 years old or younger
                 2    18 years old or older
                 3    Prefer not to answer
hidregionzip     1    Northeast
                 2    Midwest
                 3    South
                 4    West
                 5    Not in the US
qd               1    Automotive or auto body service or repair
                 2    Appliance service or repair
                 3    Commercial or residential construction
                 4    Plumbing services
                 5    Heating or air conditioning service or repair
                 6    Something else not listed here
                 7    Prefer not to answer
qe_1             1    Yes, I am likely to purchase from this type of retailer in the next 2 years
                 2    No, I am not likely to purchase from this type of retailer in the next 2 years
                 3    I don’t know
qe_2             1    Yes, I am likely to purchase from this type of retailer in the next 2 years
                 2    No, I am not likely to purchase from this type of retailer in the next 2 years
                 3    I don’t know
qe_3             1    Yes, I am likely to purchase from this type of retailer in the next 2 years
                 2    No, I am not likely to purchase from this type of retailer in the next 2 years
                 3    I don’t know
qe_4             1    Yes, I am likely to purchase from this type of retailer in the next 2 years
                 2    No, I am not likely to purchase from this type of retailer in the next 2 years
                 3    I don’t know
qf_1             1    Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 2    No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 3    I don’t know
qf_2             1    Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 2    No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 3    I don’t know



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                                                                                                                                   EX1-203
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                                                           #:2807
                                                       Survey Data Map

                                                                                Variable Values
Value                                                                                               Label
qf_3             1    Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 2    No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 3    I don’t know
qf_4             1    Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 2    No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 3    I don’t know
qf_5             1    Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 2    No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 3    I don’t know
qf_6             1    Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 2    No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 3    I don’t know
qf_7             1    Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 2    No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 3    I don’t know
qf_8             1    Yes, I am likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 2    No, I am not likely to purchase this item from a mobile tool distributor or tool truck in the next 2 years
                 3    I don’t know
qf1_1            1    Yes, I am likely to purchase this item from any type of retailer in the next 2 years
                 2    No, I am not likely to purchase this item from any type of retailer in the next 2 years
                 3    I don’t know
qf1_2            1    Yes, I am likely to purchase this item from any type of retailer in the next 2 years
                 2    No, I am not likely to purchase this item from any type of retailer in the next 2 years
                 3    I don’t know
qf1_3            1    Yes, I am likely to purchase this item from any type of retailer in the next 2 years
                 2    No, I am not likely to purchase this item from any type of retailer in the next 2 years
                 3    I don’t know
qf1_4            1    Yes, I am likely to purchase this item from any type of retailer in the next 2 years
                 2    No, I am not likely to purchase this item from any type of retailer in the next 2 years
                 3    I don’t know
qf1_5            1    Yes, I am likely to purchase this item from any type of retailer in the next 2 years
                 2    No, I am not likely to purchase this item from any type of retailer in the next 2 years
                 3    I don’t know
qf1_6            1    Yes, I am likely to purchase this item from any type of retailer in the next 2 years
                 2    No, I am not likely to purchase this item from any type of retailer in the next 2 years
                 3    I don’t know




Exhibit 8 - Isaacson Expert Report                                                                                                           Page 5
                                                                                                                                   EX1-204
                         Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 206 of 260 Page ID
                                                           #:2808
                                                       Survey Data Map

                                                                                Variable Values
Value                                                                                               Label
qf1_7            1    Yes, I am likely to purchase this item from any type of retailer in the next 2 years
                 2    No, I am not likely to purchase this item from any type of retailer in the next 2 years
                 3    I don’t know
qf1_8            1    Yes, I am likely to purchase this item from any type of retailer in the next 2 years
                 2    No, I am not likely to purchase this item from any type of retailer in the next 2 years
                 3    I don’t know
qg_1             1    Yes, someone in my household does work for this type of company
                 2    No, no one in my household works for this type of company
                 3    I don’t know
qg_2             1    Yes, someone in my household does work for this type of company
                 2    No, no one in my household works for this type of company
                 3    I don’t know
qg_3             1    Yes, someone in my household does work for this type of company
                 2    No, no one in my household works for this type of company
                 3    I don’t know
qg_4             1    Yes, someone in my household does work for this type of company
                 2    No, no one in my household works for this type of company
                 3    I don’t know
qg_5             1    Yes, someone in my household does work for this type of company
                 2    No, no one in my household works for this type of company
                 3    I don’t know
qh               1    Yes, I have participated in a survey about tools within the past 60 days
                 2    No, I have not participated in a survey about tools within the past 60 days
                 3    I don’t know
qi               1    Yes, I have participated in a survey about drinkware within the past 60 days
                 2    No, I have not participated in a survey about drinkware within the past 60 days
                 3    I don’t know
qj               1    Yes, I have participated in a survey about lights or lighting within the past 60 days
                 2    No, I have not participated in a survey about lights or lighting within the past 60 days
                 3    I don’t know
qk               1    Desktop computer
                 2    Laptop computer
                 3    Tablet
                 4    Smartphone
                 5    Some other type of device not listed above
                 6    I don’t know




Exhibit 8 - Isaacson Expert Report                                                                                         Page 6
                                                                                                                 EX1-205
                         Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 207 of 260 Page ID
                                                           #:2809
                                                       Survey Data Map

                                                                          Variable Values
Value                                                                                            Label
ql               1    Yes, I do usually wear eyeglasses or contact lenses when I use a [PIPE-IN DEVICE TYPE FROM Q.K]
                 2    No, I do not usually wear eyeglasses or contact lenses when I use a [PIPE-IN DEVICE TYPE FROM Q.K.]
qm               1    Yes
                 2    No
qn               1    Yes, I am wearing my eyeglasses or contact lenses
                 2    No, I am not wearing my eyeglasses or contact lenses
qcell           101   Cell 1 - 101 Test screwdriver
                202   Cell 2 - 202 Control screwdriver
                303   Cell 3 - 303 Test tumbler
                404   Cell 4 - 404 Control tumbler
                505   Cell 5 - 505 Test worklight
                606   Cell 6 - 606 Control worklight
qp               1    Yes, I did see the item in the picture clearly
                 2    No, I did not see the item in the picture clearly
                 3    I don’t know
q3               1    Yes
                 2    No
                 3    I don’t know
q6               1    Is sponsored or approved by another company or brand,
                 2    Is not sponsored or approved by another company or brand,
                 3    Or, I don’t know or have no opinion
q9               1    Yes, I do have some type of colorblindness or color vision deficiency
                 2    No, I do not have any type of colorblindness or color vision deficiency
                 3    I don’t know
q10a_1           1    Black
                 2    Blue
                 3    Green
                 4    Red
                 5    White
                 6    Some other color not listed here
                 7    I don’t know/am not sure
q10b_1           1    Black
                 2    Blue
                 3    Green
                 4    Red
                 5    White
                 6    Some other color not listed here
                 7    I don’t know/am not sure



Exhibit 8 - Isaacson Expert Report                                                                                                    Page 7
                                                                                                                            EX1-206
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                                                           #:2810
                                                       Survey Data Map

                                                           Variable Values
Value                                                                        Label
q10c_1           1    Black
                 2    Blue
                 3    Green
                 4    Red
                 5    White
                 6    Some other color not listed here
                 7    I don’t know/am not sure
q13              1    I agree
                 2    I disagree




Exhibit 8 - Isaacson Expert Report                                                                                   Page 8
                                                                                                           EX1-207
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                                  #:2811




                                  Exhibit 9:
                   Codes for Analyzing Verbatim Responses




                                                                       EX1-208
Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 210 of 260 Page ID
                                  #:2812



                                           Tools Survey
                                        Verbatim Code Sheet


  Q.1     What company or brand do you think makes or puts out the item shown in the picture?
  Q.4     What other products or brands do you think are made or put out by the company that
          makes or puts out the item shown in the picture?
  Q.7     What other company or brand do you believe sponsored or approved whoever makes or
          puts out the item shown in the picture?



                     Monster Energy Company
              1
                     (Monster Energy / Monster energy drinks / Energy drinks / A drink company)
                     Monster, unspecified
              2
                     (Referenced “Monster,” but did not specify Monster Energy Company or ISN)
                     Mountain or Mountain Mobile
              3
                     (Mountain tools / Mountain electronics)
                     Brands other than Monster
              4      (Brands of retailers or tools, such as Sears, Craftsman, Snap-On, Harbor
                     Freight, AutoZone, and others)
                     ISN, including ISN Monster
              5
                     (ISN brands, such as Monster tools / Monster lighting / Monster Mobile)
              6      Tools or types of tools
              9      Other
             10      Don’t know




  Exhibit 9 - Isaacson Expert Report                                                            Page 1

                                                                                                EX1-209
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                                  #:2813



                                             Tools Survey
                                          Verbatim Code Sheet


  Q.2     What makes you think that?
  Q.5     What makes you think that?
  Q.8     What makes you think that?



                     The name or Monster Energy Company
              2      (It’s written on it / It says it / It’s on the label / I see it / Monster Energy /
                     Monster energy drinks / Energy drinks / A drink company)
                     The logo, design, or colors
              3
                     (The logo / The design / The style / The colors / It looks like their product)
                     Personal experience
              4
                     (I’ve seen, used, owned it before / They advertise / Familiar)
              5      Brand of tool, light, or retailer
              9      Other
             10      Don’t know




  Exhibit 9 - Isaacson Expert Report                                                                      Page 2

                                                                                                          EX1-210
Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 212 of 260 Page ID
                                  #:2814




                                 Exhibit 10:
                           Cross Tabulation Tables




                                                                       EX1-211
                           Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 213 of 260 Page ID
                                                               #:2815 Tables
                                                       Cross Tabulation

Q.A What is your gender?

Base: All Respondents




                                                                                Counts                           Percentages
                                                                      All       Total     Total        All          Total         Total
                                                                  Respondents   Test     Control   Respondents      Test         Control
Sample size                                                           449        233       216       100.0%        100.0%        100.0%


Male                                                                  418        216      202        93.1%         92.7%          93.5%
Female                                                                31          17       14         6.9%          7.3%          6.5%
Prefer not to answer                                                   0          0        0          0.0%          0.0%          0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                   Page 1
                                                                                                                            EX1-212
                          Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 214 of 260 Page ID
                                                              #:2816 Tables
                                                      Cross Tabulation

Q.B What is your age?

Base: All Respondents




                                                                               Counts                           Percentages
                                                                     All       Total     Total        All          Total         Total
                                                                 Respondents   Test     Control   Respondents      Test         Control
Sample size                                                          449        233       216       100.0%        100.0%        100.0%


17 years old or younger                                               0          0        0          0.0%          0.0%          0.0%
18 years old or older                                                449        233      216        100.0%        100.0%        100.0%
Prefer not to answer                                                  0          0        0          0.0%          0.0%          0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                  Page 2
                                                                                                                           EX1-213
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                                                             #:2817 Tables
                                                     Cross Tabulation

Q.C Please enter the ZIP code of your work address. If you don’t know the ZIP code of your work address, please enter the ZIP code of your home address instead.
Region

Base: All Respondents




                                                                                                    Counts                                 Percentages
                                                                                       All           Total         Total         All          Total         Total
                                                                                   Respondents       Test         Control    Respondents      Test         Control
Sample size                                                                            449            233           216        100.0%        100.0%        100.0%


Northeast                                                                               98            48            50          21.8%         20.6%         23.1%
Midwest                                                                                 136           74            62          30.3%         31.8%         28.7%
South                                                                                   122           63            59          27.2%         27.0%         27.3%
West                                                                                    93            48            45          20.7%         20.6%         20.8%




Exhibit 10 - Isaacson Expert Report                                                                                                                             Page 3
                                                                                                                                                      EX1-214
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                                                                  #:2818 Tables
                                                          Cross Tabulation

Q.D Which, if any, of the following best describes the industry in which you work? If you work in more than one industry, please answer thinking about the industry in
which you typically spend the most time working in a week.

Base: All Respondents




                                                                                                     Counts                                  Percentages
                                                                                        All           Total         Total         All           Total         Total
                                                                                    Respondents       Test         Control    Respondents       Test         Control
Sample size                                                                             449            233           216        100.0%         100.0%        100.0%


Automotive or auto body service or repair                                                449           233           216         100.0%        100.0%        100.0%
Appliance service or repair                                                               0             0             0           0.0%          0.0%          0.0%
Commercial or residential construction                                                    0             0             0           0.0%          0.0%          0.0%
Plumbing services                                                                         0             0             0           0.0%          0.0%          0.0%
Heating or air conditioning service or repair                                             0             0             0           0.0%          0.0%          0.0%
Something else not listed here                                                            0             0             0           0.0%          0.0%          0.0%
Prefer not to answer                                                                      0             0             0           0.0%          0.0%          0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                               Page 4
                                                                                                                                                        EX1-215
                               Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 217 of 260 Page ID
                                                                   #:2819 Tables
                                                           Cross Tabulation

Q.E Which, if any, of the following types of retailers are you likely to purchase from in the next 2 years? For each item, please answer yes, no, or you don’t know.
Summary of "Yes" responses

Base: All Respondents




                                                                                                        Counts                                  Percentages
                                                                                          All           Total          Total          All           Total         Total
                                                                                      Respondents       Test          Control     Respondents       Test         Control
Sample size                                                                               449            233            216         100.0%         100.0%        100.0%


Mobile tool distributor or tool truck                                                      449           233            216         100.0%         100.0%        100.0%
Hardware store or home improvement store                                                   418           217            201          93.1%         93.1%          93.1%
Auto parts wholesaler or retailer                                                          443           229            214          98.7%         98.3%          99.1%
Tire distributor or retailer                                                               401           205            196          89.3%         88.0%          90.7%




Exhibit 10 - Isaacson Expert Report                                                                                                                                    Page 5
                                                                                                                                                            EX1-216
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                                                                  #:2820 Tables
                                                          Cross Tabulation

Q.F Which, if any, of the following items do you think you are likely to purchase from a mobile tool distributor or tool truck in the next 2 years? For each item, please
answer yes, no, or you don’t know.
Summary of "Yes" responses

Base: All Respondents



                                                                                                        Counts                                   Percentages
                                                                                           All           Total         Total          All           Total          Total
                                                                                       Respondents       Test         Control     Respondents       Test          Control
Sample size                                                                                449            233           216         100.0%         100.0%         100.0%


Hand tools                                                                                 441            228           213          98.2%          97.9%         98.6%
Work gloves                                                                                199            104            95          44.3%          44.6%         44.0%
Drink or beverage tumbler                                                                   43            26             17           9.6%          11.2%          7.9%
Portable lights or lighting                                                                268            138           130          59.7%          59.2%         60.2%
Protective glasses or goggles                                                              231            124           107          51.4%          53.2%         49.5%
Oil or grease                                                                               85            45             40          18.9%          19.3%         18.5%
Hand cleaner                                                                               126            64             62          28.1%          27.5%         28.7%
Car parts                                                                                   95            54             41          21.2%          23.2%         19.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                                   Page 6
                                                                                                                                                            EX1-217
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                                                                  #:2821 Tables
                                                          Cross Tabulation

Q.F1 Which, if any, of the following items do you think you are likely to purchase from any type of retailer in the next 2 years? For each item, please answer yes, no, or
you don’t know.
Summary of "Yes" responses
NA = Not asked

Base: All Respondents


                                                                                                        Counts                                   Percentages
                                                                                          All            Total         Total          All           Total         Total
                                                                                      Respondents        Test         Control     Respondents       Test         Control
Sample size                                                                               449             233           216         100.0%         100.0%        100.0%


Hand tools                                                                                  4              4            NA            0.9%          1.7%              NA
Work gloves                                                                                 5              5            NA            1.1%          2.1%              NA
Drink or beverage tumbler                                                                   5              5            NA            1.1%          2.1%              NA
Portable lights or lighting                                                                 5              5            NA            1.1%          2.1%              NA
Protective glasses or goggles                                                               4              4            NA            0.9%          1.7%              NA
Oil or grease                                                                               4              4            NA            0.9%          1.7%              NA
Hand cleaner                                                                                3              3            NA            0.7%          1.3%              NA
Car parts                                                                                   3              3            NA            0.7%          1.3%              NA




Exhibit 10 - Isaacson Expert Report                                                                                                                                    Page 7
                                                                                                                                                            EX1-218
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                                                                 #:2822 Tables
                                                         Cross Tabulation

Q.G Do you or does any member of your household work for any of these types of companies? For each type of company, please answer yes, no, or you don’t know.
Summary of "No" responses

Base: All Respondents




                                                                                                  Counts                                Percentages
                                                                                      All          Total        Total         All           Total         Total
                                                                                  Respondents      Test        Control    Respondents       Test         Control
Sample size                                                                           449           233          216        100.0%         100.0%        100.0%


An advertising or public relations company                                            449           233          216         100.0%        100.0%        100.0%
A marketing research company                                                          449           233          216         100.0%        100.0%        100.0%
A manufacturer or distributor of tools                                                436           227          209          97.1%        97.4%          96.8%
A manufacturer or distributor of drinkware                                             46           29            17          10.2%        12.4%          7.9%
A manufacturer or distributor of lights or lighting                                   266           137          129          59.2%        58.8%          59.7%




Exhibit 10 - Isaacson Expert Report                                                                                                                           Page 8
                                                                                                                                                    EX1-219
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                                                                #:2823 Tables
                                                        Cross Tabulation

Q.H Have you participated in any survey about tools in the past 60 days? Please answer yes, no, or you don’t know.

Base: All Respondents




                                                                                                    Counts                                   Percentages
                                                                                        All          Total            Total        All          Total         Total
                                                                                    Respondents      Test            Control   Respondents      Test         Control
Sample size                                                                             449           233              216       100.0%        100.0%        100.0%


Yes, I have participated in a survey about tools within the past 60 days                 3             3               0          0.7%          1.3%          0.0%
No, I have not participated in a survey about tools within the past 60 days             430           222             208        95.8%         95.3%          96.3%
I don’t know                                                                             3             2               1          0.7%          0.9%          0.5%
Not asked                                                                                13            6               7          2.9%          2.6%          3.2%




Exhibit 10 - Isaacson Expert Report                                                                                                                               Page 9
                                                                                                                                                        EX1-220
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                                                                #:2824 Tables
                                                        Cross Tabulation

Q.I Have you participated in any survey about drinkware in the past 60 days? Please answer yes, no, or you don’t know.

Base: All Respondents




                                                                                                    Counts                               Percentages
                                                                                       All           Total        Total        All          Total         Total
                                                                                   Respondents       Test        Control   Respondents      Test         Control
Sample size                                                                            449            233          216       100.0%        100.0%        100.0%


Yes, I have participated in a survey about drinkware within the past 60 days             0             0             0        0.0%          0.0%          0.0%
No, I have not participated in a survey about drinkware within the past 60 days         46            29            17       10.2%         12.4%          7.9%
I don’t know                                                                             0             0             0        0.0%          0.0%          0.0%
Not asked                                                                               403          204           199       89.8%         87.6%          92.1%




Exhibit 10 - Isaacson Expert Report                                                                                                                           Page 10
                                                                                                                                                    EX1-221
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                                                                 #:2825 Tables
                                                         Cross Tabulation

Q.J Have you participated in any survey about lights or lighting in the past 60 days? Please answer yes, no, or you don’t know.

Base: All Respondents




                                                                                                         Counts                                 Percentages
                                                                                               All       Total       Total            All          Total         Total
                                                                                           Respondents   Test       Control       Respondents      Test         Control
Sample size                                                                                    449        233         216           100.0%        100.0%        100.0%


Yes, I have participated in a survey about lights or lighting within the past 60 days           1          1           0             0.2%          0.4%          0.0%
No, I have not participated in a survey about lights or lighting within the past 60 days       265        136         129           59.0%         58.4%          59.7%
I don’t know                                                                                    0          0           0             0.0%          0.0%          0.0%
Not asked                                                                                      183         96          87           40.8%         41.2%          40.3%




Exhibit 10 - Isaacson Expert Report                                                                                                                                  Page 11
                                                                                                                                                           EX1-222
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                                                               #:2826 Tables
                                                       Cross Tabulation

Q.K Please indicate the type of device you are using to take this survey.

Base: All Respondents




                                                                                          Counts                           Percentages
                                                                                All       Total     Total        All          Total         Total
                                                                            Respondents   Test     Control   Respondents      Test         Control
Sample size                                                                     449        233       216       100.0%        100.0%        100.0%


Desktop computer                                                                317        158      159        70.6%         67.8%          73.6%
Laptop computer                                                                 106         61       45        23.6%         26.2%          20.8%
Tablet                                                                          26          14       12         5.8%          6.0%          5.6%
Smartphone                                                                       0          0        0          0.0%          0.0%          0.0%
Some other type of device not listed above                                       0          0        0          0.0%          0.0%          0.0%
I don’t know                                                                     0          0        0          0.0%          0.0%          0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                             Page 12
                                                                                                                                      EX1-223
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                                                              #:2827 Tables
                                                      Cross Tabulation

Q.L Do you usually wear eyeglasses or contact lenses when you use a [DEVICE TYPE FROM Q.K]?

Base: All Respondents




                                                                                                   Counts                           Percentages
                                                                                         All       Total     Total        All          Total         Total
                                                                                     Respondents   Test     Control   Respondents      Test         Control
Sample size                                                                              449        233       216       100.0%        100.0%        100.0%


Yes, I do usually wear eyeglasses or contact lenses when I use a [DEVICE TYPE FROM
                                                                                         260        139      121        57.9%         59.7%          56.0%
Q.K]
No, I do not usually wear eyeglasses or contact lenses when I use a [DEVICE TYPE
                                                                                         189         94       95        42.1%         40.3%          44.0%
FROM Q.K.]




Exhibit 10 - Isaacson Expert Report                                                                                                                      Page 13
                                                                                                                                               EX1-224
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                                                             #:2828 Tables
                                                     Cross Tabulation

Q.M Are you wearing your eyeglasses or contact lenses right now?

Base: All Respondents




                                                                                 Counts                           Percentages
                                                                       All       Total     Total        All          Total         Total
                                                                   Respondents   Test     Control   Respondents      Test         Control
Sample size                                                            449        233       216       100.0%        100.0%        100.0%


Yes                                                                    254        137      117        56.6%         58.8%          54.2%
No                                                                      6          2        4          1.3%          0.9%          1.9%
Not asked                                                              189         94       95        42.1%         40.3%          44.0%




Exhibit 10 - Isaacson Expert Report                                                                                                    Page 14
                                                                                                                             EX1-225
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                                                               #:2829 Tables
                                                       Cross Tabulation

Q.N Please put on your eyeglasses or contact lenses to complete the remainder of the survey. Are you wearing your eyeglasses or contact lenses right now?

Base: All Respondents




                                                                                                     Counts                                  Percentages
                                                                                        All           Total         Total         All           Total         Total
                                                                                    Respondents       Test         Control    Respondents       Test         Control
Sample size                                                                             449            233           216        100.0%         100.0%        100.0%


Yes, I am wearing my eyeglasses or contact lenses                                         6             2             4           1.3%          0.9%          1.9%
No, I am not wearing my eyeglasses or contact lenses                                      0             0             0           0.0%          0.0%          0.0%
Not asked                                                                                443           231           212          98.7%         99.1%         98.2%




Exhibit 10 - Isaacson Expert Report                                                                                                                               Page 15
                                                                                                                                                        EX1-226
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                                                                 #:2830 Tables
                                                         Cross Tabulation

Q.P Did you see the item in the picture clearly?

Base: All Respondents




                                                                                  Counts                           Percentages
                                                                        All       Total     Total        All          Total         Total
                                                                    Respondents   Test     Control   Respondents      Test         Control
Sample size                                                             449        233       216       100.0%        100.0%        100.0%


Yes, I did see the item in the picture clearly                          449        233      216        100.0%        100.0%        100.0%
No, I did not see the item in the picture clearly                        0          0        0          0.0%          0.0%          0.0%
I don’t know                                                             0          0        0          0.0%          0.0%          0.0%




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                                                                                                                              EX1-227
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                                                               #:2831 Tables
                                                       Cross Tabulation

Q.1 What company or brand do you think makes or puts out the item shown in the picture?

Base: All Respondents




                                                                                                                  Counts            Percentages
                                                                                                          Total         Total     Total         Total
                                                                                                          Test         Control    Test         Control
Sample size                                                                                                233           216     100.0%        100.0%


Monster Energy Company
                                                                                                           10               0    4.3%           0.0%
(Monster Energy / Monster energy drinks / Energy drinks / A drink company)
Monster, unspecified
                                                                                                          156               0    67.0%          0.0%
(Referenced “Monster,” but did not specify Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                                                                            0              172   0.0%           79.6%
(Mountain tools / Mountain electronics)
Brands other than Monster
                                                                                                           37              32    15.9%          14.8%
(Brands of retailers or tools, such as Sears, Craftsman, Snap-On, Harbor Freight, AutoZone, and others)
ISN, including ISN Monster
                                                                                                            8               0    3.4%           0.0%
(ISN brands, such as Monster tools / Monster lighting / Monster Mobile)
Tools or types of tools                                                                                     0               1    0.0%           0.5%
Other                                                                                                       6               1    2.6%           0.5%
Don't know                                                                                                 20              12    8.6%           5.6%




Exhibit 10 - Isaacson Expert Report                                                                                                                 Page 17
                                                                                                                                          EX1-228
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                                                               #:2832 Tables
                                                       Cross Tabulation

Q.1 What company or brand do you think makes or puts out the item shown in the picture?

Base: All Respondents




                                                                         Counts                                            Percentages
                                                         Test                          Control                     Test                   Control
                                                Screw-   Work                Screw-    Work              Screw-    Work          Screw-    Work
                                                driver   Light   Tumbler     driver    Light     Tumbler driver    Light Tumbler driver    Light Tumbler
Sample size                                      104      100      29         100       99         17    100.0%   100.0% 100.0% 100.0%    100.0% 100.0%


Monster Energy Company
(Monster Energy / Monster energy drinks /         1        4        5             0       0        0      1.0%    4.0%    17.2%    0.0%    0.0%       0.0%
Energy drinks / A drink company)
Monster, unspecified
(Referenced “Monster,” but did not specify        66      72        18            0       0        0     63.5%    72.0%   62.1%    0.0%    0.0%       0.0%
Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                  0        0        0             80      82       10     0.0%    0.0%    0.0%    80.0%   82.8%       58.8%
(Mountain tools / Mountain electronics)
Brands other than Monster
(Brands of retailers or tools, such as Sears,
                                                  22      14        1             16      12       4     21.2%    14.0%   3.4%    16.0%   12.1%       23.5%
Craftsman, Snap-On, Harbor Freight, AutoZone,
and others)
ISN, including ISN Monster
(ISN brands, such as Monster tools / Monster      2        4        2             0       0        0      1.9%    4.0%    6.9%     0.0%    0.0%       0.0%
lighting / Monster Mobile)
Tools or types of tools                           0        0        0             1       0        0      0.0%    0.0%    0.0%     1.0%    0.0%       0.0%
Other                                             2        2        2             0       0        1      1.9%    2.0%    6.9%     0.0%    0.0%       5.9%
Don't know                                        12       7        1             4       6        2     11.5%    7.0%    3.4%     4.0%    6.1%       11.8%




Exhibit 10 - Isaacson Expert Report                                                                                                                   Page 18
                                                                                                                                            EX1-229
                              Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 231 of 260 Page ID
                                                                  #:2833 Tables
                                                          Cross Tabulation

Q.2 What makes you think that? Please be as specific as possible.

Base: All Respondents




                                                                                                                                       Counts            Percentages
                                                                                                                               Total         Total     Total         Total
                                                                                                                               Test         Control    Test         Control
Sample size                                                                                                                     233           216     100.0%        100.0%


The name or Monster Energy Company
(It’s written on it / It says it / It’s on the label / I see it / Monster Energy / Monster energy drinks / Energy drinks / A   154              163   66.1%          75.5%
drink company)
The logo, design, or colors
                                                                                                                                54              29    23.2%          13.4%
(The logo / The design / The style / The colors / It looks like their product)
Personal experience
                                                                                                                                 7               5    3.0%           2.3%
(I’ve seen, used, owned it before / They advertise / Familiar)
Brand of tool, light, or retailer                                                                                                1               1    0.4%           0.5%
Other                                                                                                                           27              19    11.6%          8.8%
Don't know                                                                                                                      10              10    4.3%           4.6%




Exhibit 10 - Isaacson Expert Report                                                                                                                                      Page 19
                                                                                                                                                               EX1-230
                                Case 5:17-cv-00548-CBM-RAO Document 82-1 Filed 03/21/18 Page 232 of 260 Page ID
                                                                    #:2834 Tables
                                                            Cross Tabulation

Q.2 What makes you think that? Please be as specific as possible.

Base: All Respondents




                                                                                   Counts                                            Percentages
                                                                    Test                         Control                     Test                   Control
                                                           Screw-   Work               Screw-    Work              Screw-    Work          Screw-    Work
                                                           driver   Light   Tumbler    driver    Light     Tumbler driver    Light Tumbler driver    Light Tumbler
Sample size                                                 104      100      29        100       99         17    100.0%   100.0% 100.0% 100.0%    100.0% 100.0%


The name or Monster Energy Company
(It’s written on it / It says it / It’s on the label / I
                                                             66      68       20            73     79        11    63.5%    68.0%   69.0%   73.0%   79.8%       64.7%
see it / Monster Energy / Monster energy drinks /
Energy drinks / A drink company)
The logo, design, or colors
(The logo / The design / The style / The colors /            26      21        7            16      9        4     25.0%    21.0%   24.1%   16.0%    9.1%       23.5%
It looks like their product)
Personal experience
(I’ve seen, used, owned it before / They advertise           1        5        1            1       2        2      1.0%    5.0%    3.4%     1.0%    2.0%       11.8%
/ Familiar)
Brand of tool, light, or retailer                            0        1        0            1       0        0      0.0%    1.0%    0.0%     1.0%    0.0%       0.0%
Other                                                        13      10        4            7       8        4     12.5%    10.0%   13.8%    7.0%    8.1%       23.5%
Don't know                                                   7        3        0            3       7        0      6.7%    3.0%    0.0%     3.0%    7.1%       0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                             Page 20
                                                                                                                                                      EX1-231
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                                                             #:2835 Tables
                                                     Cross Tabulation

Q.3 Are you aware of any other products or brands made or put out by the company that makes or puts out the item shown in the picture? Please answer yes, no, or you
don’t know.

Base: All Respondents




                                                                                                                          Counts                 Percentages
                                                                                                                  Total         Total         Total         Total
                                                                                                                  Test         Control        Test         Control
Sample size                                                                                                        233           216         100.0%        100.0%


Yes                                                                                                                64              19        27.5%          8.8%
No                                                                                                                 142             167       60.9%          77.3%
I don’t know                                                                                                       27              30        11.6%          13.9%




Exhibit 10 - Isaacson Expert Report                                                                                                                             Page 21
                                                                                                                                                      EX1-232
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                                                             #:2836 Tables
                                                     Cross Tabulation

Q.3 Are you aware of any other products or brands made or put out by the company that makes or puts out the item shown in the picture? Please answer yes, no, or you
don’t know.

Base: All Respondents




                                                                          Counts                                                 Percentages
                                                          Test                          Control                       Test                        Control
                                               Screw-     Work                Screw-    Work              Screw-      Work          Screw-         Work
                                               driver     Light   Tumbler     driver    Light     Tumbler driver      Light Tumbler driver         Light Tumbler
Sample size                                     104        100      29         100       99         17    100.0%     100.0% 100.0% 100.0%         100.0% 100.0%


Yes                                              25        26        13            11      8        0      24.0%     26.0%     44.8%     11.0%      8.1%       0.0%
No                                               68        61        13            81     75        11     65.4%     61.0%     44.8%     81.0%     75.8%       64.7%
I don’t know                                     11        13         3            8      16        6      10.6%     13.0%     10.3%      8.0%     16.2%       35.3%




Exhibit 10 - Isaacson Expert Report                                                                                                                            Page 22
                                                                                                                                                     EX1-233
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                                                               #:2837 Tables
                                                       Cross Tabulation

Q.4 What other products or brands do you think are made or put out by the company that makes or puts out the item shown in the picture?

Base: All Respondents




                                                                                                                         Counts              Percentages
                                                                                                                 Total         Total       Total         Total
                                                                                                                 Test         Control      Test         Control
Sample size                                                                                                       233           216       100.0%        100.0%


Monster Energy Company
                                                                                                                   27             0       11.6%          0.0%
(Monster Energy / Monster energy drinks / Energy drinks / A drink company)
Monster, unspecified
                                                                                                                   0              0       0.0%           0.0%
(Referenced “Monster,” but did not specify Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                                                                                   0              2       0.0%           0.9%
(Mountain tools / Mountain electronics)
Brands other than Monster
                                                                                                                   8              8       3.4%           3.7%
(Brands of retailers or tools, such as Sears, Craftsman, Snap-On, Harbor Freight, AutoZone, and others)
ISN, including ISN Monster
                                                                                                                   1              0       0.4%           0.0%
(ISN brands, such as Monster tools / Monster lighting / Monster Mobile)
Tools or types of tools                                                                                            18             9       7.7%           4.2%
Other                                                                                                              7              2       3.0%           0.9%
Don't know                                                                                                         5              0       2.1%           0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                          Page 23
                                                                                                                                                   EX1-234
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                                                               #:2838 Tables
                                                       Cross Tabulation

Q.4 What other products or brands do you think are made or put out by the company that makes or puts out the item shown in the picture?

Base: All Respondents




                                                                         Counts                                                  Percentages
                                                          Test                        Control                        Test                        Control
                                                Screw-   Work                Screw-    Work             Screw-       Work          Screw-         Work
                                                driver   Light    Tumbler    driver    Light    Tumbler driver       Light Tumbler driver         Light Tumbler
Sample size                                      104      100       29        100       99        17    100.0%      100.0% 100.0% 100.0%         100.0% 100.0%


Monster Energy Company
(Monster Energy / Monster energy drinks /         10       10        7            0      0         0       9.6%      10.0%     24.1%      0.0%    0.0%       0.0%
Energy drinks / A drink company)
Monster, unspecified
(Referenced “Monster,” but did not specify        0         0        0            0      0         0       0.0%      0.0%      0.0%       0.0%    0.0%       0.0%
Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                  0         0        0            2      0         0       0.0%      0.0%      0.0%       2.0%    0.0%       0.0%
(Mountain tools / Mountain electronics)
Brands other than Monster
(Brands of retailers or tools, such as Sears,
                                                  3         2        3            6      2         0       2.9%      2.0%      10.3%      6.0%    2.0%       0.0%
Craftsman, Snap-On, Harbor Freight, AutoZone,
and others)
ISN, including ISN Monster
(ISN brands, such as Monster tools / Monster      0         1        0            0      0         0       0.0%      1.0%      0.0%       0.0%    0.0%       0.0%
lighting / Monster Mobile)
Tools or types of tools                           10        7        1            5      4         0       9.6%      7.0%      3.4%       5.0%    4.0%       0.0%
Other                                             1         4        2            0      2         0       1.0%      4.0%      6.9%       0.0%    2.0%       0.0%
Don't know                                        1         3        1            0      0         0       1.0%      3.0%      3.4%       0.0%    0.0%       0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                          Page 24
                                                                                                                                                   EX1-235
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                                                               #:2839 Tables
                                                       Cross Tabulation

Q.4 What other products or brands do you think are made or put out by the company that makes or puts out the item shown in the picture?
Excludes double counting of respondents

Base: All Respondents




                                                                                                                         Counts              Percentages
                                                                                                                 Total         Total       Total         Total
                                                                                                                 Test         Control      Test         Control
Sample size                                                                                                       233           216       100.0%        100.0%


Monster Energy Company
                                                                                                                   24             0       10.3%          0.0%
(Monster Energy / Monster energy drinks / Energy drinks / A drink company)
Monster, unspecified
                                                                                                                   0              0       0.0%           0.0%
(Referenced “Monster,” but did not specify Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                                                                                   0              0       0.0%           0.0%
(Mountain tools / Mountain electronics)
Brands other than Monster
                                                                                                                   7              5       3.0%           2.3%
(Brands of retailers or tools, such as Sears, Craftsman, Snap-On, Harbor Freight, AutoZone, and others)
ISN, including ISN Monster
                                                                                                                   1              0       0.4%           0.0%
(ISN brands, such as Monster tools / Monster lighting / Monster Mobile)
Tools or types of tools                                                                                            18             9       7.7%           4.2%
Other                                                                                                              7              2       3.0%           0.9%
Don't know                                                                                                         5              0       2.1%           0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                          Page 25
                                                                                                                                                   EX1-236
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                                                               #:2840 Tables
                                                       Cross Tabulation

Q.4 What other products or brands do you think are made or put out by the company that makes or puts out the item shown in the picture?
Excludes double counting of respondents

Base: All Respondents




                                                                         Counts                                                  Percentages
                                                          Test                        Control                        Test                        Control
                                                Screw-   Work                Screw-    Work             Screw-       Work          Screw-         Work
                                                driver   Light    Tumbler    driver    Light    Tumbler driver       Light Tumbler driver         Light Tumbler
Sample size                                      104      100       29        100       99        17    100.0%      100.0% 100.0% 100.0%         100.0% 100.0%


Monster Energy Company
(Monster Energy / Monster energy drinks /         10        9        5            0      0         0       9.6%      9.0%      17.2%      0.0%    0.0%       0.0%
Energy drinks / A drink company)
Monster, unspecified
(Referenced “Monster,” but did not specify        0         0        0            0      0         0       0.0%      0.0%      0.0%       0.0%    0.0%       0.0%
Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                  0         0        0            0      0         0       0.0%      0.0%      0.0%       0.0%    0.0%       0.0%
(Mountain tools / Mountain electronics)
Brands other than Monster
(Brands of retailers or tools, such as Sears,
                                                  2         2        3            3      2         0       1.9%      2.0%      10.3%      3.0%    2.0%       0.0%
Craftsman, Snap-On, Harbor Freight, AutoZone,
and others)
ISN, including ISN Monster
(ISN brands, such as Monster tools / Monster      0         1        0            0      0         0       0.0%      1.0%      0.0%       0.0%    0.0%       0.0%
lighting / Monster Mobile)
Tools or types of tools                           10        7        1            5      4         0       9.6%      7.0%      3.4%       5.0%    4.0%       0.0%
Other                                             1         4        2            0      2         0       1.0%      4.0%      6.9%       0.0%    2.0%       0.0%
Don't know                                        1         3        1            0      0         0       1.0%      3.0%      3.4%       0.0%    0.0%       0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                          Page 26
                                                                                                                                                   EX1-237
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                                                                  #:2841 Tables
                                                          Cross Tabulation

Q.5 What makes you think that? Please be as specific as possible.

Base: All Respondents




                                                                                                                                       Counts            Percentages
                                                                                                                               Total         Total     Total         Total
                                                                                                                               Test         Control    Test         Control
Sample size                                                                                                                     233           216     100.0%        100.0%


The name or Monster Energy Company
(It’s written on it / It says it / It’s on the label / I see it / Monster Energy / Monster energy drinks / Energy drinks / A    13              2     5.6%           0.9%
drink company)
The logo, design, or colors
                                                                                                                                11              0     4.7%           0.0%
(The logo / The design / The style / The colors / It looks like their product)
Personal experience
                                                                                                                                28              12    12.0%          5.6%
(I’ve seen, used, owned it before / They advertise / Familiar)
Brand of tool, light, or retailer                                                                                                3              2     1.3%           0.9%
Other                                                                                                                           14              5     6.0%           2.3%
Don't know                                                                                                                       3              0     1.3%           0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                                      Page 27
                                                                                                                                                               EX1-238
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                                                                    #:2842 Tables
                                                            Cross Tabulation

Q.5 What makes you think that? Please be as specific as possible.

Base: All Respondents




                                                                                   Counts                                           Percentages
                                                                    Test                        Control                     Test                   Control
                                                           Screw-   Work               Screw-   Work              Screw-    Work          Screw-    Work
                                                           driver   Light   Tumbler    driver   Light     Tumbler driver    Light Tumbler driver    Light Tumbler
Sample size                                                 104      100      29        100      99         17    100.0%   100.0% 100.0% 100.0%    100.0% 100.0%


The name or Monster Energy Company
(It’s written on it / It says it / It’s on the label / I
                                                             3        7        3            2      0        0      2.9%    7.0%    10.3%    2.0%    0.0%       0.0%
see it / Monster Energy / Monster energy drinks /
Energy drinks / A drink company)
The logo, design, or colors
(The logo / The design / The style / The colors /            3        6        2            0      0        0      2.9%    6.0%    6.9%     0.0%    0.0%       0.0%
It looks like their product)
Personal experience
(I’ve seen, used, owned it before / They advertise           11      11        6            6      6        0     10.6%    11.0%   20.7%    6.0%    6.1%       0.0%
/ Familiar)
Brand of tool, light, or retailer                            2        0        1            2      0        0      1.9%    0.0%    3.4%     2.0%    0.0%       0.0%
Other                                                        6        5        3            3      2        0      5.8%    5.0%    10.3%    3.0%    2.0%       0.0%
Don't know                                                   1        2        0            0      0        0      1.0%    2.0%    0.0%     0.0%    0.0%       0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                            Page 28
                                                                                                                                                     EX1-239
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                                                               #:2843 Tables
                                                       Cross Tabulation

Q.6 Do you think that whoever makes or puts out this item …?

Base: All Respondents




                                                                                                Counts            Percentages
                                                                                        Total         Total     Total         Total
                                                                                        Test         Control    Test         Control
Sample size                                                                              233           216     100.0%        100.0%


Is sponsored or approved by another company or brand                                     111             66    47.6%          30.6%
Is not sponsored or approved by another company or brand                                 23              24    9.9%           11.1%
Or, I don’t know or have no opinion                                                      99              126   42.5%          58.3%




Exhibit 10 - Isaacson Expert Report                                                                                               Page 29
                                                                                                                        EX1-240
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                                                       Cross Tabulation

Q.6 Do you think that whoever makes or puts out this item …?

Base: All Respondents




                                                                         Counts                                            Percentages
                                                          Test                         Control                     Test                   Control
                                                 Screw-   Work               Screw-    Work              Screw-    Work          Screw-    Work
                                                 driver   Light   Tumbler    driver    Light     Tumbler driver    Light Tumbler driver    Light Tumbler
Sample size                                       104      100      29        100       99         17    100.0%   100.0% 100.0% 100.0%    100.0% 100.0%


Is sponsored or approved by another company or
                                                   47      44       20            29     28        9     45.2%    44.0%   69.0%   29.0%   28.3%       52.9%
brand
Is not sponsored or approved by another
                                                   11       9        3            12     10        2     10.6%    9.0%    10.3%   12.0%   10.1%       11.8%
company or brand
Or, I don’t know or have no opinion                46      47        6            59     61        6     44.2%    47.0%   20.7%   59.0%   61.6%       35.3%




Exhibit 10 - Isaacson Expert Report                                                                                                                   Page 30
                                                                                                                                            EX1-241
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                                                               #:2845 Tables
                                                       Cross Tabulation

Q.7 What other company or brand do you believe sponsored or approved whoever makes or puts out the item shown in the picture?

Base: All Respondents




                                                                                                                       Counts            Percentages
                                                                                                               Total         Total     Total         Total
                                                                                                               Test         Control    Test         Control
Sample size                                                                                                     233           216     100.0%        100.0%


Monster Energy Company
                                                                                                                 32             0     13.7%          0.0%
(Monster Energy / Monster energy drinks / Energy drinks / A drink company)
Monster, unspecified
                                                                                                                 16             0     6.9%           0.0%
(Referenced “Monster,” but did not specify Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                                                                                 0              2     0.0%           0.9%
(Mountain tools / Mountain electronics)
Brands other than Monster
                                                                                                                 31             34    13.3%          15.7%
(Brands of retailers or tools, such as Sears, Craftsman, Snap-On, Harbor Freight, AutoZone, and others)
ISN, including ISN Monster
                                                                                                                 0              0     0.0%           0.0%
(ISN brands, such as Monster tools / Monster lighting / Monster Mobile)
Tools or types of tools                                                                                          2              4     0.9%           1.9%
Other                                                                                                            5              6     2.1%           2.8%
Don't know                                                                                                       28             21    12.0%          9.7%




Exhibit 10 - Isaacson Expert Report                                                                                                                      Page 31
                                                                                                                                               EX1-242
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                                                               #:2846 Tables
                                                       Cross Tabulation

Q.7 What other company or brand do you believe sponsored or approved whoever makes or puts out the item shown in the picture?

Base: All Respondents




                                                                        Counts                                                   Percentages
                                                         Test                         Control                      Test                         Control
                                                Screw-   Work               Screw-    Work              Screw-     Work          Screw-          Work
                                                driver   Light   Tumbler    driver    Light     Tumbler driver     Light Tumbler driver          Light Tumbler
Sample size                                      104      100      29        100       99         17    100.0%    100.0% 100.0% 100.0%          100.0% 100.0%


Monster Energy Company
(Monster Energy / Monster energy drinks /         11      18        3            0       0        0      10.6%    18.0%     10.3%        0.0%    0.0%       0.0%
Energy drinks / A drink company)
Monster, unspecified
(Referenced “Monster,” but did not specify        3        9        4            0       0        0      2.9%      9.0%     13.8%        0.0%    0.0%       0.0%
Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                  0        0        0            0       1        1      0.0%      0.0%         0.0%     0.0%    1.0%       5.9%
(Mountain tools / Mountain electronics)
Brands other than Monster
(Brands of retailers or tools, such as Sears,
                                                  16       7        8            15     14        5      15.4%     7.0%     27.6%       15.0%   14.1%       29.4%
Craftsman, Snap-On, Harbor Freight, AutoZone,
and others)
ISN, including ISN Monster
(ISN brands, such as Monster tools / Monster      0        0        0            0       0        0      0.0%      0.0%         0.0%     0.0%    0.0%       0.0%
lighting / Monster Mobile)
Tools or types of tools                           1        1        0            3       1        0      1.0%      1.0%         0.0%     3.0%    1.0%       0.0%
Other                                             2        2        1            2       2        2      1.9%      2.0%         3.4%     2.0%    2.0%       11.8%
Don't know                                        14       9        5            9      11        1      13.5%     9.0%     17.2%        9.0%   11.1%       5.9%




Exhibit 10 - Isaacson Expert Report                                                                                                                         Page 32
                                                                                                                                                  EX1-243
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                                                               #:2847 Tables
                                                       Cross Tabulation

Q.7 What other company or brand do you believe sponsored or approved whoever makes or puts out the item shown in the picture?
Excludes double counting of respondents

Base: All Respondents




                                                                                                                       Counts            Percentages
                                                                                                               Total         Total     Total         Total
                                                                                                               Test         Control    Test         Control
Sample size                                                                                                     233           216     100.0%        100.0%


Monster Energy Company
                                                                                                                 23             0     9.9%           0.0%
(Monster Energy / Monster energy drinks / Energy drinks / A drink company)
Monster, unspecified
                                                                                                                 7              0     3.0%           0.0%
(Referenced “Monster,” but did not specify Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                                                                                 0              1     0.0%           0.5%
(Mountain tools / Mountain electronics)
Brands other than Monster
                                                                                                                 22             24    9.4%           11.1%
(Brands of retailers or tools, such as Sears, Craftsman, Snap-On, Harbor Freight, AutoZone, and others)
ISN, including ISN Monster
                                                                                                                 0              0     0.0%           0.0%
(ISN brands, such as Monster tools / Monster lighting / Monster Mobile)
Tools or types of tools                                                                                          2              4     0.9%           1.9%
Other                                                                                                            4              5     1.7%           2.3%
Don't know                                                                                                       27             20    11.6%          9.3%




Exhibit 10 - Isaacson Expert Report                                                                                                                      Page 33
                                                                                                                                               EX1-244
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                                                               #:2848 Tables
                                                       Cross Tabulation

Q.7 What other company or brand do you believe sponsored or approved whoever makes or puts out the item shown in the picture?
Excludes double counting of respondents

Base: All Respondents




                                                                        Counts                                                   Percentages
                                                         Test                        Control                       Test                         Control
                                                Screw-   Work               Screw-   Work              Screw-      Work          Screw-          Work
                                                driver   Light   Tumbler    driver   Light     Tumbler driver      Light Tumbler driver          Light Tumbler
Sample size                                      104      100      29        100      99         17    100.0%     100.0% 100.0% 100.0%          100.0% 100.0%


Monster Energy Company
(Monster Energy / Monster energy drinks /         10      12        1            0      0        0       9.6%     12.0%         3.4%     0.0%    0.0%       0.0%
Energy drinks / A drink company)
Monster, unspecified
(Referenced “Monster,” but did not specify        2        4        1            0      0        0       1.9%      4.0%         3.4%     0.0%    0.0%       0.0%
Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                  0        0        0            0      0        1       0.0%      0.0%         0.0%     0.0%    0.0%       5.9%
(Mountain tools / Mountain electronics)
Brands other than Monster
(Brands of retailers or tools, such as Sears,
                                                  12       4        6            9     11        4       11.5%     4.0%     20.7%        9.0%   11.1%       23.5%
Craftsman, Snap-On, Harbor Freight, AutoZone,
and others)
ISN, including ISN Monster
(ISN brands, such as Monster tools / Monster      0        0        0            0      0        0       0.0%      0.0%         0.0%     0.0%    0.0%       0.0%
lighting / Monster Mobile)
Tools or types of tools                           1        1        0            3      1        0       1.0%      1.0%         0.0%     3.0%    1.0%       0.0%
Other                                             2        2        0            2      2        1       1.9%      2.0%         0.0%     2.0%    2.0%       5.9%
Don't know                                        13       9        5            8     11        1       12.5%     9.0%     17.2%        8.0%   11.1%       5.9%




Exhibit 10 - Isaacson Expert Report                                                                                                                         Page 34
                                                                                                                                                  EX1-245
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                                                                  #:2849 Tables
                                                          Cross Tabulation

Q.8 What makes you think that? Please be as specific as possible.

Base: All Respondents




                                                                                                                                       Counts            Percentages
                                                                                                                               Total         Total     Total         Total
                                                                                                                               Test         Control    Test         Control
Sample size                                                                                                                     233           216     100.0%        100.0%


The name or Monster Energy Company
(It’s written on it / It says it / It’s on the label / I see it / Monster Energy / Monster energy drinks / Energy drinks / A    25              3     10.7%          1.4%
drink company)
The logo, design, or colors
                                                                                                                                42              21    18.0%          9.7%
(The logo / The design / The style / The colors / It looks like their product)
Personal experience
                                                                                                                                 3              3     1.3%           1.4%
(I’ve seen, used, owned it before / They advertise / Familiar)
Brand of tool, light, or retailer                                                                                                5              4     2.1%           1.9%
Other                                                                                                                           36              29    15.5%          13.4%
Don't know                                                                                                                      18              11    7.7%           5.1%




Exhibit 10 - Isaacson Expert Report                                                                                                                                      Page 35
                                                                                                                                                               EX1-246
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                                                                    #:2850 Tables
                                                            Cross Tabulation

Q.8 What makes you think that? Please be as specific as possible.

Base: All Respondents




                                                                                   Counts                                            Percentages
                                                                    Test                         Control                     Test                   Control
                                                           Screw-   Work               Screw-    Work              Screw-    Work          Screw-    Work
                                                           driver   Light   Tumbler    driver    Light     Tumbler driver    Light Tumbler driver    Light Tumbler
Sample size                                                 104      100      29        100       99         17    100.0%   100.0% 100.0% 100.0%    100.0% 100.0%


The name or Monster Energy Company
(It’s written on it / It says it / It’s on the label / I
                                                             11      13        1            0       2        1     10.6%    13.0%   3.4%     0.0%    2.0%       5.9%
see it / Monster Energy / Monster energy drinks /
Energy drinks / A drink company)
The logo, design, or colors
(The logo / The design / The style / The colors /            19      21        2            11      6        4     18.3%    21.0%   6.9%    11.0%    6.1%       23.5%
It looks like their product)
Personal experience
(I’ve seen, used, owned it before / They advertise           1        0        2            0       2        1      1.0%    0.0%    6.9%     0.0%    2.0%       5.9%
/ Familiar)
Brand of tool, light, or retailer                            3        2        0            3       1        0      2.9%    2.0%    0.0%     3.0%    1.0%       0.0%
Other                                                        12      12       12            12     14        3     11.5%    12.0%   41.4%   12.0%   14.1%       17.6%
Don't know                                                   9        4        5            5       5        1      8.7%    4.0%    17.2%    5.0%    5.1%       5.9%




Exhibit 10 - Isaacson Expert Report                                                                                                                             Page 36
                                                                                                                                                      EX1-247
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                                                               #:2851 Tables
                                                       Cross Tabulation

Summary of Questions 1, 4, and 7
Q.1 What company or brand do you think makes or puts out the item shown in the picture?
Q.4 What other products or brands do you think are made or put out by the company that makes or puts out the item shown in the picture?
Q.7 What other company or brand do you believe sponsored or approved whoever makes or puts out the item shown in the picture?
Excludes double counting of respondents

Base: All Respondents

                                                                                                                         Counts              Percentages
                                                                                                                 Total         Total       Total         Total
                                                                                                                 Test         Control      Test         Control
Sample size                                                                                                       233           216       100.0%        100.0%


Monster Energy Company
                                                                                                                   57              0      24.5%          0.0%
(Monster Energy / Monster energy drinks / Energy drinks / A drink company)
Monster, unspecified
                                                                                                                  163              0      70.0%          0.0%
(Referenced “Monster,” but did not specify Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                                                                                   0              173     0.0%           80.1%
(Mountain tools / Mountain electronics)
Brands other than Monster
                                                                                                                   66             61      28.3%          28.2%
(Brands of retailers or tools, such as Sears, Craftsman, Snap-On, Harbor Freight, AutoZone, and others)
ISN, including ISN Monster
                                                                                                                   9               0      3.9%           0.0%
(ISN brands, such as Monster tools / Monster lighting / Monster Mobile)
Tools or types of tools                                                                                            20             14      8.6%           6.5%
Other                                                                                                              17              8      7.3%           3.7%
Don't know                                                                                                         52             32      22.3%          14.8%




Exhibit 10 - Isaacson Expert Report                                                                                                                          Page 37
                                                                                                                                                   EX1-248
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                                                               #:2852 Tables
                                                       Cross Tabulation

Summary of Questions 1, 4, and 7
Q.1 What company or brand do you think makes or puts out the item shown in the picture?
Q.4 What other products or brands do you think are made or put out by the company that makes or puts out the item shown in the picture?
Q.7 What other company or brand do you believe sponsored or approved whoever makes or puts out the item shown in the picture?
Excludes double counting of respondents

Base: All Respondents

                                                                          Counts                                                 Percentages
                                                          Test                          Control                      Test                         Control
                                                Screw-   Work                 Screw-    Work              Screw-     Work          Screw-          Work
                                                driver   Light    Tumbler     driver    Light     Tumbler driver     Light Tumbler driver          Light Tumbler
Sample size                                      104      100       29         100       99         17    100.0%    100.0% 100.0% 100.0%          100.0% 100.0%


Monster Energy Company
(Monster Energy / Monster energy drinks /         21       25        11            0       0        0      20.2%     25.0%     37.9%      0.0%     0.0%       0.0%
Energy drinks / A drink company)
Monster, unspecified
(Referenced “Monster,” but did not specify        68       76        19            0       0        0      65.4%     76.0%     65.5%      0.0%     0.0%       0.0%
Monster Energy Company or ISN)
Mountain or Mountain Mobile
                                                  0         0        0             80     82        11     0.0%      0.0%      0.0%       80.0%   82.8%       64.7%
(Mountain tools / Mountain electronics)
Brands other than Monster
(Brands of retailers or tools, such as Sears,
                                                  36       20        10            28     25        8      34.6%     20.0%     34.5%      28.0%   25.3%       47.1%
Craftsman, Snap-On, Harbor Freight, AutoZone,
and others)
ISN, including ISN Monster
(ISN brands, such as Monster tools / Monster      2         5        2             0       0        0      1.9%      5.0%      6.9%       0.0%     0.0%       0.0%
lighting / Monster Mobile)
Tools or types of tools                           11        8        1             9       5        0      10.6%     8.0%      3.4%       9.0%     5.1%       0.0%
Other                                             5         8        4             2       4        2      4.8%      8.0%      13.8%      2.0%     4.0%       11.8%
Don't know                                        26       19        7             12     17        3      25.0%     19.0%     24.1%      12.0%   17.2%       17.6%




Exhibit 10 - Isaacson Expert Report                                                                                                                           Page 38
                                                                                                                                                    EX1-249
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                                                                  #:2853 Tables
                                                          Cross Tabulation

Summary of Questions 2, 5, and 8
Q.2 What makes you think that? Please be as specific as possible.
Q.5 What makes you think that? Please be as specific as possible.
Q.8 What makes you think that? Please be as specific as possible.
Excludes double counting of respondents

Base: Respondents who indicated Monster Energy, Monster energy drinks, Energy drinks, a drink company, and similar themes in Questions 1, 4, or 7.


                                                                                                                                       Counts            Percentages
                                                                                                                               Total         Total     Total         Total
                                                                                                                               Test         Control    Test         Control
Sample size                                                                                                                     57             0      100.0%        100.0%


The name or Monster Energy Company
(It’s written on it / It says it / It’s on the label / I see it / Monster Energy / Monster energy drinks / Energy drinks / A    49              0     86.0%          0.0%
drink company)
The logo, design, or colors
                                                                                                                                35              0     61.4%          0.0%
(The logo / The design / The style / The colors / It looks like their product)
Personal experience
                                                                                                                                14              0     24.6%          0.0%
(I’ve seen, used, owned it before / They advertise / Familiar)
Brand of tool, light, or retailer                                                                                                1              0     1.8%           0.0%
Other                                                                                                                           21              0     36.8%          0.0%
Don't know                                                                                                                       7              0     12.3%          0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                                      Page 39
                                                                                                                                                               EX1-250
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                                                                    #:2854 Tables
                                                            Cross Tabulation

Summary of Questions 2, 5, and 8
Q.2 What makes you think that? Please be as specific as possible.
Q.5 What makes you think that? Please be as specific as possible.
Q.8 What makes you think that? Please be as specific as possible.
Excludes double counting of respondents

Base: Respondents who indicated Monster Energy, Monster energy drinks, Energy drinks, a drink company, and similar themes in Questions 1, 4, or 7.

                                                                                   Counts                                           Percentages
                                                                    Test                        Control                     Test                   Control
                                                           Screw-   Work               Screw-   Work              Screw-    Work          Screw-    Work
                                                           driver   Light   Tumbler    driver   Light     Tumbler driver    Light Tumbler driver    Light Tumbler
Sample size                                                  21      25       11          0       0          0    100.0%   100.0% 100.0% 100.0%    100.0% 100.0%


The name or Monster Energy Company
(It’s written on it / It says it / It’s on the label / I
                                                             19      21        9            0      0        0     90.5%    84.0%   81.8%    0.0%     0.0%       0.0%
see it / Monster Energy / Monster energy drinks /
Energy drinks / A drink company)
The logo, design, or colors
(The logo / The design / The style / The colors /            13      17        5            0      0        0     61.9%    68.0%   45.5%    0.0%     0.0%       0.0%
It looks like their product)
Personal experience
(I’ve seen, used, owned it before / They advertise           6        3        5            0      0        0     28.6%    12.0%   45.5%    0.0%     0.0%       0.0%
/ Familiar)
Brand of tool, light, or retailer                            1        0        0            0      0        0      4.8%    0.0%    0.0%     0.0%     0.0%       0.0%
Other                                                        8        7        6            0      0        0     38.1%    28.0%   54.5%    0.0%     0.0%       0.0%
Don't know                                                   4        1        2            0      0        0     19.0%    4.0%    18.2%    0.0%     0.0%       0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                             Page 40
                                                                                                                                                      EX1-251
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                                                                #:2855 Tables
                                                        Cross Tabulation

Q.9 Do you have any type of color blindness or color vision deficiency? Please answer yes, no, or you don’t know.

Base: All Respondents




                                                                                                      Counts                                Percentages
                                                                                         All          Total          Total        All          Total         Total
                                                                                     Respondents      Test          Control   Respondents      Test         Control
Sample size                                                                              449           233            216       100.0%        100.0%        100.0%


Yes, I do have some type of color blindness or color vision deficiency                    21            11            10         4.7%          4.7%          4.6%
No, I do not have any type of color blindness or color vision deficiency                 416           218           198        92.7%         93.6%          91.7%
I don’t know                                                                              12             4            8          2.7%          1.7%          3.7%




Exhibit 10 - Isaacson Expert Report                                                                                                                              Page 41
                                                                                                                                                       EX1-252
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                                                        Cross Tabulation

Q.9 Do you have any type of color blindness or color vision deficiency? Please answer yes, no, or you don’t know.

Base: All Respondents




                                                                            Counts                                             Percentages
                                                            Test                          Control                      Test                   Control
                                                   Screw-   Work                Screw-    Work              Screw-     Work          Screw-    Work
                                                   driver   Light   Tumbler     driver    Light     Tumbler driver     Light Tumbler driver    Light Tumbler
Sample size                                         104      100      29         100       99         17    100.0%    100.0% 100.0% 100.0%    100.0% 100.0%


Yes, I do have some type of color blindness or
                                                     5        5         1            5       5        0       4.8%    5.0%    3.4%     5.0%    5.1%       0.0%
color vision deficiency
No, I do not have any type of color blindness or
                                                     97      93        28            92     89        17      93.3%   93.0%   96.6%   92.0%   89.9%       100.0%
color vision deficiency
I don’t know                                         2        2         0            3       5        0       1.9%    2.0%    0.0%     3.0%    5.1%       0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                       Page 42
                                                                                                                                                EX1-253
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                                                                #:2857 Tables
                                                        Cross Tabulation

Q.10 This next question tests the display of the device you are using. For each column below, please indicate the color of the square you see on your screen.

Base: All Respondents




                                                                                                       Counts                                   Percentages
                                                                                          All           Total          Total         All            Total         Total
                                                                                      Respondents       Test          Control    Respondents        Test         Control
Sample size                                                                               449            233            216        100.0%          100.0%        100.0%


Green Square
 Black                                                                                      0              0             0           0.0%           0.0%          0.0%
 Blue                                                                                       0              0             0           0.0%           0.0%          0.0%
 Green                                                                                     447           231            216          99.6%         99.1%         100.0%
 Red                                                                                        2              2             0           0.4%           0.9%          0.0%
 White                                                                                      0              0             0           0.0%           0.0%          0.0%
 Some other color not listed here                                                           0              0             0           0.0%           0.0%          0.0%
 I don’t know/am not sure                                                                   0              0             0           0.0%           0.0%          0.0%
Red Square
 Black                                                                                      0              0             0           0.0%           0.0%          0.0%
 Blue                                                                                       3              3             0           0.7%           1.3%          0.0%
 Green                                                                                      0              0             0           0.0%           0.0%          0.0%
 Red                                                                                       437           227            210          97.3%         97.4%          97.2%
 White                                                                                      0              0             0           0.0%           0.0%          0.0%
 Some other color not listed here                                                           9              3             6           2.0%           1.3%          2.8%
 I don’t know/am not sure                                                                   0              0             0           0.0%           0.0%          0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                                   Page 43
                                                                                                                                                            EX1-254
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                                                                #:2858 Tables
                                                        Cross Tabulation

Q.10 This next question tests the display of the device you are using. For each column below, please indicate the color of the square you see on your screen.

Base: All Respondents




                                                                                                       Counts                                   Percentages
                                                                                          All           Total          Total         All            Total         Total
                                                                                      Respondents       Test          Control    Respondents        Test         Control
Sample size                                                                               449            233            216        100.0%          100.0%        100.0%


Blue Square
 Black                                                                                      1              1             0           0.2%           0.4%          0.0%
 Blue                                                                                      447           231            216          99.6%         99.1%         100.0%
 Green                                                                                      1              1             0           0.2%           0.4%          0.0%
 Red                                                                                        0              0             0           0.0%           0.0%          0.0%
 White                                                                                      0              0             0           0.0%           0.0%          0.0%
 Some other color not listed here                                                           0              0             0           0.0%           0.0%          0.0%
 I don’t know/am not sure                                                                   0              0             0           0.0%           0.0%          0.0%




Exhibit 10 - Isaacson Expert Report                                                                                                                                   Page 44
                                                                                                                                                            EX1-255
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                                                        Cross Tabulation

Q.10 This next question tests the display of the device you are using. For each column below, please indicate the color of the square you see on your screen.

Base: All Respondents




                                                                             Counts                                                    Percentages
                                                             Test                          Control                         Test                         Control
                                                 Screw-     Work                 Screw-    Work              Screw-        Work          Screw-           Work
                                                 driver     Light    Tumbler     driver    Light     Tumbler driver        Light Tumbler driver           Light Tumbler
Sample size                                       104        100       29         100       99         17    100.0%       100.0% 100.0% 100.0%           100.0% 100.0%


Green Square
 Black                                              0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Blue                                               0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Green                                             103        99        29        100        99        17       99.0%     99.0%     100.0%    100.0%     100.0%      100.0%
 Red                                                1         1          0            0       0         0       1.0%       1.0%      0.0%       0.0%      0.0%       0.0%
 White                                              0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Some other color not listed here                   0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 I don’t know/am not sure                           0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
Red Square
 Black                                              0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Blue                                               1         1          1            0       0         0       1.0%       1.0%      3.4%       0.0%      0.0%       0.0%
 Green                                              0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Red                                               101        98        28            98     97        15       97.1%     98.0%      96.6%     98.0%     98.0%       88.2%
 White                                              0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Some other color not listed here                   2         1          0            2       2         2       1.9%       1.0%      0.0%       2.0%      2.0%       11.8%
 I don’t know/am not sure                           0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%



Exhibit 10 - Isaacson Expert Report                                                                                                                                  Page 45
                                                                                                                                                           EX1-256
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                                                                #:2860 Tables
                                                        Cross Tabulation

Q.10 This next question tests the display of the device you are using. For each column below, please indicate the color of the square you see on your screen.

Base: All Respondents




                                                                             Counts                                                    Percentages
                                                             Test                         Control                          Test                         Control
                                                 Screw-     Work                 Screw-    Work             Screw-         Work          Screw-           Work
                                                 driver     Light    Tumbler     driver    Light    Tumbler driver         Light Tumbler driver           Light Tumbler
Sample size                                       104        100       29         100       99        17    100.0%        100.0% 100.0% 100.0%           100.0% 100.0%


Blue Square
 Black                                              1         0          0            0       0         0       1.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Blue                                              102       100        29        100        99        17       98.1%     100.0%    100.0%    100.0%     100.0%      100.0%
 Green                                              1         0          0            0       0         0       1.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Red                                                0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 White                                              0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 Some other color not listed here                   0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%
 I don’t know/am not sure                           0         0          0            0       0         0       0.0%       0.0%      0.0%       0.0%      0.0%       0.0%




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                                                                                                                                                           EX1-257
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                                                                #:2861 Tables
                                                        Cross Tabulation

Summary of Questions 9 and 10
Q.9 Do you have any type of color blindness or color vision deficiency? Please answer yes, no, or you don’t know.
Q.10 This next question tests the display of the device you are using. For each column below, please indicate the color of the square you see on your screen.




                                                                                                  Counts
                                              Have Any Type of Color Blindness                             Test                                   Control
                                 All                                       I Don't       Screw-            Work                     Screw-         Work
                             Respondents        Yes           No            Know         driver            Light     Tumbler        driver         Light        Tumbler
Sample size                      449            21            416             12          104               100        29            100            99            17


All square colors correct        435            20            403            12            100              98          28             97            97               15
1 incorrect square color          13             0             13             0             3                 2          1             3              2               2
2 incorrect square colors          0             0             0              0             0                 0          0             0              0               0
3 incorrect square colors          1             1             0              0             1                 0          0             0              0               0

                                                                                                Percentages
                                              Have Any Type of Color Blindness                             Test                                   Control
                                 All                                       I Don't       Screw-            Work                     Screw-         Work
                             Respondents        Yes           No            Know         driver            Light     Tumbler        driver         Light        Tumbler
Sample size                      449            21            416             12          104               100        29            100            99            17


All square colors correct       96.9%         95.2%          96.9%         100.0%         96.2%            98.0%       96.6%         97.0%         98.0%          88.2%
1 incorrect square color         2.9%          0.0%          3.1%           0.0%          2.9%             2.0%        3.4%           3.0%          2.0%          11.8%
2 incorrect square colors        0.0%          0.0%          0.0%           0.0%          0.0%             0.0%        0.0%           0.0%          0.0%          0.0%
3 incorrect square colors        0.2%          4.8%          0.0%           0.0%          1.0%             0.0%        0.0%           0.0%          0.0%          0.0%




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                                                                                                                                                            EX1-258
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                                CERTIFICATE OF SERVICE
    1
    2         I am a citizen of the United States of America and I am employed in
    3   Irvine, California. I am over the age of 18 and not a party to the within action.
    4   My business address is 2040 Main Street, Fourteenth Floor, Irvine, California.
    5         On February 23, 2018, I served the foregoing: EXPERT REPORT
    6   SUBMITTED        BY     DR.    BRUCE       ISAACSON       MEASURING           THE
    7   LIKELIHOOD OF CONFUSION BETWEEN CERTAIN PRODUCTS FROM
    8   ISN AND MONSTER ENERGY COMPANY on the parties or their counsel
    9   shown below, by transmitting it electronically to the addresses as follows:
   10   VIA ELECTRONIC MAIL:
   11   Douglas C. Smith
        dsmith@smitlaw.com
   12   SMITH LAW OFFICES, LLP
        4204 Riverwalk Parkway, Suite 250
   13   Riverside, California 92505
   14   Jeffrey S. Standley
        jstandley@standleyllp.com
   15   Melissa A. Rogers Mccurdy
        mmccurdy@standleyllp.com
   16   F. Michael Speed
        mspeed@standleyllp.com
   17   Standley Law Group LLP
        6300 Riverside Drive
   18   Dublin, Ohio 43017
   19         I declare that I am employed in the office of a member of the bar of this
   20   Court at whose direction the service was made.
   21         Executed on February 23, 2018, at Irvine, California.
   22
   23                             ____________________________________
   24                                    Claire A. Stoneman
   25
   26
   27
   28

                                                                               EX1-259
